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Margaret A. Schmidt
Serena P. Hallowell (pro hac vice forthcoming)
Eric J. Belfi (pro hac vice forthcoming)
Thomas W. Watson (pro hac vice forthcoming)
LABATON SUCHAROW LLP
140 Broadway
New York, NY 10005
Tel: (212) 907-0700

Counsel for Plaintiff

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
OFFICE OF THE TREASURER AS                       Civil Case No. ____________________
TRUSTEE FOR THE CONNECTICUT
RETIREMENT PLANS AND TRUST
FUNDS,                                           COMPLAINT AND DEMAND FOR JURY
                                                 TRIAL
                        Plaintiff,
       v.

VALEANT PHARMACEUTICALS
INTERNATIONAL, INC. n/k/a BAUSCH
HEALTH COMPANIES INC.; J.
MICHAEL PEARSON; HOWARD B.
SCHILLER; ROBERT L. ROSIELLO; and
TANYA CARRO,

                        Defendants.
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         Plaintiff, as defined below, through its undersigned counsel, alleges the following based

upon the investigation of counsel and personal knowledge as to Plaintiff and its purchase of

securities of Valeant Pharmaceuticals International, Inc. (“Valeant” or “VRX” or the

“Company”).1 The investigation included, but was not limited to, a review and analysis of:

filings made by Valeant with the United States Securities and Exchange Commission (“SEC”);

press releases issued by Valeant; transcripts of Valeant’s public earnings calls and investor

conferences; media reports concerning Valeant; pleadings in civil litigations, regulatory

proceedings, and criminal actions; consultation with experts; testimony, interrogatory responses,

and documents submitted to the U.S. Senate Special Committee on Aging; and other publicly

available information.

I.       INTRODUCTION

         1.       This action arises from a massive, fraudulent scheme perpetrated by Valeant, its

senior executives, and those working in concert with them to artificially inflate the price of

Valeant’s securities through a clandestine pharmacy network, deceptive pricing and

reimbursement, and fictitious accounting.

         2.       Valeant is a pharmaceutical and medical device company that is engaged in the

manufacturing and marketing of branded and generic drugs. Traditional pharmaceutical

companies spend 15–20% of revenues on research and development (“R&D”) of new

medications to treat and cure diseases. New drugs enjoy a period of exclusivity during which




     1
       L. Civ. R. 10.1 Statement: Plaintiff Office of the Treasurer as Trustee for the Connecticut Retirement Plans
and Trust Funds is located at 55 Elm Street, Hartford, CT 06106-1773; Defendant Valeant Pharmaceuticals
International, Inc. (“Valeant”) has its U.S. Headquarters at 400 Somerset Corporate Blvd., Bridgewater, NJ 08807;
Defendant Michael Pearson’s (“Pearson”) address is 74 Village Road, New Vernon, NJ 07976; Defendant Howard
Schiller’s (“Schiller”) address is 40 Montview Ave., Short Hills, NJ 07078; Defendant Robert L. Rosiello’s
(“Rosiello”) address is 55 Davis Hill Road, Weston, CT 06883-2003; and Defendant Tanya Carro’s (“Carro”)
address is 231 Ronan Way, Branchburg, NJ 08853-4184.
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time generic equivalents are excluded from the market to allow the pharmaceutical company to

recoup its R&D costs and generate a profit.

       3.      By contrast, Valeant implemented a growth-by-acquisition model, whereby

Valeant acquired already-established pharmaceuticals from other companies, massively

increased the prices of those products, and drove sales through deceptive and unlawful practices.

In furtherance of this objective, Valeant targeted “orphan drugs” which treat rare medical

conditions and face little or no generic competition. For example, in 2014, Valeant identified two

medications used to treat emergency heart conditions, Nitropress and Isuprel, which the

Company believed had pricing “flexibility by multiple orders of magnitude.” Two days after

acquiring the rights to Nitropress and Isuprel from Marathon Pharmaceuticals LLC

(“Marathon”), Valeant massively increased the prices of the drugs by 212% and 525%,

respectively. Valeant employed similar tactics with dozens of other drugs.

       4.      The mastermind behind Valeant’s growth-by-acquisition and price-gouging

strategies was its former Chairman and Chief Executive Officer (“CEO”), Michael Pearson. A

former McKinsey consultant, with no background in medicine or pharmaceuticals, Pearson, who

joined Valeant in 2008, believed R&D investment to provide low returns because it often failed

to result in marketable drugs. Accordingly, under Pearson’s tenure, Valeant’s R&D costs were

scaled back to 3% of revenue. Instead of investing in research, between 2008 and 2015, Valeant

completed over 100 acquisitions at a cost of over $40 billion, which the Company financed

through its positive cash flow and newly issued debt and equity securities.

       5.      To perpetuate the scheme and finance additional acquisitions, Pearson and those

working in concert with him sought to convince investors of the long-term value of their strategy

and assuage concerns that Valeant’s growth-by-acquisition model was limited by the existence of

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fewer acquisition targets and increasing levels of debt financing. In furtherance of this objective,

Valeant and its senior executives consistently represented to investors that Valeant’s dramatic

growth in revenue and profitability was the result of Valeant’s superior marketing, sales teams,

and leadership—which resulted in sales volume increases that were “greater than price in terms

of our growth.” Defendants further assured investors that Valeant had strong internal controls

and compliance, and that its accounting complied with Generally Accepted Accounting

Principles (“GAAP”). These representations were knowingly, or recklessly, false.

        6.      In response to these and other similar misrepresentations, between 2012 and 2015,

Valeant’s stock price soared nearly 350% from just over $60 to a high of $262 on August 5,

2015. Likewise, Valeant’s misrepresentations about the strength of its business allowed it to

issue billions of dollars in debt securities to the market at inflated prices.

        7.      In fact, unbeknownst to investors, Valeant’s revenue growth relied on a secret

network of controlled pharmacies and deceptive business practices implemented to facilitate

Valeant’s extreme price-hikes and shield Valeant’s products from generic competition. At the

center of this network was Philidor, a Pennsylvania mail-order pharmacy founded in 2013 with

the Valeant’s assistance, which included the provision of financing, staffing, and supervision.

Valeant then created a series of shell companies owned through Philidor, which Defendants used

to acquire interests in additional retail pharmacies all over the United States.

        8.      Philidor employees, as well as Valeant employees working at Philidor under

aliases, were instructed to employ a host of deceptive and illegal “back door” practices to prevent

the substitution of cheaper generic equivalents for Valeant-branded drugs. These backdoor

practices were catalogued in employee manuals, and included: (i) changing prescription codes on

claims to ensure that the prescription would be filled with Valeant’s brand-name drugs rather

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than a generic equivalent; (ii) making claims for refills without patient request;

(iii) misrepresenting the identity of dispensing pharmacies to bypass denials of claims for

Valeant drugs; (iv) waiving patient co-pays to remove patients’ incentive to seek out cheaper

drugs, and then misrepresenting the “actual charges” for Valeant drugs by failing to account for

the co-pay waivers; and (v) utilizing pharmacies within the Enterprise, defined below, to enable

Philidor to indirectly operate in states where it had been denied a license. Many of these

practices violated applicable laws and regulations and/or Valeant’s contracts with third party

payors.

          9.    To solidify its control over Philidor and artificially inflate its revenues, in

December 2014, Valeant entered into an undisclosed “Purchase Option Agreement” with

Philidor pursuant to which it paid $100 million, plus various milestone payments based on

Philidor sales, for the ten-year option to acquire Philidor for $0.

          10.   Notwithstanding Valeant’s consolidation of Philidor in its financial results,

Defendants deliberately concealed from regulators the ownership and control of Philidor in

violation of GAAP, and issued numerous false and misleading statements to a multitude of other

constituencies, including investors and government regulators.

          11.   The fallout from the unmasking of Valeant’s fraudulent scheme has been

devastating. Shortly after Valeant’s relationship with Philidor was exposed in October 2015, the

three largest pharmacy benefit managers in the U.S. announced that they were dropping Philidor

from their networks. Almost immediately thereafter, Valeant was forced to announce the

termination of its relationship with Philidor.

          12.   The revelation of pervasive misconduct at Valeant has also forced the departure of

most of the senior executives and directors responsible for the wrongdoing. Valeant has

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specifically attributed its fictitious accounting to the “improper conduct” of Howard Schiller, its

former CFO, and Tanya Carro, its former Corporate Controller, as well as the unethical “tone at

the top” set by senior management, including Pearson, its former CEO. These Valeant executives

have now been terminated and replaced. In addition, Valeant has announced the replacement of

the majority of its Audit Committee, who reviewed and approved the accounting for Philidor and

conducted due diligence of the Philidor Purchase Option Agreement.

       13.     Valeant has also withdrawn its financial statements and acknowledged them to be

false, restated its revenue for fiscal year 2014, drastically reduced its revenue and profitability

guidance for 2015 and 2016, and admitted that the Company’s disclosure controls and internal

controls over financial reporting had been inadequate. Currently, Valeant is the focus of numerous

government investigations, including by the SEC, the State of Texas, the State of North Carolina,

and both houses of Congress, as well as a criminal probe by the U.S. Department of Justice. In

November and December 2016, a former senior executive at Valeant, Gary Tanner (“Tanner”), and

the former CEO at Philidor, Andrew Davenport (“Davenport”), were arrested on four counts of

fraud and conspiracy in connection with the massive scheme to fraudulently peddle Valeant

pharmaceuticals. On January 27, 2017, they were named as defendants in an indictment filed in the

Southern District of New York. On May 22, 2018, a jury convicted Davenport and Tanner of all

charges, including wire fraud and conspiracy to commit money laundering.

       14.     Defendants’ fraudulent scheme had a devastating impact on investors. As the

market learned the truth about Valeant, Valeant’s stock price plummeted from a high of over $262

per share on August 5, 2015 to less than $15 on August 19, 2016, a decline of more than 90%. The

value of its debt securities similarly collapsed as investors became concerned about the long-term




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 viability of the business. The enterprise’s reach was so widespread and devastating that

 commentators have dubbed it the “Pharmaceutical Enron.”

 II.    JURISDICTION AND VENUE

        15.     This Court has jurisdiction over this action pursuant to Section 27 of the

 Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331, and has supplemental jurisdiction over

 the state law claims pursuant to 28 U.S.C. § 1367(a).

        16.     Venue is properly in this District pursuant to Section 27 of the Exchange Act, and

 28 U.S.C. § 1391. The acts and conduct described in this Complaint, including the dissemination

 of false and misleading statements and information, occurred in substantial part in this District.

        17.     In connection with these acts, Defendants, directly or indirectly, used the means

 and instrumentalities of interstate commerce, including the United States mails, interstate

 telephone communications, and the facilities of a national securities exchange and market.

 III.   PARTIES

        A.      Plaintiff

        18.     Plaintiff, the Office of the Treasurer as Trustee for the Connecticut Retirement

 Plans and Trust Funds (“Plaintiff” or “Connecticut”), manages public pension funds for

 approximately 219,000 active, inactive, and retired Connecticut state employees.

        19.     Plaintiff purchased Valeant securities between January 4, 2013 and June 7, 2016

 at prices that were materially inflated as a result of the misrepresentations, omissions, and other

 unlawful conduct alleged herein, and suffered massive economic losses when the market prices

 of those securities collapsed following the revelation of the illegal scheme alleged herein.

 Specifically, Plaintiff purchased Valeant’s common stock and: Valeant’s 6.75% notes due

 August 15, 2018 (CUSIP 92912EAC7) (the “6.75% Notes”); Valeant’s 6.375% notes due


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 October 15, 2020 (CUSIP 91829KAA1) (the “6.375% Notes”); Valeant’s 7.5% notes due July

 15, 2021 (CUSIP 92912EAA1) (the “7.5% Notes”); Valeant’s 5.625% notes due December 1,

 2021 (CUSIP 91911KAD4) (the “5.625% Notes”); Valeant’s 5.5% notes due March 1, 2023

 (CUSIP 91911KAE2) (the “5.5% Notes); Valeant’s 5.875% notes due May 15, 2023

 (CUSIP 91831AAB7) (the “5.875% Notes”); and Valeant’s 6.125% notes due April 15, 2025

 (CUSIP 91831AAC5) (the “6.125% Notes”) (collectively, the “Valeant Notes”).

        B.      Defendants

        20.     Defendant Valeant is a Canadian corporation, which has its U.S. headquarters,

 nerve center, and principal place of business, at 400 Somerset Corporate Boulevard,

 Bridgewater, New Jersey. Valeant is a pharmaceutical and medical device company that markets

 a broad range of branded, generic and branded generic pharmaceuticals, over-the-counter

 products, and medical devices, directly or indirectly, in over 100 countries. Valeant is one of the

 largest pharmaceutical companies in the United States. Until July 13, 2018, shares of Valeant

 stock traded on the New York Stock Exchange (“NYSE”) and the Toronto Stock Exchange

 (“TSX”) under the ticker symbol “VRX.” Effective July 13, 2018, Valeant changed its corporate

 name to “Bausch Health Companies Inc.” and on July 16, 2018, began trading under a new ticker

 symbol “BHC” on the NYSE and the TSX. In addition, Valeant issued numerous debt securities

 that traded during the relevant period.

        21.     Defendant Pearson served as Valeant’s CEO and a member of Valeant’s Board of

 Directors from February 2008 until May 3, 2016, except during January and February 2016,

 during which time Pearson took a medical leave of absence. From March 2011 through January

 2016, Pearson served as the Chairman of Valeant’s Board of Directors. On March 21, 2016,

 Valeant announced that Pearson had been terminated. During his tenure at Valeant, Pearson’s


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 compensation, including cash and stock awards, was $7 million in 2013, $10.3 million in 2014,

 and $14.3 million in 2015. Moreover, between 2013 and 2015, Pearson held Valeant stock and/or

 stock awards valued at over $2 billion.

        22.      Defendant Schiller served as Valeant’s CFO and an EVP of the Company from

 December 2011 until June 30, 2015, when he resigned from both positions. Schiller also served

 as a member of Valeant’s Board of Directors from September 2012 until June 14, 2016. On

 March 21, 2016, Valeant announced that Schiller had engaged in “improper conduct” that

 “contributed to the misstatement of [financial] results” and led to Valeant’s restatement of its

 historic financial statements for fiscal 2014 and the first quarter of 2015. In 2013 and 2014,

 Schiller’s compensation, including cash and stock awards, was $4 million and $27 million,

 respectively.

        23.      Defendant Rosiello served as Valeant’s CFO and EVP from July 2015 until

 December 31, 2016. Rosiello briefly served as a member of the three-person “Office of the Chief

 Executive Officer,” along with Chief General Counsel Robert Chai-Onn and Group Chairman

 Ari Kellen, in January and February 2016 in Pearson’s absence. Rosiello worked with Pearson at

 McKinsey & Company prior to joining Valeant.

        24.      Defendant Carro served as Valeant’s Corporate Controller and in that capacity

 oversaw the preparation of Valeant’s financial reports and audits, and participated in investor

 conference calls. On March 21, 2016, Valeant announced Carro had been placed on

 administrative leave after committing “improper conduct” related to Valeant’s restatement.

        25.      Defendants Pearson, Schiller, Rosiello, and Carro are referred to herein as the

 “Individual Defendants” and, with Valeant, as the “Defendants.”




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 IV.    THE ENTERPRISE

        26.     The unlawful scheme described herein was devised and executed by an illegal

 enterprise (the “Enterprise”) consisting of various legally distinct but associated-in-fact

 pharmaceutical companies, specialty pharmacies, individuals, and others who associated together

 for the purpose of carrying out the pattern of racketeering activity alleged herein, including, but

 not limited to, using the mails and wires to defraud investors, engage in market manipulation,

 obtain illegal kickbacks, transport and transmit misappropriated funds and property through

 interstate commerce, and conspiring to do the same. The Enterprise was comprised of, among

 others, the following members:

        A.      The Valeant Enterprise Members

                1.     Valeant

              27.      Beginning in 2008, under the direction of its new CEO, Pearson, Valeant

 identified a new revenue growth strategy. Instead of investing significant portions of its revenues

 into R&D to develop or improve pharmaceutical products, which had a low rate of return,

 Valeant set out to acquire pharmaceutical companies with already-established products to sell,

 allowing Valeant to cut R&D costs. Between 2008 and 2015, Valeant purchased more than 100

 pharmaceutical companies and drug portfolios, including Medicis Pharmaceutical Corp.

 (“Medicis”) (for $2.6 billion), Bausch & Lomb Holdings Inc. (for $8.7 billion), Salix

 Pharmaceuticals, Ltd. (for $14.5 billion), Sprout Pharmaceuticals, Inc. (for $1 billion), and

 Marathon’s drugs Isuprel and Nitropress (for $350 million) which all now fall under the aegis of

 Valeant.

        28.     Through these acquisitions, Valeant acquired a portfolio of pharmaceutical

 products that were vulnerable to massive price increases. To do so, Valeant applied a critical new


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 sales strategy known internally as alternative fulfillment (“AF”) by which Valeant, through the

 creation of a secret network of pharmacies, implemented unconventional, deceptive, and illegal

 practices to reduce barriers to sales of, and reimbursement for, drugs sold at prices that a

 transparent market would not tolerate. As a result of its AF strategy, Valeant’s drug prices

 increased on average by 66%—five times the average price increase implemented by comparable

 pharmaceutical manufacturers—and well over 5,000% in the case of some drugs.

        29.     Unknown to investors, Valeant’s organic growth was fueled primarily by these

 price-hikes and improper sales tactics and not by increased sales volume, as Defendants

 misleadingly stated publicly. Investors were further unaware that Valeant was only able to

 charge these high prices by the use of a distribution channel that used captive pharmacies and

 other improper practices. Valeant’s public financial statements concealed this reality by, inter

 alia, failing to disclose any information about Valeant’s control over Philidor and other captive

 pharmacies in violation of GAAP and the securities laws.

                2.     Pearson

        30.     Pearson, a New Jersey resident and former head of McKinsey’s global healthcare

 consultancy, became the CEO of Valeant in February 2008. According to Valeant’s board of

 directors, “Pearson was Valeant,” and it was “always the Michael Pearson show at [Valeant’s]

 Madison executive offices.” Pearson’s compensation was tied to aggressive shareholder-return

 goals, and thus he faced an “inordinate amount of pressure” to drive up Valeant’s stock price.

        31.     Pearson led the implementation of “tough tactics” at Valeant, including its

 “roll-up” strategy of acquisition and price gouging. He “hire[d] cronies like his former McKinsey

 partner Robert Rosiello,” his brother-in-law, and the children of former clients. Pearson




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 personally insisted on astronomical price increases, over and above the guidance of his business

 unit, in order to meet “seemingly impossible shareholder-return goals.”

        32.    As set forth in detail herein, in addition to implementing Valeant’s acquisition and

 price gouging strategy, Pearson orchestrated the Enterprise’s concealment of the true drivers of

 Valeant’s revenue growth and its corresponding artificial inflation of the price of Valeant

 securities. For example, Pearson consistently touted the purportedly successful volume-based

 revenue growth strategy on which Valeant’s claims of sustainability and justifications for the

 value of the Company’s securities were based, including during public earnings calls and

 investor conferences.

        33.    Pearson also coordinated closely with other members of the Enterprise including

 Valeant’s CFO (Schiller), Controller (Carro), and the Director of Valeant’s Access Solution team

 (Tanner). As Valeant’s CEO, Pearson communicated and attended numerous meetings with key

 members of the Enterprise, and he was privy to confidential, proprietary, and non-public

 information concerning every aspect of Valeant’s operations, finances, and business prospects

 and those of Valeant’s acquisition targets, including Philidor. Moreover, Pearson signed all of

 Valeant’s quarterly and annual financial statements, including the Sarbanes-Oxley (“SOX”)

 certifications that attested to the accuracy of Valeant’s financials and effectiveness of the

 Company’s internal controls.

               3.        Schiller

        34.    As Valeant’s CFO between December 2011 and June 30, 2015, Schiller, working

 alongside Pearson, “religiously track[ed] each deal on a quarterly basis,” and “track[ed] every

 [Valeant] product around the world.” Like Pearson, Schiller coordinated closely with senior

 Valeant and Philidor executives and was intimately involved in the planning, approval, direction,


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 and monitoring of every aspect of the fraudulent scheme, including directly authorizing the

 implementation of illegal practices in Valeant’s AF program.

        35.     Moreover, Schiller was responsible for Valeant’s financial accounting and

 reporting, and signed all of Valeant’s quarterly and annual financial statements and

 accompanying SOX certifications during his tenure as CFO. Thus, Schiller, along with Pearson,

 and others working in concert with them, facilitated the artificial inflation of the price of the

 Valeant securities by, among other things, concealing the relationship between Valeant and

 Philidor by failing to disclose Philidor as a variable interest entity (“VIE”) in Valeant’s year-end

 financial statements. In addition, as the Company’s CFO, Schiller enabled the Company to

 inflate its reported revenue and net income by improperly consolidating Philidor’s sales with

 Valeant’s financial results.

        36.     As direct evidence of Schiller’s material role in the Enterprise, in March 2016,

 Valeant admitted that Schiller had engaged in “improper conduct” that “contributed to the

 misstatement of [financial] results” and led to Valeant’s restatement of its historic financial

 statements for fiscal 2014 and the first quarter of 2015.

                4.      Rosiello

        37.     Rosiello served as Valeant’s CFO and EVP from July 2015 to December 31,

 2016. A former colleague of Pearson’s from McKinsey, Rosiello operated and managed

 Valeant’s role and participation in the Enterprise by, among other things, orchestrating Valeant’s

 growth-by-acquisition, price gouging, and AF strategies, personally overseeing the preparation

 of Valeant’s false and misleading financial statements, and repeatedly misrepresenting to

 investors Valeant’s relationship with Philidor and the degree to which Valeant relied on price,

 rather than volume, to drive revenue growth.


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                5.     Carro

         38.    Carro had operational and managerial control over Valeant and participated in the

 illegal scheme by among other things: (i) directly authorizing the implementation of Philidor’s

 illegal and unsustainable practices in the AF program; (ii) orchestrating massive price increases

 of, among others, the drug Cuprimine by nearly 6,000%; and (iii) overseeing the preparation of

 Valeant’s false and misleading financial statements.

                6.     Tanner

         39.    Prior to working at Valeant, Gary Tanner was employed by Medicis, where he

 directed the AF program for pharmaceuticals that experienced low rates of insurance coverage

 because of their cost and the availability of generic substitutes. Medicis’ AF program directed

 patients to bring their prescriptions for such Medicis drugs to certain specialty pharmacies that

 would assist patients and doctors in obtaining insurance coverage for those drugs or would

 provide other incentives for patients to purchase Medicis-branded drugs instead of generic

 substitutes.

         40.    Following its December 2012 acquisition of Medicis, Valeant tapped Tanner, and

 others who worked under Tanner in running Medicis’ AF program, to develop an AF program at

 Valeant. Internal Valeant documents describe Tanner as “key organization talent” acquired from

 Medicis. By April 2013, Valeant had appointed Tanner to Senior Director for the “Access

 Solutions Team,” and Tanner was later promoted to VP responsible for Access Solutions.

         41.    In that role, Tanner worked with other members of the Enterprise to create

 Philidor, and developed the proposal for Valeant to partner with Philidor as a way of supporting

 Valeant’s AF program and facilitated the funding for Philidor. Specifically, by email dated

 January 3, 2013, Tanner sought approval from Valeant executives for the Philidor project, and a


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 commitment to advance $2 million in funds to Philidor after fulfillment of certain milestones,

 and to provide expertise and other support to the new pharmacy. In connection with Tanner’s

 request, Tanner submitted a standard Valeant contract approval form (“CAF”) that listed Tanner

 as the “Initiator” of the contract with Philidor and described him as the “Valeant Employee

 Primarily Responsible for Administration And Performance of Contract. Eight Valeant

 executives, including Pearson, signed the CAF in the summer of 2013.

        42.    Notwithstanding Tanner’s responsibility for Valeant’s AF program, beginning in

 January 2013, Tanner focused primarily on developing Philidor and solidifying its relationship

 with Valeant. Indeed, Tanner spent so much time in Philidor’s Pennsylvania offices that Tanner

 was assigned his own office there. Tanner was supervised by Laizer Kornwasser

 (“Kornwasser”). Kornwasser, who reported directly to Pearson, served as Valeant’s EVP and

 Chairman from February 2013 through July 2015. Pearson handpicked Kornwasser to serve as a

 liaison between Valeant and Philidor due to his understanding of specialty pharmacies and his

 expertise in exploiting the lack of transparency within the labyrinthine structure of specialty

 pharmacy distribution chains.

        43.    Tanner was involved in all aspects of Philidor’s operations, including the

 implementation of Philidor’s illegal and unsustainable practices. In addition, Tanner personally

 directed Philidor employees to resubmit denied claims for reimbursement to end payors using

 different prices until Philidor received payment at the highest possible amount. To conceal

 Tanner’s direct involvement in Philidor’s operations while an employee of Valeant, Tanner

 communicated with Philidor employees under the alias “Brian Wilson.”

        44.    Beginning in or around August 2014, Tanner facilitated Valeant’s purchase of

 Philidor, which was consummated on December 15, 2014, when Valeant and Philidor executed a

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 Purchase Option Agreement whereby Valeant paid $100 million for a ten-year option to

 purchase Philidor for $0 (the “Philidor Option”). Unlike other contracts entered into by Valeant,

 a request for proposal process was not undertaken for the Philidor contract.

        45.     In August 2015, Valeant terminated Tanner. Immediately following his

 termination, Tanner was hired by Philidor. Notwithstanding his retention by Philidor, beginning

 in September 2015, Tanner negotiated a consulting agreement with Valeant to continue to

 perform services for Valeant while simultaneously serving as a Philidor employee.

        46.     Like Pearson, Schiller, Rosiello, and Carro, Tanner had a financial motive to

 participate in the Enterprise. In addition to the millions of dollars in compensation that Tanner

 reaped from Valeant’s price gouging and AF strategies, a four-count indictment filed against

 Tanner on November 16, 2016 by the U.S. Attorney for the Southern District of New York and

 the Federal Bureau of Investigation (“FBI”), charging Tanner with fraud and conspiracy, reveals

 Tanner’s involvement in an elaborate kickback scheme, whereby he was compensated $10

 million for facilitating the Philidor Option and was promised many millions more if Philidor

 reached certain sales milestones for Valeant products. On May 22, 2018, a jury convicted Tanner

 of all charges, including wire fraud and conspiracy to commit money laundering.

                7.      Other Valeant Employees

        47.     Other Valeant employees directed and coordinated the Enterprise’s activities,

 including but not limited to:

                (a)     Bijal Patel – a former Medicis employee who worked under Tanner, Patel

 joined Valeant in January 2013 following Valeant’s acquisition of Medicis. Patel was

 instrumental in the creation of Philidor and coordinated closely with Tanner and Davenport in

 developing Philidor’s “back door” practices for reimbursement and routinely provided


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 proprietary information to Philidor, including information concerning the most popular drugs and

 which physicians were prescribing them, to facilitate Philidor’s sales and reimbursement.

                (b)    Ari Kellen – served as Valeant’s EVP, Company Group Chairman from

 January 1, 2014 to December 31, 2016. Between March and December 2016, Kellen served as

 the head of Valeant’s U.S. dermatology business. Like Rosiello, Kellen was a colleague of

 Pearson’s from McKinsey. Kellen operated and managed Valeant’s role and participation in the

 Enterprise by, among other things, orchestrating Valeant’s growth-by-acquisition, price gouging,

 and personally overseeing the implementation of Valeant’s AF model.

        B.      The Philidor Enterprise Members

                1.     Philidor

        48.     Philidor was created on January 2, 2013 by Valeant executive Gary Tanner, and

 the principal of a Pennsylvania pharmaceutical industry communication and marketing firm,

 Andrew Davenport. Philidor’s sole purpose was to serve as a shill through which Valeant could

 facilitate sales of its massively inflated branded pharmaceuticals. Indeed, Valeant was Philidor’s

 only customer and Valeant employees were instrumental in the formation and staffing of Philidor

 with several eventually joining Philidor full time. By the time Valeant acquired an option to

 purchase Philidor in December 2014, Philidor had grown to a company with approximately 450

 employees with tens of millions of dollars in revenue, which was nearly all derived from its

 relationship with Valeant and the sale of Valeant products.

        49.     Philidor falsely portrayed itself as a specialty pharmacy. However, while true

 specialty pharmacies focus on self-administration of highly differentiated brand-name drugs for

 patients undergoing intensive therapies for chronic, complex illnesses such as cancer and HIV,

 Philidor was principally devoted to dispensing Valeant’s undifferentiated traditional drugs, most


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 of which had low-cost generic substitutes. Through Philidor, Valeant insulated itself from

 generic competition, by among other things, flouting statutory or contractual mandates for

 substitution of generic equivalents for Valeant-branded drugs, submitting false claims, making

 claims for refills that patients never requested, and implementing fraudulent and illegal patient

 co-pay assistance programs. Through these improper and illegal tactics, Philidor enabled Valeant

 to massively increase the prices of its drugs and inflate the number of claims paid on

 prescriptions for those drugs.

        50.     As set forth herein, to conceal the relationship between Philidor and Valeant, the

 Enterprise created a host of shell companies tied to Philidor, which they used to acquire interests

 in smaller retail pharmacies all over the United States and secretly extend their captive pharmacy

 network.

                2.      Andrew Davenport

        51.     Andrew Davenport was the principal of BQ6 Media, a communications and media

 firm, which caters to the pharmaceutical industry, and held himself out as Philidor’s CEO.

 Davenport met Tanner when BQ6 Media performed services in connection with the development

 of Medicis’ AF program. Following Valeant’s acquisition of Medicis, Andrew Davenport

 worked with Tanner and others to create Philidor. Davenport owned approximately 40% of

 Philidor personally and through his wholly owned shell company, End Game, LP. The remaining

 equity interest in Philidor was held by Davenport’s colleagues, former business and personal

 associates, and entities associated with those individuals.

        52.     As set forth herein, Davenport coordinated closely with Tanner and others at

 Valeant to facilitate the sale and reimbursement of Valeant’s drugs through Philidor, including

 the development of “backdoor” policies. Moreover, as set forth herein, Davenport coordinated


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 closely with Tanner to solidify the relationship between Valeant and Philidor through the

 execution of the Philidor Option in December 2014, from which Davenport personally profited

 in the amount of $40 million. As a result of Davenport’s involvement in the fraudulent scheme,

 and his payment of a kickback to Tanner in the amount of $10 million for Tanner’s role in

 facilitating the Philidor Option, in December 2016, Davenport was arrested and charged with

 four counts of fraud and conspiracy and released from jail on $2 million bail.

                3.     Matthew Davenport

        53.     Matthew Davenport, Andrew Davenport’s brother, was a principal of Philidor

 and, at times, held himself out to be Philidor’s CEO. As set forth herein, Matthew Davenport

 participated in, and coordinated the Enterprise’s fraudulent scheme, through his certification of

 Philidor’s fraudulent applications for pharmacy licenses in various states to extend Philidor’s

 captive pharmacy network and conceal its relationship with Valeant and its deceptive and illegal

 business practices.

        C.      Valeant Board Members And Audit Committee

        54.     Norma Provencio, Katherine B. Stevenson, and Theo Melas-Kyriazi were the

 members of Valeant’s Board of Directors who served on Valeant’s Audit Committee during the

 relevant time period. The Company’s Board of Directors also included Robert A. Ingram, Ronald

 H. Farmer, Colleen Goggins, Anders Lönner, and Robert N. Power during this timeframe.

        55.     Valeant’s Board Members and Audit Committee facilitated and participated in the

 Enterprise’s illegal scheme by, among other things, approving the $100 million Philidor Option

 and concealing this information from investors and regulators by failing to identify Philidor as a

 VIE in the Company’s financial reporting. Indeed, the Valeant Board and Audit Committee




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 toured Philidor’s Pennsylvania facilities prior to approving the purchase agreement and were

 provided further access to Philidor’s operations and business practices.

        56.     During an October 26, 2015 conference call, CFO Rosiello conceded that

 Valeant’s “Finance and Transaction Committee, Audit and Risk Committee and the Full Board

 all reviewed the [Philidor] transaction [and] [t]the appropriate accounting treatment was

 determined by management and reviewed with the Audit and Risk Committee.”

        D.      Other Enterprise Members

        57.     The Enterprise also includes other members known and unknown who

 participated in and facilitated the scheme, including but not limited to:

                (a)     Isolani LLC – shell company created by Philidor and used to purchase

 R&O Pharmacy;

                (b)     Lucena Holdings – shell company created by Philidor and used to

 purchase a stake in West Wiltshire Pharmacy in California after California denied Philidor a

 license;

                (c)     Back Rank, LLC – shell company created by Philidor and used to

 purchase a stake in Orbit Pharmacy, Inc. in Houston, Texas;

                (d)     KGA Fulfillment Services, Inc. – wholly-owned Valeant subsidiary used

 to lend money to Philidor’s owners and the vehicle through which Valeant held the Philidor

 Option;

                (e)     Fifty Moves, LLC; ELO Pharmacy LLC; C-K Pharmacies LLC; Tarrasch

 Pharmacy Holdings, LLC; NC3 Pharmacy LLC; and Lasker Pharmacies, LLC – Philidor-created

 shell companies created to extend the captive pharmacy network; and




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                 (f)     SafeRx Pharmacy; D&A Pharmacy; Prescription Shoppe; Heritage

 Compounding Pharmacy; Parkwest Pharmacy – additional specialty pharmacies through which

 Philidor distributed Valeant’s price-gouged drugs.

         58.     Although these entities and persons are distinct and independent of each other,

 and free and incentivized to act in and advance their own interests independently, they have

 associated in fact with a common purpose, identifiable relationships, and sufficient longevity to

 pursue their common purpose. Specifically, beginning no later than January 2013 and continuing

 until the illegal scheme was revealed, they have been engaged in a mutually understood,

 agreed-upon, and coordinated campaign of racketeering activity for financial gain, resulting in

 the enrichment of the Enterprise members, and artificial inflation of the price of Valeant’s

 securities, all at the expense of Valeant’s investors. These wrongful acts have resulted in the loss

 of tens of billions of dollars in investor value.

 V.      THE CRIMINAL SCHEME

         A.      Valeant’s Deceptive Business Model

                 1.      Growth By Acquisition

         59.     In February 2008, Valeant appointed Pearson to serve as its CEO. While Pearson

 lacked any experience in developing and manufacturing drugs through internal R&D, Valeant

 chose Pearson for his business acumen and his cut-throat tactics to realize even greater profits.

 And Pearson did just that. He ran Valeant like a hedge fund, and was compensated with

 aggressive stock-based compensation uncommon in the pharmaceutical industry. At the peak of

 the Enterprise’s operation, Pearson’s stock compensation was valued at over $2 billion.

         60.     Pearson’s first move as Valeant’s CEO was to gut the Company’s R&D

 department, which Pearson viewed to be low-return since it did not often yield marketable drugs.


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 While traditional pharmaceutical companies devote 15–20% of revenue to R&D, under

 Pearson’s leadership, Valeant slashed its R&D budget down to only 3%. Rather, Valeant focused

 on acquiring companies with already established products, surreptitiously manipulating a

 labyrinthine healthcare system, and exploiting the price of long-developed and off-patent drugs

 that had been low-cost staples of treatment for some of America’s most vulnerable patients for

 decades.

        61.    To maintain its growth-by-acquisition strategy, Valeant purchased more than 100

 pharmaceutical companies or drug portfolios between 2008 and 2014, including Medicis, Bausch

 & Lomb, Salix, Sprout, and Isuprel and Nitropress. Valeant borrowed heavily to finance its

 acquisitions, and by 2015, Valeant was carrying $31 billion dollars in debt with correspondingly

 enormous debt payments.

        62.    Valeant targeted for acquisition “orphan drugs,” which treat rare medical

 conditions. Due to the small population that these drugs service, orphan drugs face little to no

 competition despite being past the point of protection from generic equivalents, providing the

 manufacturer with monopoly pricing power. Likewise, “orphan drugs” have patients who depend

 on them, sometimes to survive, and are effectively captive to their prescriptions, which further

 solidified Valeant’s pricing power over its newly-acquired drugs.

        63.    In addition, Valeant’s acquisition strategy focused on healthcare sectors where

 there was no significant competition from other major pharmaceutical manufacturers, including,

 among others, the dermatology, neurology, and ophthalmology sectors.




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                2.      Price Gouging

        64.     Valeant’s acquisition strategy left it under immense pressure to create the revenue

 necessary to carry its heavy debt load. At year-end 2014, Valeant had $15.2 billion in debt and

 only $323 million in cash. By September 2015, Valeant’s debt ballooned to $30.7 billion.

        65.     So long as Valeant’s revenues continued to grow and its stock price remained

 high, its acquisition model appeared to be working, but if either metric slipped, Valeant risked

 being overwhelmed by its debt. Thus, Valeant had to demonstrate to investors and lenders that it

 was generating sufficient cash flow from its acquisitions. Valeant did so by massively inflating

 the prices of its newly acquired drugs.

        66.     A report by the U.S. Senate details how, in late 2012, Valeant was facing

 declining revenue in its Neurological and Other division. To combat this decline, the Company’s

 top executives, including Pearson, developed and approved a plan, called the “Orphan Drug

 Pricing Strategy” that refocused the division on using steep and repeated price increases to make

 up for the decline in revenue. Once the plan was adopted, Pearson and other top executives

 personally determined how much to raise drug prices.

        67.     For example, following Valeant’s acquisition of Cuprimine, a drug used since

 1965 to treat Wilson’s disease, a rare condition that prevents the body from processing copper,

 Valeant senior executives, including Pearson, Rosiello, and Carro, decided to raise the price of

 Cuprimine by nearly 5,800% to allow Valeant to recoup its investment prior to the approval of

 general competition. Valeant employed similar price gouging tactics with respect to Syprine,

 raising the price 3,200%.

        68.     Once it was successful, Valeant applied this price gouging strategy across the

 board. Valeant’s execution of the price gouging strategy on Isuprel and Nitropress—drugs used


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 to treat acute heart conditions—is a case in point. On December 3, 2014, Andrew Davis,

 Valeant’s SVP for Business Development, sent an e-mail to Kornwasser, stating that he had

 identified another opportunity in the drug manufacturer, Marathon, whose “value is largely

 derived from 2 hospital products [Isuprel and Nitropress] . . . which have no IP [i.e., protection

 from generic competition].” Steve Sembler, Valeant’s General Manager of Neurology,

 responded that the purchase “would also have to be a price play (if we determine there is upside

 to take price)[.]”

         69.     Thereafter, Valeant worked with consultants at Marketing Medical Economics

 and McKinsey to determine the pricing potential for Isuprel and Nitropress. The consultants

 advised that Marathon had increased the price of Nitropress from $47 to $214, and Isuprel from

 $48 to over $200, but noted that “most patients treated [with Nitropress, for example] are in

 critical condition,” and thus advised Valeant that there was still “upward potential for pricing” of

 these drugs. McKinsey, Pearson’s former employer, similarly advised Pearson by e-mail dated

 December 29, 2014 that these drugs had “material pricing potential” because “[s]maller/older

 products (e.g., Isuprel and Nitropress) are not reviewed on formulary [and] [Isuprel and

 Nitropress] have been in the system for so long that reviews are practically rubber stamped.”

 Moreover, Valeant projected that Isuprel and Nitropress would not face generic competition until

 2017 at the earliest.

         70.     Two days after acquiring the rights to Nitropress and Isuprel from Marathon,

 Valeant massively increased the prices of the drugs by 212% and 525%, respectively. Valeant

 employed similar tactics with dozens of other drugs.

         71.     Though Valeant is a large drug manufacturer, with many product lines and

 hundreds of individual drugs, the price increases applied to newly-acquired drugs like Isuprel

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 and Nitropress provided disproportionate short-term gains. For example, Valeant recorded

 $150 million in revenues on Isuprel and Nitropress in 2014, and, after dramatically raising prices

 on both drugs, over half a billion dollars in revenues in 2015. Valeant’s total revenues for 2015

 were $10.4 billion. Thus, price-gouging strategies applied to only two newly-acquired drugs,

 provided over 5% of Valeant’s revenues in 2015.

        72.     Reports indicate that in 2015, Valeant raised its brand name drug prices by 66%

 on average—five times more than any other pharmaceutical company in the industry. Other

 examples of dramatic price increases include: (a) inflating the price of Carac Cream, a treatment

 for precancerous lesions, by more than 1,100%, from $230 per tube to over $2,800;

 (b) increasing the price of Glumetza, a drug used to control blood sugar for people with type 2

 diabetes, by more than 1,000%, from $900 per 90 tablets to over $10,000; (c) gouging the price

 of Targetin, a treatment for skin problems associated with T-cell lymphoma, by over 1,600%,

 from $1,800 per tube to over $30,000; (d) raising the price of Wellbutrin XL, an anti-depressant

 drug, by $1,400 per one month’s supply while the generic alternative sells for $30; and

 (e) raising the price of Addyi, a libido enhancing drug for women, by 100% immediately after

 Valeant acquired the drug from Sprout.

        73.     Although Valeant’s price increases appeared to boost its profitability in the near

 term, the manner in which they were achieved was in fact unsustainable and exposed Valeant to

 numerous risks, including, among others, that patients, insurers, and other payors would refuse to

 pay such drastically increased prices or would substitute generic or alternate-brand products for

 Valeant branded drugs. Valeant also risked regulatory scrutiny, and relationship and/or brand

 damage in response to the price increases. These short-term gains misled investors as to

 Valeant’s true financial performance and prospects.

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                3.      The Enterprise Inflates Sales Through A Secret Network Of Captive
                        Pharmacies

        74.     Valeant’s price gouging strategy required it to raise the price of its drugs beyond

 what other market participants would normally accept. Typically, pharmacy benefit managers

 (“PBM”), intermediaries between pharmaceutical manufacturers and patients and other payors,

 prevent unreasonable price gouging and reduce instances of fraud. These intermediaries

 negotiate drug prices and reimbursement rates with drug manufacturers, and often encourage the

 automatic substitution of cheaper products for high-priced, brand-name drugs. A key component

 of the Enterprise’s scheme was to avoid this cost control mechanism altogether.

        75.     Realizing that Valeant could not execute its drug pricing strategy through

 traditional pharmaceutical channels, the Enterprise set about creating its own, secret, drug

 distribution network of captive pharmacies, made up of entities named after chess players and

 strategies. At the center of this clandestine pharmacy network was Philidor, which Valeant

 helped form in January 2013—immediately after adopting the Orphan Drug Pricing Strategy—

 under the direction of Tanner and Andrew Davenport. Valeant provided financing, staffing, and

 other resources to develop Philidor.

        76.     Valeant immediately tested its new AF scheme in its newly acquired

 Arizona-based Medicis dermatology unit. Valeant, through Medicis, retained Philidor to

 dispense its products, communicate with patients and other actors in the prescription drug

 distribution chain, manage the prior authorization process, handle delivery of Valeant products,

 and manage Valeant prescription refills. Through this arrangement, Valeant increased its formal

 control over Philidor, obtaining the right to inspect Philidor, audit Philidor’s compliance with the

 parties’ arrangement, and to “assess and evaluate the operation of the program.”



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        77.     To conceal the close ties between Valeant and Philidor, Tanner, and many other

 Valeant employees conducting work on behalf of Philidor, used aliases, including “Brian

 Wilson” and “Peter Parker” used by Tanner and Bijal Patel, respectively. With these aliases,

 Valeant employees provided Philidor with proprietary, non-public prescription and referral

 information so that Philidor could facilitate the sale and reimbursement of Valeant drugs and

 avoid automatic substitution of generic equivalents.

        78.     Senior Valeant executives were aware of, and indeed directed and facilitated

 Philidor’s operations. For example, in or around November 2013, Valeant executive Kornwasser,

 Tanner’s direct supervisor who reported directly to Pearson, toured Philidor’s Philadelphia

 facility along with another Valeant executive, Deborah Jorn (“Jorn”). During that tour,

 Kornwasser witnessed first-hand Valeant’s extensive control over Philidor, including that a

 Valeant employee, Tanner, was assigned an office at Philidor, had access to all aspects of

 Philidor’s offices, and exercised managerial control over Philidor’s operations and employees.

 As a result of that visit, according to his testimony in the trial of Davenport and Tanner,

 Kornwasser was so concerned about what he saw from an “independence perspective” and a

 “compliance perspective” that he went “straight back to Valeant” to “make sure [he] told the

 proper executives.”

        79.     After his first visit, Kornwasser twice returned to Philidor—once with Valeant’s

 comptroller and head of compliance. Indeed, Kornwasser was so troubled about Valeant’s

 relationship with Philidor—and his role in that relationship—that he began documenting his

 concerns in secretly recorded conversations with Pearson. For example, on or around September

 2014, Kornwasser expressed concern to Pearson that Valeant was stuffing the Philidor channel

 with drugs to meet sales goals. Pearson reacted by questioning Kornwasser’s concern about the

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 practice, stating that it seemed to be “out of character for you, if you know what I mean.”

 Kornwasser responded, “Yeah. I’ll be aggressive on stuff. This is one where like, for example,

 like this buy, where Philidor’s going to take 22 pallets, their inventory room doesn’t have room

 for three pallets. And so it’s one of those things where if it were ever to be exposed, it just

 doesn’t feel—it just doesn’t feel right.”

        80.     Notwithstanding Kornwasser’s direct knowledge that Valeant exercised direct

 control over Philidor through Tanner—which Kornwasser reported to his supervisors, including

 Pearson—Valeant did not terminate Tanner’s role at Philidor, but rather continued to capitalize

 on Tanner’s role at Philidor as an instrumentality to solidify Valeant’s control over Philidor.

        81.     Likewise, when Valeant’s Chief Compliance Officer, Seana Carson, raised

 questions internally as to whether Tanner held an undisclosed equity interest in Philidor, Valeant

 executives, including Pearson, Schiller, and others, turned a blind eye to these concerns. Valeant

 took no disciplinary action against Tanner, permitted him to keep operating in his dual role at

 Valeant and Philidor, and concealed Tanner’s misconduct because Philidor was vital to the

 Enterprise’s price gouging strategy.

        82.     Valeant’s executives were well aware of the Company’s reliance on Philidor, and

 planned to rely on it from its inception. In a 2013 email to Kornwasser and Keller, Tanner

 updated the Company on his efforts to pursue “alternative arrangements” with, among others,

 Bluegrass Pharmacy, Cardinal Health Pharmacy, Bergen Medical Pharmacy Inc., and Carepoint

 Rx Pharmacy “in the event Philidor cannot be scaled quickly enough” to achieve Valeant’s

 “financial goals.” In response, the Valeant supervisors supported and encouraged Tanner’s

 efforts to implement Valeant’s price gouging and AF strategies.




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                4.      The Enterprise Ensures Sales Of Price-Gouged Drugs By
                        Manipulating Patient Assistant Programs And A Specially Designed
                        Public Relations Campaign

        83.     Valeant’s scheme to ensure sales of its price-gouged drugs depended on

 manipulating patient assistance programs such as patient copays. The purpose of this

 manipulation was to avoid the scrutiny of regulators, media attention, and resistance from

 patients and payors.

        84.     Typically, patient co-pays, which require the patient to pay a portion of the cost of

 the treatment they are prescribed, encourage patients to resist high-priced treatment options or to

 substitute generic alternatives for high-priced drugs. However, Valeant waived and eliminated

 patient co-pays, increasing their patient assistance program costs by over 1,100%, from $53

 million in 2012 to $600 million in 2015, to ensure sales of its price-gouged drugs—a practice

 which violates criminal anti-kickback laws when perpetrated on government payors like

 Medicaid. In addition, these practices breached contracts, and angered doctors, payors, and

 PBMs, and presented serious business risks, including that if Valeant’s tactics were discovered,

 PBMs and payors would refuse to pay Valeant’s high prices, resulting in massive reductions in

 sales volume. Valeant projected it would spend more than $1 billion on its patient assistance

 programs in 2016. Despite the ballooning costs of these measures—which were critical to keep

 up sales of Valeant’s price-gouged drugs—Valeant’s revenues were not keeping pace, rising by

 only 300% between 2012 and 2015, from $3.5 billion to $10.4 billion during that time period.

        85.     While proper patient assistance programs are designed to ensure patients can

 afford necessary medical treatment, Valeant manipulated its patient assistance program to

 manipulate payors and patients and ensure sales of its price-gouged drugs. Indeed, in testimony

 before Congress during its investigation into Valeant’s pricing and business practices, Mark


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 Merritt, the President and CEO of the Pharmaceutical Care Management Association, which

 represents PBMs, stated that Valeant had forced “employer’s unions and others to pay hundreds

 of thousands more for the most expensive brands on the formulary,” practices that constitute

 illegal kickbacks when perpetrated on government payors.

        86.     Internal Valeant presentations reflect that its patient assistance programs were part

 of the deceptive sales practices used to maintain Valeant’s price gouging strategy. For example,

 one such presentation explained that the increases in patient assistance would be “funded through

 planned price increases” and “[i]nvolve[d] a combination of alternative/restricted distribution

 model, advocacy support and patient assistance programs.” To ensure sales of Valeant’s price-

 gouged drugs, the presentation urged employees to use patient assistance programs to entice

 patients to accept Valeant’s branded drugs over lower priced alternatives or to offer free goods

 “as a last resort.” Valeant knew the institutional risks these tactics presented, and the presentation

 noted that “[s]ubstantial price actions could attract undue negative publicity from patients,

 HCP’s [health care providers], payors, and/or government agencies,” so it implemented a “PR

 Mitigation” plan and “[p]rivately address[ed] concerns from patients, insurance companies or

 managed care providers to prevent public displays of negative sentiment [and] [m]inimize[d]

 media coverage of [] pricing increase[s].”

        87.     The same presentation provided Valeant employees with a “PR Draft

 Communications Plan [for] Orphan Drug Rate Increases,” stating that orphan drugs can

 “command a substantial premium in the market—to offer pharmaceutical companies a greater

 return on investment.” However, it cautioned, “[w]hile the high cost of orphan drugs has been

 largely tolerated by the medical community because the overall impact of these pharmaceuticals

 on health budgets has been relatively small, there has recently been a renewed focus on the cost

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 of these drugs [and the] press has also picked up on these trends.” The presentation further

 warned that Valeant’s plan to increase Cuprimine and Syprine, the Wilson’s disease treatments,

 “needs to be managed carefully.”

        88.     To prepare Valeant employees for questions about price gouging, including

 whether “Valeant [was] just trying to make insurers and managed care providers pay as much as

 possible for these drugs,” Valeant employees were instructed to lie by providing answers such as,

 “No. These rate increases are essential to ensure that Valeant is able to continue to offer these

 important pharmaceuticals to our patients who are afflicted with [for example] Wilson’s disease

 while also remaining commercially viable.” For example, when Berna Heyman, who suffered

 from Wilson’s disease, wrote to Pearson to express her outrage at the steep price increases on

 Syprine, Valeant falsely responded: “there are many challenges associated with developing

 treatments for rare conditions such as Wilson’s disease, the investments we make to develop and

 distribute novel medicines are only viable if there is a reasonable return on the company’s

 investment and if our business is sustainable.” In reality, Valeant does not develop new drugs,

 nor does it invest in the development of novel medicines except the paltry 3% of revenues that

 Valeant purported to spend on R&D.

        89.     The price gouging strategy described herein was critical to the Enterprise’s

 scheme, as it allowed Valeant to drive massive short-term revenues, providing an excellent

 selling point to new investors in Valeant. The Enterprise touted these short-term gains to mislead

 investors to believe that Valeant had hit upon a sustainable and legitimate business model that

 would continue to produce such performance into the future.




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                5.     Through Philidor, The Enterprise Creates A National Network Of
                       Captive Pharmacies

        90.     In addition to manipulating patient assistance programs, the Enterprise created a

 web of shell companies—which were all assigned names related to chess players or strategies—

 through which Philidor purchased ownership stakes in pharmaceutical companies all around the

 country. This ownership structure enabled the Enterprise to sell their price-gouged drugs in every

 market across the nation without revealing that those sales were in fact directed and controlled

 by Valeant. The purpose of creating this network was to obscure Valeant’s role in the aggressive

 pharmacy-led promotion and sale of its price-gouged drugs, and to create the appearance that

 ostensibly independent pharmacies across the country were promoting and selling Valeant

 products of their own volition and based on the merits of those products. Moreover, as described

 herein, the network also allowed Valeant to implement deceptive practices designed to trick

 payors into reimbursing Valeant for drugs.

        91.     In furtherance of this objective, Philidor attempted to obtain a pharmacy license in

 California. However, in May 2014, the California State Board of Pharmacy denied Philidor’s

 application upon learning it contained false representations made to conceal the true ownership

 of Philidor and the close relationship between Valeant and Philidor.

        92.     To circumvent the denial and enable it to conduct business in California, Philidor

 created Isolani LLC (“Isolani”), a wholly-owned shell company with the sole purpose of

 acquiring a licensed California pharmacy, R&O Pharmacy (“R&O”). In fact, Philidor began

 using R&O’s unique national provider identifier (“NPI”) before the sale agreement between

 R&O and Isolani was even completed, both within California and outside of California. Upon

 discovering Philidor’s improper use of the its NPI, R&O’s principal, Russell Reitz (“Reitz”),



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 confronted Philidor, which, through Andrew Davenport, falsely assured Reitz that Philidor had

 discontinued its improper use of R&O’s NPI.

        93.    As Reitz discovered other fraudulent and improper practices in Philidor’s sales of

 Valeant products through Philidor, he stopped remitting checks to Philidor, and instead began

 depositing them in an R&O account. After arguing with Philidor for several months, Reitz

 received a letter from Robert Chai-Onn, Valeant’s General Counsel, demanding “immediate

 payment” of more than $69 million and warning that any delay in payment would result in

 “further damage to Valeant and other parties.” Reitz found this suspicious, because up until this

 time, Philidor had not disclosed that it had any relationship with Valeant, and R&O had no direct

 commercial relationship with Valeant. Undeterred, R&O filed a complaint against Valeant in

 October 2015, which stated that R&O had no relationship with Valeant, and that either R&O and

 Valeant were both the target of a fraudulent scheme or Valeant was attempting to defraud R&O.

        94.    The R&O lawsuit provided the first glimpse into Valeant’s ties to Philidor and the

 means and instrumentalities through which Philidor exploited its relationship with R&O,

 including: (i) Philidor’s sales of large volumes of Valeant drugs using R&O’s NPI in states

 where R&O was not licensed, using R&O’s NPI for drugs R&O had never dispensed, and filling

 prescriptions under the R&O NPI by pharmacies unaffiliated with R&O; (ii) Eric Rice, Philidor

 employee and sole member of Philidor shell company, Isolani, signed an R&O audit that R&O’s

 CEO Reitz refused to sign; and (iii) Philidor refused to apply for, or provide R&O with proof of

 application for, pharmacy licenses in states where Philidor operated under the R&O name.

        95.    In view of this misconduct, R&O’s general counsel wrote to a senior director at

 Philidor, Eric Rice, on July 22, 2015 informing Philidor that it “appear[ed] to be engaging in a

 widespread fraud.” By August 31, 2015, R&O had terminated its engagement with Isolani, and

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 sent Isolani a letter stating that “[i]t is now crystal clear that Isolani/Philidor fraudulently induced

 Mr. Reitz to [engage with Philidor/Isolani] in order to allow Isolani/Philidor to engage in a

 massive fraud.” R&O noted that “Isolani is simply a shell created by Philidor to perpetrate a

 massive fraud against not only Mr. Reitz and R&O, but also the California State Board of

 Pharmacy, [and] various payer networks,” and accused Philidor of “creat[ing] Isolani as the

 instrumentality to improperly use R&O’s National Council for Prescription Drug Programs

 (“NCPDP”) and NPI numbers to distribute pharmaceuticals in jurisdictions that Philidor would

 not have had access to but for R&O.”

         96.     Philidor likewise created Lucena Holdings (“Lucena”), another shell company,

 with the sole purpose of purchasing a stake in West Wilshire Pharmacy (“West Wiltshire”).

 Filings with the California State Board of Pharmacy show that: (i) Sherri Leon, Philidor’s

 Director of Pharmacy Operations, was Lucena’s CEO; (ii) Gregory Blaszczynski, a Philidor

 owner, was listed as an owner of Lucena; and (iii) Jamie Fleming, Philidor’s Controller, was a

 director of Lucena. Philidor concealed these individuals’ affiliations with Philidor, and falsely

 stated that they were not associated with any entity that had previously been denied a pharmacy

 license in California.

         97.     Isolani and Lucena are not the only shell companies with chess-themed names

 that the Enterprise created to carry out its fraudulent scheme. For example, in 2015 Philidor

 created the shell company Back Rank which had extensive connections with Philidor: Back Rank

 used an e-mail address at the “philidorrxservices.com” domain name; used as its address

 Philidor’s Hatboro, Pennsylvania address; Gretchen S. Wisehart (“Wisehart”), Philidor’s general

 counsel, served as Back Rank’s general counsel; and Philidor’s Controller, Fleming, was Back

 Rank’s president. The Enterprise in turn used Back Rank to buy a controlling stake in Orbit

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 Pharmacy, Inc. (“Orbit”), a pharmacy based in Houston, Texas. Orbit then changed its address to

 the Horsham, Pennsylvania address shared by BQ6, Philidor, and an untold number of Philidor’s

 shell companies. The Enterprise falsely reported to the Texas State Board of Pharmacy that none

 of its owners or partners had ever been the subject of a professional disciplinary action or been

 denied a license, despite Philidor’s prior license denial in California.

        98.     The Enterprise used this nationwide network of shell companies and captive

 pharmacies to implement Philidor’s range of deceptive and illegal sales practices. Specifically,

 Philidor created a separate “adjudication” department within Philidor to receive prescriptions

 from doctors and ship drugs to patients before health insurance coverage was secured. Philidor’s

 adjudication department followed an “Adjudication Reference Binder,” Philidor’s training

 manual, which instructed employees on specific deceptive and fraudulent practices, including:

 (i) application of “back door” approaches so that insurers who would not be willing to pay

 Philidor directly were tricked into paying Philidor indirectly; (ii) filling prescriptions through

 Philidor in states where neither Philidor nor the pharmacies in its secret network of captive

 pharmacies had a pharmacy license; and (iii) altering doctors’ prescriptions without authorization

 to include a “dispense as written” instruction to prevent a pharmacy from substituting cheaper

 generic equivalents for the prescribed medication.

        99.     The Enterprise created the false impression that Philidor and its nationwide

 network of captive pharmacies were independent from Valeant so that patients, other end payors,

 and PBMs would not view these pharmacies’ allegiance to Valeant products with heightened

 scrutiny or refuse to pay for or reimburse the price-gouged drugs. Concealing the

 Valeant-Philidor relationship was critical to the Enterprise’s scheme because, among other

 reasons, the tactics described herein violated numerous provisions of PBM agreements governing

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 their relationships with pharmacies. As evidence that these practices violated PBM agreements,

 in 2015, OptumRx sent cease and desist letters to, and ceased doing business with, R&O and

 West Wilshire pharmacies upon discovery that Philidor was surreptitiously operating through

 those entities. And, as discussed below, when Valeant’s relationship to Philidor was exposed,

 several major third party payors terminated their contracts, leading to a massive decline in

 revenue for many of Valeant’s most important drugs.

                6.     Valeant Formalizes Its Control Over Philidor Through
                       Execution Of An Undisclosed Purchase Option Agreement

        100.    To solidify its control over Philidor, on December 15, 2014, Valeant purchased

 for $100 million a ten-year option to buy Philidor for $0 (the “Philidor Option”). The deal came

 with supplemental payments in increments of $25 or $33 million dollars upon certain Philidor

 performance benchmarks, which, of course, were also rigged because Tanner worked both sides

 of the fence and ensured that Valeant sent enough business to Philidor that it would reach each

 benchmark set by the terms of the Philidor Option.

        101.    As discussed herein, the Philidor Option was the subject of further malfeasance

 by Tanner and Philidor’s CEO, Andrew Davenport, who exploited the Valeant-Philidor

 relationship and the Philidor Option deal to operate a side kickback and money laundering

 scheme that yielded the pair nearly $50 million and eventually landed them under federal

 criminal indictment for violation of a host of federal laws. Valeant’s top executive team did

 nothing to prevent or disclose their illegal conduct because Tanner and Davenport were the

 grease allowing the Enterprise’s Valeant-Philidor gears to turn.

        102.    The Philidor Option was structured to conceal the Valeant-Philidor relationship,

 and this structure was approved at the highest level. Indeed, in connection with the

 Congressional probes, Philidor was asked why Valeant did not simply purchase Philidor outright
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 rather than acquire the option to purchase it for $0. Philidor’s counsel, in a written response, said

 that “Philidor concluded that Valeant’s conduct was consistent with a concern about the

 economic impacts of any PBM response if Valeant had purchased Philidor.” Thus, Philidor

 confirmed that Valeant knew PBMs would refuse to reimburse Philidor prescriptions if PBMs

 knew of the controlling relationship. Indeed, senior Valeant executives were aware of the payor

 risk Valeant’s scheme subjected it to—as Kornwasser put it, Valeant had “all their eggs in one

 basket.” In other words, if and when Philidor had trouble with the PBMs, it would impact

 Valeant as a whole—a concern Kornwasser raised to Pearson and other executives.

        103.    To add an additional layer of secrecy, the Philidor Option was routed through

 Valeant’s wholly owned subsidiary KGA Fulfillment Services, Inc. (which stands for “King’s

 Gambit Accepted,” yet another chess-themed entity created solely to conceal the Enterprise’s

 fraudulent scheme).

        104.    This secret network of captive pharmacies, and its host of deceptive and illegal

 sales practices, was part of the value that Valeant sought when it purchased the Philidor Option.

 Indeed, the purchasing agreement required Valeant to enter into subsequent agreements with

 Philidor shell companies, such as Lucena and Isolani.

        B.      Defendant’s Accounting Violations

                1.         Valeant’s GAAP Responsibilities

        105.    Under the federal securities laws and the regulations and guidance promulgated

 by the U.S. Securities and Exchange Commission (“SEC”) pursuant to those laws, companies

 whose stock is publicly traded in the U.S.—such as Valeant—have important reporting and

 disclosure obligations.




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        106.    Public companies are required to file with the SEC certain disclosure documents

 containing comprehensive information about their business operations and their financial

 condition. Investors, including Plaintiff, rely on the accuracy and transparency of these

 disclosures when determining whether to invest.

        107.    As a publicly traded corporation with significant operations in the U.S., Valeant is

 required to prepare its financial statements in accordance with GAAP. GAAP is a set of rules and

 standards that is designed to ensure uniform financial reporting. Failing to prepare financial

 statements in accordance with GAAP renders them misleading and inaccurate.

        108.    Among those standards is ASB Accounting Standards Codification Topic 810,

 Consolidation (“ASC 810”). Among other things, ASC 810 sets forth rules governing the

 disclosure by public companies in their financial statements of “variable interest entities” or

 “VIEs.” Loosely defined, a VIE is an entity in which the reporting company has a controlling

 interest. If the reporting company is the “primary beneficiary” of a VIE, it must consolidate the

 VIE in its financial statements. ASC 810 also requires that certain information about any VIE,

 whether consolidated or not, be disclosed in a reporting company’s financial statements.

        109.    In addition to complying with GAAP, the SEC developed standards governing

 what information public companies must disclose in financial statements and other public filings.

 For example, with respect to assessing materiality in preparing financial statements, the SEC has

 released Staff Accounting Bulletin No. 99 (“SAB 99”), which emphasizes the importance of

 qualitative factors in determining materiality. In SAB 99, the SEC stated that while it had no

 objection to using a numerical threshold of 5% as a starting point in assessing materiality,

 “quantifying, in percentage terms, the magnitude of a misstatement is only the beginning of an

 analysis of materiality; it cannot appropriately be used as a substitute for a full analysis of all

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 relevant considerations.” Thus, for example, a quantitative misstatement of revenue under 5%

 might be deemed material if “the misstatement hides a failure to meet analysts’ consensus

 expectations.”

        110.      Topic 13 of the SEC Staff Accounting Bulletin Series (“SAB Topic 13”) sets

 forth the rules on revenue recognition. Under SAB Topic 13, “revenue should not be recognized

 until it is realized or realizable and earned.” Generally, revenue is realized or realizable and

 earned when “[p]ersuasive evidence of an arrangement exists”; “[d]elivery has occurred or

 services have been rendered”; “[t]he seller’s price to the buyer is fixed or determinable”; and

 “[c]ollectibility is reasonably assured.”

        111.      Certain SEC filings—such as the issuer’s annual report—are required to contain a

 section titled “Management’s Discussion and Analysis of Financial Condition and Results of

 Operations” (the “MD&A”). Its underlying purpose is to give investors an opportunity to see the

 issuer’s past results and future prospects through the eyes of management. See

 17 C.F.R.§ 229.303.

        112.      SAB Topic 13 further provides that the types of revenue transactions or events

 that should be disclosed in the MD&A include, among other things, “[c]hanging trends in

 shipments into, and sales from, a sales channel or separate class of customer that could be

 expected to have a significant effect on future sales or sales returns.”

        113.      SAB Topic 13 also requires disclosure of “unusual or infrequent transactions,

 known trends or uncertainties that have had, or might reasonably be expected to have, a

 favorable or unfavorable material effect on revenue, operating income or net income and the

 relationship between revenue and the costs of the revenue.” Clearly, the Philidor transactions

 were unusual. But, these transactions also materially affected reported income because of the

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 high product pricing and attendant profitability. In this situation, SAB Topic 13 describes the

 required disclosure as including “changes in revenue,” which “should not be evaluated solely in

 terms of volume and price changes, but should also include an analysis of the reasons and factors

 contributing to the increase or decrease.”

        114.    SAB Topic 13’s examples further confirm that Valeant should have disclosed its

 transactions with Philidor. One such example is “An increasing trend toward sales to a different

 class of customer, such as a reseller distribution channel that has a lower gross profit margin than

 existing sales that are principally made to end users. Also, increasing service revenue that has a

 higher profit margin than product sales.” While the example highlights a reseller with lower

 profit margins, the corollary is also required. This circumstance exactly describes Valeant’s sales

 to Philidor.

        115.    Public companies such as Valeant are also required to maintain effective internal

 controls. An issuer’s top-ranking executives must personally guarantee the effectiveness of the

 company’s internal controls.

        116.    The Committee of Sponsoring Organizations of the Treadway Commission’s

 Internal Control–Integrated Framework (which Valeant purported to follow) defines internal

 control as “a process, effected by an entity’s board of directors, management, and other

 personnel, designed to provide reasonable assurance regarding the achievement of objectives

 relating to operations, reporting and compliance.”

        117.    Section 404 of the Sarbanes-Oxley Act of 2002 (“SOX”) requires public

 companies to publish information in their annual reports concerning the scope and adequacy of

 their internal control structure and procedures for financial reporting, and also to assess the

 effectiveness of such internal controls and procedures. In its interpretative guidance issued for

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 the rules promulgated to implement Section 404, the SEC instructed that “management should

 evaluate whether it has implemented controls that adequately address the risk that a material

 misstatement of the financial statements would not be prevented or detected in a timely manner.

 [This involves] a top-down, risk-based approach . . ., including the role of entity-level controls in

 assessing financial reporting risks and the adequacy of controls.” Commission Guidance

 Regarding Management’s Report on Internal Control Over Financial Reporting Under Section

 13(a) or 15(d) of the Securities Exchange Act of 1934, Exchange Act Release No. 55929, § I

 (June 20, 2007). When management identifies a control deficiency, it cannot claim that its

 internal controls are effective if the control deficiency is deemed to be a material weakness.

        118.    Section 302 of SOX requires a public company’s CEO and CFO to provide

 certifications concerning their review of, and disclosure of information about, the company’s

 internal controls. See Certification of Disclosure in Companies’ Quarterly and Annual Reports,

 Exchange Act Release No. 46427, § II.A (Aug. 28, 2002) (footnotes omitted).

                2.      Valeant’s Violations of GAAP

        119.    Throughout the relevant period, Valeant represented to investors, including

 Plaintiff, that Valeant’s accounting and SEC filings complied with the applicable public

 reporting obligations by timely disclosing truthful material facts about Valeant’s business,

 accurately reporting its financial results, and maintaining effective internal controls. However,

 unbeknownst to the market, Valeant omitted to disclose material information and made

 misrepresentations about its illicit use of a secret network of pharmacies, its recorded revenue, its

 reliance on Philidor, and its growth, which—when the truth was slowly revealed to the outside

 world—caused a precipitous decline in the value of Valeant securities. Indeed, Valeant has since

 admitted that its accounting violated GAAP and that it had inadequate internal controls during


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 the relevant period, leading to the resignation of Defendants Schiller and Carro, and a

 restatement of Valeant’s revenue—an admission that its GAAP violations were material to

 reasonable investors and needed to be corrected.

        120.    Valeant’s financial statements violated GAAP in several ways. First, Valeant

 failed to disclose Philidor despite the fact that Philidor should have been considered a material

 VIE during the period, that Philidor was a material change in the sales channel, and the fact that

 the Philidor Option was a material acquisition. Second, Valeant improperly double-booked

 revenue for sales to Philidor in the fourth quarter of 2014. Third, Valeant’s executives falsely

 certified that Valeant maintained adequate internal controls over financial reporting throughout

 the relevant period, statements that Valeant later admitted were untrue.

        121.    Valeant later justified hiding Philidor from investors by claiming in an October

 26, 2015 investor conference call that Philidor was not quantitatively material, as it fell below a

 “pre-established internal threshold.” Yet, Philidor was clearly significant to Valeant’s business as

 defined by ASC 250-10-S99. As an initial matter, Valeant had agreed to pay up to $233 million

 to acquire Philidor. Indeed, Valeant had disclosed two smaller transactions, specialty pharmacy

 Natur Produkt International, JSC ($149.9 million) and Gerot Lannach ($164 million), in its 2014

 10-K (Valeant 2014 Annual Report on Form 10-K, at F-21 and F-25). Philidor would account for

 over 7% of Valeant’s 2015 sales. In addition, Valeant’s sales through Philidor involved products

 priced significantly above average, and were thus integral to Valeant’s profitability. For 2014,

 Valeant originally attributed a total of $111 million in sales to Philidor, but $58 million of that

 sum was later determined not to comply with GAAP, an overstatement of 109%.

        122.    In addition, Valeant’s treatment of Philidor strongly suggests that Valeant

 believed Philidor to be material. For example, Philidor was explicitly included in Valeant’s SOX

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 testing of internal control over financial reporting. PCAOB Standard AS 5 states that locations

 with a reasonable possibility of material misstatements should be tested. AS 5.B11. Similarly,

 Valeant’s restatement of Philidor-related revenue itself constitutes an admission of materiality, as

 restatements are required when a misstatement is material.

        123.    When Valeant finally disclosed its relationship with Philidor in October 2015,

 analysts considered these transactions to be significant. For example, Morgan Stanley estimated

 that Philidor contributed over 50% of Valeant 2015 U.S. organic growth (Morgan Stanley

 Research, October 30, 2015). BMO Capital Markets concluded that Valeant should have

 disclosed the structure of its relationship with Philidor and the fact that consolidation was

 occurring, especially considering that the secret pharmacy channel represented about 10% of

 Valeant’s revenue (BMO Capital Markets, October 23, 2015).

        124.    Indeed, the Enterprise suppressed information about Philidor, falsely attributed

 Valeant’s growth to volume increases, and misstated its revenues because this information was

 material to investors. The Enterprise sought to convince investors that Valeant’s acquisition

 strategy could form the basis for sustainable, volume-based growth. To do that, Valeant needed

 to continually meet revenue expectations, especially in relation to newly-acquired drugs. To meet

 these expectations, Valeant relied on Philidor and its network of secret pharmacies to obtain

 reimbursement for its high-priced drugs. If investors understood how much Valeant’s growth

 relied on conning third party payors, they would not have valued it as highly—as demonstrated

 by the massive devaluation of Valeant’s securities as the truth emerged.

        C.      The Enterprise’s Material Misrepresentations And Omissions

        125.    An essential component of the scheme was the Enterprise members’ efforts to

 conceal their price-based business model and deceptive sales tactics by making prolific false and


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 misleading representations about Valeant’s business model. Without the cover of its campaign of

 misrepresentations, the Enterprise would have been unable to retain investors, sell new securities

 at inflated prices, or sustain its short-term business model of reaping profits by gouging prices.

 Each of the Enterprise’s intentional misrepresentations constitutes a violation of Section 10(b) of

 the Exchange Act and gives rise to a separate claim of securities, mail, and wire fraud, and, as

 such, each constitutes a separate predicate act of racketeering under the New Jersey Racketeering

 Influenced Corrupt Organizations Act (“NJ RICO”).

        126.    During    the   relevant   period,     the   Enterprise   made   numerous    material

 misrepresentations and omissions of material fact concerning Valeant’s business, including:

 (a) statements indicating that volume played a larger role in Valeant’s rapid revenue growth than

 it actually did; (b) statements obscuring and omitting to disclose Valeant’s ties to Philidor and

 use of a network of secret pharmacies and deceptive business practices to unsustainably and

 artificially inflate sales and prop up prices; (c) representations that Valeant’s reported financials

 for the third and fourth quarters and full year of 2014, and the first nine months of 2015

 complied with GAAP, and that the Company’s financial guidance for 2016 had a reasonable

 basis in fact; and (d) general representations by Defendants and certifications by Valeant’s

 executives that the Company had adequate internal controls.

        127.    Among other consequences, the Enterprise’s material misstatements and

 omissions caused Valeant securities to trade at artificially inflated prices during the relevant

 period. As discussed herein, these statements and omissions were materially false and misleading

 because:




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                (a)     from 2013 to 2015, Valeant pursued a deliberate strategy—devised at the

 highest levels of the company, but hidden from investors—that relied on steep and repeated price

 hikes rather than sustainable volume increases to drive revenue growth;

                (b)     Valeant helped create Philidor in 2013 solely to benefit Valeant,

 controlled the pharmacy by staffing it with Valeant employees, and through Philidor and its

 network of secret captive pharmacies, implemented deceptive business practices to drive sales of

 Valeant drugs by ensuring that therapeutically identical generic drugs were not substituted for

 Valeant’s expensive branded drugs;

                (c)     Valeant employed deceptive practices that included: (i) implementing

 enormous undisclosed price increases that Defendants knew were unsustainable but allowed

 Valeant to meet financial targets; (ii) using Valeant’s sales force to route patients into Valeant’s

 network of secret and captive pharmacies that presented themselves as independent; (iii) using

 the so-called “patient assistance” program and public relations strategies to minimize patient

 complaints and deflect scrutiny into the Company’s improper practices; and (iv) concealing these

 practices from payors and physicians in order to obtain reimbursement for drugs that would not

 otherwise be reimbursed if these practices were known to private payors, physicians, and PBMs.

                (d)     Valeant’s reported revenues, earnings per share (“EPS”), profitability,

 growth, and future business prospects were dependent on the Company’s continued ability to

 conceal and rely on these deceptive business practices and thus did not accurately portray

 Valeant’s business prospects and financial performance;

                (e)     Valeant’s control and use of Philidor and its network of secret pharmacies,

 and the Company’s deceptive business practices, posed material regulatory and reimbursement




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 risks to Valeant’s business prospects, including government investigations, regulatory sanctions,

 criminal charges, reputational harm, contractual violations, and decreased sales and revenues;

                (f)     Valeant’s growth and ability to service its debt were dependent on

 maintaining a cycle of acquiring companies and drug portfolios and then generating revenue by

 putting the newly acquired drugs through its program of massive price increases coupled with the

 deceptive practices described above. By relying on deceptive practices to support its debt-fueled

 acquisition strategy, the Defendants exponentially magnified business risks to the Company in

 the event that discovery forced the Company to stop its secret strategy;

                (g)     Valeant failed to disclose Philidor as a material VIE, as required by

 GAAP;

                (h)     Valeant improperly recognized Philidor revenue, in violation of GAAP,

 causing revenues, net income, and EPS to be materially misstated and inflated;

                (i)     Valeant’s financial predictions for 2016 did not have a reasonable basis in

 fact and were issued to artificially inflate Valeant’s securities in the face of new revelations

 about its business model; and

                (j)     Valeant did not have adequate internal controls and, in fact, Valeant has

 admitted that certain Valeant executives cultivated an “improper tone at that top of the

 organization” and a “performance-based environment” where employees prioritized stock price

 and their own compensation over building a sustainable business and complying with applicable

 laws, regulations, and contracts.




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                1.      The Enterprise Falsely Attributed Valeant’s Rapid Revenue Increases
                        to Organic Volume Growth and Obscured Valeant’s Reliance on
                        Price Increases

        128.    Throughout the relevant period, the Enterprise repeatedly misrepresented the

 amount of Valeant’s revenue growth that was driven by organic growth in volume, rather than

 price increases. These statements were materially false and misleading because they failed to

 disclose how dependent Valeant was on price increases, supported by a network of captive

 pharmacies, to drive revenue. Because investors associate volume-based revenue growth with

 more sustainable long-term cash flows, and consider price increases to be a short-term boost,

 these representations were material to investors’ decisions to buy Valeant securities. Valeant

 could only sustain this model as long as it could rely on a secret network of pharmacies to hide

 the reimbursement practices it needed to sustain its price increases. As the details of its deceptive

 practices were revealed, Valeant lost its ability to receive reimbursement for its high-priced

 drugs and its profits plunged.

        129.    On January 4, 2013, Pearson and Schiller hosted a conference call with investors

 and analysts to discuss Valeant’s 2013 financial guidance. On the call, Pearson and Schiller

 made several statements concerning Valeant’s business model and financial prospects.

 Regarding Valeant’s organic growth, Pearson stated:

                2012 was another very strong year for Valeant. From a top line
                perspective we added over $1 billion in revenue in 2012 . . . . On
                the bottom line, we delivered cash EPS growth of greater than
                50% as compared to 2011, demonstrating once again the
                sustainability of our business model.

                Our businesses continued to deliver strong organic growth, and
                we expect full year 2012 to have same-store sales, organic growth
                of approximately 8%, and pro forma organic growth of
                approximately 10%.



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        130.   Later in the call, in response to an analyst’s question about projected organic

 growth, Pearson stated, “Really the only two big changes, Gary, are Neuro, which we expect as

 we mentioned previously, to have positive organic growth this year, and dermatology, which

 will probably fall more in line with what we’ve experienced as a Company.”

        131.   On February 28, 2013, the Pearson and Schiller hosted a conference call to

 discuss financial results for the fourth quarter of 2012. During opening remarks, Pearson stated,

 “Organic growth continued to be strong for both the quarter and the year. We are particularly

 pleased to report a return to positive growth for our Neuro and Other business after six

 quarters of decline. As we mentioned earlier this year, we expect U.S. Neuro and Other business

 to continue to grow throughout 2013.”

        132.   The statements in ¶¶ 129-31, that Valeant’s “organic growth” demonstrated the

 “sustainability” of Valeant’s business model, and that Valeant expected the Neurology and Other

 unit to have positive organic growth were false and misleading when made because Defendants

 omitted to tell investors that Pearson and Valeant’s executives and senior managers had adopted

 a strategy of boosting flagging revenues with dramatic price increases, rather than more

 sustainable volume growth. For example, as discussed above at ¶¶ 67–72 and detailed in the

 Senate Drug Pricing Report, in late 2012 Valeant executives adopted a plan to aggressively raise

 prices in Valeant’s Neurology and Other unit to compensate for declining revenue and turn it

 into the most profitable unit within Valeant in 2013, a plan the Company subsequently put into

 practice. See Drug Pricing Report, at 50–55. Valeant’s price-hike strategy was not confined to a

 single business unit—during his testimony before the U.S. Senate on April 27, 2016, Pearson

 admitted that for each quarter (except one) between January 1, 2013 and September 30, 2015,

 “pricing has driven more growth than volume.”

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        133.   On October 31, 2013, the Company issued a release reporting its 2013 third

 quarter (“3Q13”) financial results. The release again emphasized Valeant’s rapid growth, stating

 that “Valeant’s Developed Markets revenue was $1.14 billion, up 77% as compared to the third

 quarter of 2012” and that “[t]he growth in the Developed Markets was driven by continued

 improvement in many of our Dermatology prescription brands, our aesthetics and oral health

 portfolios, our orphan drug products and CeraVe.”

        134.   On January 7, 2014, Pearson and Schiller hosted a conference call with investors

 and analysts. During the call, Pearson again highlighted Valeant’s purportedly strong organic

 growth:

               If we compare Valeant’s performance in 2013 to the company’s
               average performance from 2009 through 2012, you can see a
               continuing track record of consistent strong performance in terms
               of growth in revenues, earnings, and most important, returns to all
               of you, our shareholders. This is a result of achieving strong
               organic growth in a fiscally responsible manner for the products
               that we already own, coupled with a consistent track record of
               buying durable assets in a very disciplined manner and
               over-achieving in terms of improving growth rates and extracting
               cost synergies.

        135.   The statements in ¶¶ 133-34 were materially false and misleading when made

 because Valeant’s revenue growth was not driven by “improving growth rates,” or “strong

 organic growth,” nor was Valeant’s business model sustainable. Rather, Valeant executives had

 adopted a strategy of relying on repeated and dramatic price increases to drive revenues, as

 discussed in ¶¶ 127 and 132 above.

        136.   On February 28, 2014, the Company filed its annual report on Form 10-K for the

 year ended December 31, 2013 (“2013 10-K”). The 2013 10-K was signed by Pearson and

 Schiller. The 2013 10-K included statements attributing the Company’s growth to a purportedly

 legitimate low-risk business model. For example, the 2013 10-K stated:
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                  The growth of our business is further augmented through our lower
                  risk research and development model. This model allows us to
                  advance certain development programs to drive future
                  commercial growth, while minimizing our research and
                  development expense . . . This is achieved primarily as follows:
                  focusing our efforts on niche therapeutic areas . . . and acquiring
                  dossiers and registrations for branded generic products, which
                  require limited manufacturing start-up and development activities.

           137.   The statements in ¶ 136 were materially false and misleading because Valeant’s

 purported “low risk research model” could not, in fact, sustainably “drive future commercial

 growth.” Rather, in both the “niche therapeutic areas” [orphan drugs in its Neurology and Other

 unit] and “branded generic products,” Valeant was relying on steep price increases, as well as the

 improper business practices described in ¶ 127, to drive revenue growth throughout the relevant

 period.

           138.   On April 22, 2014, Valeant issued a press release stating that it had submitted an

 unsolicited merger proposal to Allergan’s Board of Directors. In total, the offer to acquire

 Allergan, a drug manufacturer, was valued at approximately $46 billion.

           139.   On May 8, 2014, the Company issued a press release announcing Valeant’s first

 quarter 2014 (“1Q14”) financial results. The release discussed Valeant’s continued trend of

 extraordinary growth, including revenue growth which represented “an increase of 77% over the

 prior year,” which “[e]xceed[ed] our expectations,” along with “[p]ositive organic growth in the

 U.S. . . .” The release quoted Pearson as stating, in part, “[o]ur first quarter results demonstrate

 the strong, durable nature of our diversified business model.”

           140.   On May 9, 2014, Valeant filed its quarterly report on Form 10-Q for the first

 quarter ended March 31, 2014 (“1Q14 10-Q”). The 1Q14 10-Q was signed by Pearson and

 Schiller. In the report, the Company again attributed its commercial growth to a low risk model,

 stating: “The growth of our business is further augmented through our lower risk research
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 and development model, which allows us to advance certain development programs to drive

 future commercial growth, while minimizing our research and development expense . . . .”

        141.    The statements in ¶¶ 138–400 were false and misleading when made for the

 reasons discussed in ¶¶ 127 and 132, above.

        142.    On May 12, 2014, Allergan issued a press release rejecting Valeant’s unsolicited

 bid, stating its Board of Directors “believes that the Valeant business model is not sustainable.”

 During a conference call on the same day, Allergan’s Chairman and CEO referred to “the

 unsustainability of Valeant’s business model,” emphasized Valeant’s lack of organic growth, and

 cautioned investors to “very carefully” check the results “actually achieved” by Valeant’s new

 product launches and “dig in what are the price increases behind those very low [organic growth]

 numbers because there are some eye-popping increases of price.”

        143.    In response to Allergan’s criticism, Defendants falsely insisted that Valeant’s

 business model was sustainable, and that the Company’s revenue growth was based on organic

 volume growth, not price increases and deceptive and unsustainable business practices. Indeed,

 Defendants claimed multiple times that the Company’s managed care contracts prevented it from

 raising prices more than single-digit percentages each year.

        144.    For example, on May 28, 2014, Valeant held an investor meeting and conference

 call to respond to Allergan’s accusations. During the call, Pearson stated that they would provide

 “a much deeper understanding of our operating model and why we believe it is sustainable for

 many years to come” and show that “when we buy a platform asset, we have either maintained

 the growth or in most cases, we have accelerated the growth . . . .” During the question and

 answer session, Pearson was asked to reconcile industry data showing 15% price increases with

 slides used during the presentation showing a 1% increase. Pearson replied, in part, “We are

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 limited. For example in the U.S. with our managed care contracts, I think the maximum price

 increase we can take a year is 9% across dermatology, across ophthalmology, etc. So that is

 what limits. It is managed care in the United States.” Pearson concluded the presentation by

 claiming Valeant “has delivered strong organic growth since I have been here” and “[w]e are

 very transparent” and “our basic underlying growth rate is about 8%[.]”

        145.    Also on May 28, 2014, Pearson participated in the Sanford C. Bernstein Strategic

 Decisions Conference on behalf of Valeant. In response to numerous questions about Valeant’s

 business model, Pearson again insisted that Valeant’s business was sustainable, based on organic

 volume growth, and that the Company could not rely on price increases for revenue growth:

                The only country in the world that you can really sustainably
                increase pricing is the United States. And in the United States,
                you’re governed by managed care contracts. And the managed
                care contract—the highest price increase we could take under
                any managed care contract we have in the US is 9% a year.

                So, we have a lot of constraints, just like other pharma companies
                do, in terms of pricing. So, we focus on volume growth, and the
                vast majority of our growth on a global basis—and we went
                through some of that this morning—is volume.

        146.    During the same conference, Pearson also justified Valeant’s refusal to provide

 more detailed disclosures about product sales, stating, “We’re more like a generics company in

 terms of the amount of revenue we get per product,” and that “[it] just makes no sense” to make

 such disclosures.

        147.    And again, during a June 17, 2014 conference call hosted by Pearson and Schiller

 “to refute recent misleading assertions made by Allergan,” Pearson emphasized that Valeant’s

 business was “strong” and “sustainable,” stating:

                I am pleased to update all of you that our business is continuing to
                perform well. I find it very odd that Allergan continues to suggest
                that our Q2 and in particular our Q3 results will demonstrate

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               weakness. . . . In short, our business is strong and I can assure
               you our operating model is both durable and sustainable.

               In Allergan’s investor presentation dated June 10, 2014, they
               asserted that Valeant has experienced volume decreases in 11 of its
               top 15 worldwide pharmaceutical products.

               First, the products listed in the presentation are not Valeant’s top
               15 products by revenue. Only 6 of the products listed are in
               Valeant’s top 15 products. The presentation also claimed that
               most of our products are not growing, when in fact, 13 of our top
               15 products are growing and 9 of the top 15 are growing by
               volume, not just price.

        148.   Later in the call, Pearson continued to insist that Valeant’s growth was based on

 increasing volume, stating that when, at some unspecified time, Valeant does break down sales

 into volume and price, “it will be surprising to people because I think volume is a much larger

 piece of our organic growth than most people would assume it is.”

        149.   Pearson further stated during the June 17, 2014 conference call that “[o]ur sales

 force in dermatology now has been stable for a few quarters and . . . all our promoted products

 in dermatology are growing.”

        150.   The statements in ¶¶ 144–49 that Valeant’s business model was “strong” and

 “sustainable,” that the “majority” of the Company’s growth was “volume,” that Valeant was

 “focused” on increasing volume growth rather than price, and that “volume is a much larger

 piece of our organic growth than most people would assume” were materially false and

 misleading when made for the reasons stated in ¶¶ 127 and 132. In addition, Pearson’s claims

 that Valeant was “limited” to price increases of “9%” was materially false and misleading when

 made because Valeant implemented price increases far beyond 9% in multiple drugs, across

 several business units. For example, in 2013 and 2014, Valeant increased the price of Cuprimine

 by 224% and 158%, respectively. These practices were widespread—the Senate Report


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 concluded that Valeant pursued this price strategy “companywide,” and Pearson admitted in

 Senate testimony that price drove revenue growth more than volume in every quarter except one

 between January 1, 2013 and September 30, 2015.

        151.   On July 31, 2014, the Company issued a press release announcing its second

 quarter 2014 (“2Q14”) financial results. The release reported “2014 Second Quarter Total

 Revenue [of] $2.0 billion; an increase of 86% over the prior year.” It quoted Pearson stating

 “Valeant once again delivered strong quarterly results and, as expected, organic growth has

 accelerated from the first quarter. As we look across the entire business, I have never been more

 confident about the growth trajectory across the entire company.”

        152.   On August 1, 2014, the Company filed its quarterly report on Form 10-Q for

 2Q14 (“2Q14 10-Q”), signed by Pearson and Schiller. The 2Q14 10-Q included a statement

 regarding the commercial growth achieved through the Company’s purportedly lower risk

 business strategy, stating: “The growth of our business is further augmented through our lower

 risk research and development model, which allows us to advance certain development

 programs to drive future commercial growth, while minimizing our research and development

 expense.”

        153.   On September 11, 2014, the Company filed with the SEC a letter sent by Pearson

 to Valeant’s employees, which included reference to Allergan’s “attack[s] on our business” and

 “our business model and our track record of organic growth.” In the letter, Pearson responded

 that “[h]ighlights across Valeant’s businesses include . . . continued tremendous growth in our

 U.S. Neuro & Other and OraPharma businesses.”

        154.   On October 20, 2014, in response to further criticism by Allergan, Valeant filed a

 document titled “October 20th rebuttal items.” In the document, Valeant disputed Allergan’s

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 claim that “price is a large drive[r] of growth for select Valeant U.S. pharmaceutical businesses”

 by stating, in part, that: “Overall price/volume for the Valeant business was ~50% volume and

 ~50% price”; “Like all PhRMA [Pharmaceutical Research and Manufacturers of America]

 companies, including Allergan, our managed care contracts restrict our price increases each year,

 and many of our managed care contracts restrict price increases to less than 10% net price

 increase per year”; and “Gross price increases could be seen as higher but do not contribute to

 our reported net sales growth.”

        155.    The statements in ¶¶ 151–54 about the “sustainability” of Valeant’s business

 model, Valeant’s organic volume growth, and the ability of Valeant’s purportedly “low risk

 research model” to drive “commercial growth” were materially false and misleading for the

 reasons discussed in ¶¶ 127 and 132 above. In addition, the statements in ¶ 154 claiming that

 Valeant was constrained to price increases of “less than 10%” were materially false and

 misleading because at the time Valeant was relying on triple-digit price percentage increases to

 drive revenue growth, as discussed in ¶ 150, above.

        156.    On February 23, 2015, Pearson and Schiller hosted a conference call to discuss

 Valeant’s 4Q14 and full year 2014 financial results. During the call, Schiller highlighted

 Valeant’s sources of growth, including that “[r]evenues for our dermatology business were very

 strong and increased 70% year-over-year” and:

                The outstanding work of our sales teams, implementation of
                innovative marketing approaches, great leadership, a portfolio of
                great products, and our four new launch products have
                contributed to the turnaround and the outstanding results in our
                dermatology business in Q4 and 2014.

                Core products such as Zyclara, Elidel, and the RAM franchise
                continued their strong growth. And Solodyn grew in Q4 and grew
                5% for all of 2014, after a tough year in 2013.


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                Jublia continues its rapid growth trajectory and reported more than
                20,000 weekly scripts for the last reported weekly sales report.
                This yields an annualized run rate of greater than $250 million for
                the product.

        157.    On February 25, 2015, Valeant filed with the SEC its annual report on Form 10-K

 for the year ended December 31, 2014 (“2014 10-K”). The 2014 10-K was signed by Defendants

 Pearson and Schiller, and the relevant third parties. The 2014 10-K:

                (a)    attributed the source of Valeant’s growth to “our lower risk,

 output-focused research and development model, which allows us to advance certain

 development programs to drive future commercial growth, while minimizing our research and

 development expense”; and

                (b)    claimed “[t]o successfully compete for business with managed care and

 pharmacy benefits management organizations, we must often demonstrate that our products

 offer not only medical benefits but also cost advantages as compared with other forms of

 care[.]”

        158.    The statements in ¶¶ 156–57, that Valeant’s organic was attributable to an

 “outstanding sales team,” “portfolio of great products,” and other factors that did not include

 dramatic price increases, that Valeant’s “lower risk” research model could “drive future

 commercial growth,” and that Valeant must demonstrate “cost advantages,” were false and

 misleading when made for the reasons discussed in ¶¶ 127 and 132, above.

        159.    On March 16, 2015, Valeant announced a $1.45 billion public offering of 7.3

 million shares of common stock at a price of $199 per share, the proceeds of which were used to

 fund the acquisition of Salix and related costs (see ¶ 183 below). The March 2015 Stock Offering

 was conducted pursuant to the March 2015 Stock Offering Materials, including the Registration

 Statement and Prospectus Supplement.
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        160.    The March 2015 Stock Offering Materials represented that:

                (a)    A “key element” of Valeant’s business strategy, which allowed it to

 “improve both the growth rate and profitability of the Company” and “enhance shareholder

 value,” was its “low-risk research and development (‘R&D’) model”; and

                (b)    Valeant’s dermatology segment and other segments were “attractive

 markets” in which Valeant operated because they were “high-growth businesses” with

 “sustainable organic growth” where the “healthcare professional or patient is still the primary

 decision maker,” and similarly stated that Valeant’s business strategy operated “to ensure

 decisions are made close to the customer” and that there was “significant opportunity to create

 value through application of the Valeant model.”

        161.    On April 29, 2015, the Company issued a press release announcing its financial

 results for the first quarter 2015 (“1Q15”), as well as increased guidance for full year 2015. The

 release reported: “Same Store Sales Organic Growth was 15%, driven by,” among other things,

 “Growth from launch brands, including BioTrue Multipurpose Solution, BioTrue ONEday

 Contact Lens, Jublia, Luzu, and Ultra Contact Lens,” and “Double digit growth in U.S.

 businesses such as Contact Lens, Dermatology, Neurology and Other, Obagi, and Oral

 Health.”

        162.    On April 29, 2015, Pearson, Schiller and Kellen hosted a conference call to

 discuss Valeant’s 1Q15 financial results with investors and analysts. During the call Pearson

 stated, in part: “Our US dermatology business had an outstanding quarter. Dermatology revenue

 grew 38% year on year and script growth grew 37% year on year. Jublia scripts grew 87% in Q1

 versus Q4 of last year.”




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        163.    An analyst asked “if you could quantify a little bit how much was price versus

 volume that contributed to growth in 1Q [2015]? And what do you factor in your full-year

 guidance price versus volume?” Pearson responded that, “In terms of price volume, actually

 volume was greater than price in terms of our growth. Outside the United States it’s all

 volume. . . . And in the US it’s shifting more to volume than price, and we expect that to

 continue with our launch brands. A lot of our prices for most of our products are negotiated

 with managed care. And there’s only a limited amount of price that we can take.”

        164.    On May 21, 2015, Pearson attended an RBC Investor Meeting on behalf of the

 Company and made numerous statements about the Company’s pricing, source of growth, and

 accounting practices, including:

                (a)    when asked to discuss pricing in the U.S., Pearson said that due to

 managed care contracts, Valeant was “contractually” not allowed to raise prices beyond an

 average of “5%,” including in its Dermatology business;

                (b)    in discussing pricing, Pearson said of the Neurology and Other business

 segment “that’s where we have the most ability to raise price[s]” and raising prices “is I believe

 not, at least from your [an investor’s] standpoint a bad thing.” Pearson said Valeant’s base plan

 was around 5% price increases adding that Valeant had raised prices more in certain areas but

 that “we don’t plan for them, but again if we can take advantage of – during times we’ve had

 significant price increases in acquisitions”;

                (c)    Pearson said they raised the prices of Isuprel and Nitropress because

 Marathon left money “on the table” and claimed the drugs were priced much lower than

 competitive products, stating they raised prices “because the drugs were mispriced vs.

 comparative products” and adding “that can create lot of value[] for shareholders”; and

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               (d)     Pearson added that “we’ve been [accused] of our growth being price and

 not [volume]” but claimed that “organic growth is more volume than price and will continue to

 be.”

        165.   On July 23, 2015, the Company hosted a conference call to discuss its 2Q15

 financial results. During the call, Pearson was asked about the price increase on Glumetza and

 the “extent to which you envision more pricing power . . . broadly speaking, in the U.S.?” In

 response, Pearson stated:

               I think most pharma companies that I’m aware of, as the product
               gets into the last stages of their life, like Glumetza -- we’re going
               to lose Glumetza within six months—often price increases are
               taken at the end. So that was just consistent with what most
               companies do.

               Our view on pricing—across most of our portfolio, we do not take
               prices. Outside the US, there’s like zero price. I think, David, as
               we get more and more into segments like contact lenses and
               consumer products and other devices, we’re not able to take price.
               So we’re opportunistic when it comes to price. But our base
               strategy is, how do we grow organically through volume, which
               is—I think this quarter, we once again exhibited our ability to do
               so.

        166.   On July 28, 2015, the Company filed its quarterly report on Form 10-Q with the

 SEC for its 2Q15, ended June 30, 2015 (“2Q15 10-Q”). The 2Q15 10-Q was signed by Pearson

 and Rosiello. The 2Q15 10-Q reported the Company’s revenues for the six months ended June

 30, 2015 of $4.923 billion. The 2Q15 10-Q included a statement regarding the Company’s

 purportedly lower risk business strategy, stating: “The growth of our business is further

 augmented through our lower risk, output-focused research and development model, which

 allows us to advance certain development programs to drive future commercial growth, while

 minimizing our research and development expense.”



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        167.    The statements in ¶¶ 160–66 touting Valeant’s volume increases, downplaying the

 role that price increases played in Valeant’s growth, that contractually Valeant could not raise

 prices more than 5%, and that the Company does not plan for price increases were materially

 false and misleading when made, as detailed in ¶¶ 127, 132, and 150. And the statements about

 the “sustainability” of Valeant’s business model, Valeant’s organic volume growth, and the

 ability of Valeant’s purportedly “low risk research model” to drive “commercial growth” were

 materially false and misleading for the reasons discussed in ¶¶ 127 and 132 above. As discussed

 above, Valeant relied on double- and triple-digit percentage price increases throughout the

 relevant period. Indeed, in response to Pearson’s public statement to investors in ¶ 164 that

 “organic growth is more volume than price,” Schiller sent him an email on May 21, 2015, with

 the subject “price/volume,” in which he corrected Pearson: “Last night, one of the investors

 asked about price [versus] volume for Q1. Excluding [M]arathon, price represented about 60%

 of our growth. If you include [M]arathon, price represents about 80%.” Despite Schiller’s email,

 Pearson did not retract his misleading statements about price and volume, and the statements had

 their intended effect. On May 26, 2015, an RBC Capital Markets, LLC (“RBC Capital Markets”)

 analyst reported that one of the key takeaways from the meetings with Valeant management and

 Pearson, was “volume not price is fueling organic growth.”

                2.     Misrepresentations Concerning Philidor

        168.    Defendants created Philidor and a network of secret pharmacies to maintain

 Valeant’s inflated prices by ensuring that patients received Valeant prescriptions rather than the

 equivalent generics, to bypass other cost-controlling systems employed by PBMs and third party

 payors. In order to continue its fraudulent program however, the Enterprise had to conceal

 Philidor’s ties to Valeant. In order to do so, Defendants issued numerous false and misleading


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 statements during the relevant period and violated relevant accounting rules in their public

 filings.

                          (a)    Defendants’ incomplete and misleading descriptions of the
                                 Alternate Fulfillment Program

            169.   Valeant’s so-called AF Program was not designed to help patients. Rather, it

 served as little more than the cover for the fraudulent scheme the Enterprise was running through

 Philidor and the network of Valeant-controlled pharmacies. Throughout the relevant period,

 however, Defendants chose to speak about the operations and purported benefits of the AF

 Program without disclosing that the way Valeant used Philidor to ensure patients were prescribed

 Valeant products could subject Valeant to serious regulatory and reimbursement risks.

            170.   On February 28, 2013, the Company issued a release and hosted a conference call

 regarding Valeant’s 2012 financial results. During the call, Pearson and Schiller highlighted the

 purported benefits of their AF strategy but did not disclose the associated improper practices and

 risks. In response to a question about the AF strategy, Pearson represented that “The program is

 working actually quite well. We are going to be rolling out a couple new generations of the

 program but we’re not going to talk about it on this call.” When pressed for details on the

 “Medicis alternate fulfillment channel” and “how that sort of contributes to the growth,” Pearson

 emphasized that it had increased sales volumes but similarly refused to disclose the improper

 practices and risks, stating: “We have never given details. Medicis never gave details. And that

 was probably a smart practice. We are not going to give details in terms of what’s flowing

 through full alternate fulfillment and what’s not. What we can reiterate is that all of our key

 brands in dermatology since our sales force meeting are now growing.”

            171.   On June 11, 2013, Schiller presented at the Goldman Sachs Healthcare

 Conference. When asked about the Company’s “alternative fulfillment program” by a Goldman
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 Sachs analyst, Schiller responded that the program was increasing profits and that AF was a

 trend in “the whole pharmaceutical industry”:

                Alternative fulfillment, I think a couple things. One is, to me, the
                alternative fulfillments was an example of what the whole
                pharmaceutical industry—certainly what Mike and I believe is the
                trend, and that is the focus on the profitable scripts. There was a
                day when you could call on anybody, and almost any script was
                profitable. Those days are gone. So segmenting your customer
                base and really focusing on profitability has got to be the future.
                And that’s—alternative fulfillment was the beginning of that
                journey, but not the endpoint.

                So I probably think under Medicis, alternative fulfillment was held
                out a little bit too much as the Holy Grail. I really think it’s - it’s
                actually the starting points, and in some ways, it was quite a
                clumsy starting point. It wasn’t that different, but it’s a process
                where we have generation two and generation three. But it’s all
                trying to focus on profitable scripts, and stay away from those
                scripts that are unprofitable, and more judicious use of copay
                cards and the rest, and making sure when a customer, a patient
                is covered, you get reimbursed for it. . . . Yes, I think—I’m
                hoping—we’ve got generation two and generation three, which
                I’m hoping sort of turn it into a pure defense, into more of an
                offensive tool to allow us to grow profits. And that’s really the
                focus, is growing profits.

        172.    On July 23, 2015, the Company also hosted a conference call to discuss its 2Q15

 financial results. During the question and answer portion of the call, a Jefferies LLC analyst

 questioned whether the number of prescriptions for Jublia going through specialty pharmacy

 channels had improved. In response, Kellen, Valeant’s Company Group Chairman, concealed

 Valeant’s control over the Philidor network, and stated: “Yes, the adoption through multiple

 specialty pharmacies continues. I think last time we said Jublia was around 50%. That trend

 continues. For derm[atology] overall, it varies by product, but it’s around 40%.”

        173.    The statements in ¶¶ 170–72 were false and misleading when made because

 Defendants, having chosen to speak, failed to disclose that the AF Program was not a


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 “multi-stage” program, nor did it involve “multiple specialty pharmacies,” or simply “focus[ing]

 on profitable scripts.” Nor did Valeant’s program resemble what the “whole pharmaceutical

 industry” was implementing. Rather, it consisted almost entirely of routing prescriptions through

 a Valeant-controlled pharmacy, Philidor, which used a network of secret pharmacies and

 improper and illegal practices to obtain reimbursement for drugs that otherwise would have been

 rejected by independent pharmacies or third party payors. These practices inflated Valeant’s

 sales figures while posing extreme and undisclosed business, regulatory, and reimbursement

 risks—risks that in fact came to pass when Valeant’s control of Philidor was exposed.

                       (b)     Defendants’ misrepresentations and omissions regarding
                               Philidor prior to the December 2014 purchase option
                               agreement

        174.    As discussed above at ¶¶ 75–83, Valeant formed Philidor in January 2013 to serve

 as a channel for Valeant to push its high-priced branded drugs on patients by avoiding,

 sometimes fraudulently, efforts to switch patients to identical generics. As part of Defendants’

 scheme to conceal Valeant’s creation of and control over Philidor, Defendants failed to disclose

 to investors and otherwise obscured Valeant’s relationship with Philidor.

        175.    On May 3, 2013, the Company filed its quarterly report on Form 10-Q for the

 period ended March 31, 2013 (“1Q13 10-Q”). The 1Q13 10-Q represented that “pricing and

 sales volume of certain of our products . . . are distributed by third parties, over which we have

 no or limited control.” Valeant included identical statements in its financial filings, signed by

 Valeant’s top executives, until Valeant’s control of Philidor was exposed in October 2015. This

 statement also appeared in later SEC filings, including Valeant’s: (1) August 7, 2013 quarterly

 report on Form 10-Q for the second quarter ended June 30, 2013 (“2Q13 10-Q”), signed by

 Pearson and Schiller; (2) November 1, 2013 quarterly report on Form 10-Q for its 3Q13 ended


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 September 30, 2013 (“3Q13 10-Q”), signed by Pearson and Schiller; (3) February 28, 2014

 annual report on Form 10-K for the year ended December 31, 2013 (“2013 10-K”), signed by

 Pearson and Schiller; (4) May 9, 2014 quarterly report on Form 10-Q for the first quarter ended

 March 31, 2014 (“1Q14 10-Q”), signed by Pearson and Schiller; (5) August 1, 2014 quarterly

 report on Form 10-Q for the second quarter ended June 30, 2014 (“2Q14 10-Q”), signed by

 Pearson and Schiller; and (6) October 24, 2014 quarterly report on Form 10-Q for the third

 quarter ended September 30, 2014 (“3Q14 10-Q”), signed by Pearson and Schiller.

        176.    The statements in ¶ 175 that Valeant had “no or limited control” over the pricing

 and sales volume of drugs in the hands of third parties were materially false and misleading,

 because Valeant had created a network of secret captive pharmacies for the express purpose of

 being able to control the pricing of its drugs. As discussed above, Valeant had created Philidor,

 Valeant was Philidor’s only client, and multiple Valeant employees worked on site at Philidor

 and saw Philidor and Valeant as the same organization.

        177.    Furthermore, each of the SEC filings discussed in ¶ 175 contained an MD&A

 section. Valeant failed to disclose Philidor as a distinct sales channel in any of those reports. The

 MD&A in each of each of these reports, which caused Valeant securities to trade at artificially

 inflated prices, was materially misleading and incomplete because, under SAB Topic 13, Valeant

 had an obligation to disclose Philidor as a distinct sales channel in its MD&A. Specifically,

 Valeant was required to disclose Philidor as a “[c]hanging trend[] in shipments into . . . a sales

 channel . . . that could be expected to have a significant effect on future sales or sale returns.” By

 the third quarter of 2015, sales through Philidor were accounting for at least approximately 7%

 of Valeant’s revenues, and likely more given the substantial decline in Valeant’s revenue




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 following Philidor’s closure. Thus, Valeant was required to disclose Philidor as a changing trend

 in a sales channel that was expected to have a significant effect on Valeant’s sales.

        178.    In addition, the 2013 10-K was signed by Pearson and Schiller. In the 2013 10-K,

 Valeant, Pearson and Schiller represented that the audited financial statements included therein

 were “prepared in accordance with U.S. generally accepted accounting principles.” In Note 2 to

 its Consolidated Financial Statements—entitled “Significant Accounting Policies”—Valeant,

 Pearson, and Schiller represented that, “[t]here were no material arrangements determined to

 be variable interest entities.”

        179.    The statements above in ¶ 178, which caused Valeant securities to trade at

 artificially inflated prices, were materially false, misleading, and incomplete because Valeant

 was Philidor’s only client and operated Philidor to its benefit and effectively as a division of the

 Company. Thus, even before the purchase option agreement, Philidor was a material

 unconsolidated VIE and Defendants should have disclosed it as such. In addition, Defendants

 were required to disclose certain information about Philidor pursuant to ASC 810. Specifically,

 Valeant was required to disclose, among other things: (a) quantitative and qualitative information

 about Valeant’s ties to Philidor, including the “nature, purpose, size, and activities” of Philidor,

 and how Philidor was financed; and (b) Valeant’s methodology for concluding that it was not

 required to consolidate Philidor’s financial statements with its own, including disclosure of key

 factors, assumptions, and significant judgments used in making the determination. See

 ASC 810-10-50-5A. Moreover, Valeant was required to disclose information concerning:

 (a) significant judgments and assumptions made in determining whether it needed to consolidate

 Philidor and/or disclose information about its involvement with Philidor; (b) the “nature of, and

 changes in, the risks associated with” Valeant’s involvement with Philidor; and (c) how

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 Valeant’s involvement with Philidor affected Valeant’s “financial position, financial

 performance and cash flows.” See ASC 810-10-50-8.

        180.    The 2013 10-K was also materially false and misleading because Valeant failed to

 consolidate Philidor in its financial statements. Under ASC 810, Valeant was required to

 consolidate any VIE for which it was the primary beneficiary. As Philidor’s only client, Valeant

 was the primary beneficiary of Philidor even prior to entering into the purchase option

 agreement. Accordingly, Valeant should have consolidated Philidor in its financial statements

 prior to 2014, and its failure to do so rendered its 2013 financial reports materially false and

 misleading.

                       (c)     Defendants’ omissions and misstatements regarding Philidor
                               after the December 2014 purchase option agreement

        181.    In December 2014, Valeant entered into the purchase option agreement with

 Philidor, which required Valeant to consolidate Philidor’s financials. However, Valeant still

 failed to disclose Philidor as a material consolidated VIE prior to October 2015.

        182.    Specifically, on February 25, 2015, Valeant filed its 2014 10-K. The 2014 10-K

 was signed by Pearson and Schiller. Valeant, Pearson, and Schiller again represented that the

 audited financial statements included therein were “prepared in accordance with U.S. generally

 accepted accounting principles.” In Note 2 to its Consolidated Financial Statements—titled

 “Significant Accounting Policies”—Valeant, Pearson, and Schiller represented that, “[t]he

 consolidated financial statements include the accounts of the Company and those of its

 subsidiaries and any variable interest entities (“VIEs”) for which the Company is the primary

 beneficiary.” In Note 3 to its Consolidated Financial Statements—titled “Business

 Combinations”—Valeant, Pearson, and Schiller represented that, “[d]uring the year ended

 December 31, 2014, the Company completed other smaller acquisitions, including the
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 consolidation of variable interest entities, which are not material individually or in the

 aggregate.” The 2014 10-K contained no references to Philidor.

        183.    On March 16, 2015, Valeant announced a $1.45 billion public offering of 7.3

 million shares of common stock at a price of $199 per share, the proceeds of which were used to

 fund the acquisition of Salix and related costs. The offering materials discussed, among other

 things, the Company’s “Other Recent Acquisitions,” but again failed to mention that Valeant

 agreed to pay between $100 and $300 million for the option to acquire Philidor just three months

 prior to the March 2015 Stock Offering, and claimed that the Company was “not currently a

 party to any significant transactions, other than the [Salix merger].”

        184.    On April 30, 2015, Valeant filed its quarterly report on Form 10-Q with the SEC

 for the period ended March 31, 2014 (the “1Q2015 10-Q”), which was signed by Pearson and

 Schiller. Valeant represented that the financial statements reported therein “have been prepared

 by the Company in United States (‘U.S.’) dollars and in accordance with U.S. generally accepted

 accounting principles (‘U.S. GAAP’) for interim financial reporting.” However, those financial

 statements again contained no mention of Philidor as a material consolidated VIE. Additionally,

 the 1Q2015 10-Q included the same untrue statement related to Valeant’s “Business

 Combinations” as in the Company’s 2014 10-K, discussed above at ¶ 182.

        185.    On July 28, 2015, Valeant filed its quarterly report on Form 10-Q with the SEC

 for the period ended June 30, 2015 (the “2Q2015 10-Q”). Valeant again represented that the

 financial statements reported therein had been prepared in U.S. dollars and in accordance with

 GAAP for interim financial reporting. However, those financial statements contained no mention

 of Philidor as a material consolidated VIE.




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        186.    The statements above in ¶¶ 182–85 were materially false, misleading and

 incomplete because Defendants had already determined that Philidor was a material consolidated

 VIE, a fact that required Defendants to disclose certain information about Philidor pursuant to

 ASC 810. Specifically, Valeant was required to disclose, among other things, quantitative and

 qualitative information about Valeant’s ties to Philidor, including the “nature, purpose, size and

 activities” of Philidor, and how Philidor was financed. See ASC 810-10-50-5A. Additionally,

 Valeant was required under GAAP to disclose the factors that resulted in the consolidation of

 Philidor—i.e., the purchase option agreement with Philidor. See id. Moreover, Valeant was

 required to disclose information concerning: (a) significant judgments and assumptions made in

 determining whether it needed to consolidate Philidor and/or disclose information about its

 involvement with Philidor; (b) the “nature of, and changes in, the risks associated with”

 Valeant’s involvement with Philidor; and (c) how Valeant’s involvement with Philidor affected

 Valeant’s “financial position, financial performance and cash flows.” See ASC 810-10-50-8.

        187.    Furthermore, each of Valeant’s 2014 10-K, 1Q2015 10-Q, and 2Q2015 10-Q

 contained an MD&A section. However, Valeant failed to disclose Philidor as a distinct sales

 channel in any of those reports. The MD&A in each of Valeant’s 2014 10-K, 1Q2015 10-Q, and

 2Q2015 10-Q reports was materially misleading and incomplete because, under SAB Topic 13,

 Valeant had an obligation to disclose Philidor as a distinct sales channel in its MD&A.

 Specifically, Valeant was required to disclose Philidor as a “[c]hanging trend[] in shipments

 into . . . a sales channel . . . that could be expected to have a significant effect on future sales or

 sale returns.” SAB Topic 13.B. By the third quarter of 2015, sales through Philidor were

 accounting for at least approximately 7% of Valeant’s revenues and likely far more given the

 substantial declines in Valeant’s revenues following Philidor’s closure. Thus, Valeant was

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 required to disclose its use of Philidor as a changing trend in a sales channel that was expected

 to have a significant effect on Valeant’s sales.

                3.      Misrepresentations Related to the Manipulation of Revenue
                        Recognition

                        (a)     Valeant Materially Overstates Its Reported Revenue

        188.    In 2014 and 2015, Valeant reported the following revenues:

 SEC Filing                     Financial Period                       Reported Revenue

 3Q2014 10-Q                    3 months ended September 30, 2014      $2,022.9 million
 2014 10-K                      3 months ended December 31, 2014       $2,235.5 million
 2014 10-K                      Year ended December 31, 2014           $8,263.5 million

 1Q2015 10-Q                    3 months ended March 31, 2015          $2,146.9 million
 2Q2015 10-Q                    6 months ended June 30, 2015           $4,841.9 million

 3Q2015 10-Q                    9 months ended September 30, 2015      $7,590.1 million


        189.    Valeant’s revenue results were widely communicated to investors, including in

 the presentations accompanying each of the Company’s earnings calls.

        190.    Valeant later admitted that these reported revenues were materially overstated.

 Specifically, Valeant executed transactions with Philidor outside the normal course of business.

 Valeant’s ability to actually collect revenue from these transactions was not reasonably assured

 at the time the revenue was recognized, and therefore the revenue was improperly recognized.

 See SAB Topic 13. According to Valeant’s 2015 annual report, such transactions included

 “fulfillment of unusually large orders with extended payment terms and increased pricing, an

 emphasis on delivering product prior to the execution of the purchase option agreement and

 seeking and filling a substitute order of equivalent value for an unavailable product.” These

 transactions were undertaken to artificially increase revenue before consolidation of Philidor,

 after which Valeant would be prohibited from recognizing revenue on any deliveries of product
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 to Philidor. The prospects of consolidating Philidor, which would have delayed the recognition

 of revenues and profits earned through the Philidor transactions, were undesirable to

 management. That Valeant was preparing to acquire Salix by incurring massive amounts of debt

 made it all the more undesirable to delay revenue recognition. To compound the error, after the

 purchase option agreement was executed, Philidor recorded revenue from the sales of these

 products when it shipped them to patients, even though Valeant had already recognized the

 revenue when it transferred the medication to Philidor. Because, at that point, Philidor’s

 financials were consolidated with Valeant’s, Valeant double-booked revenue on these

 transactions.

        191.     Valeant admitted the overstatement in a March 21, 2016 Form 8-K filed with the

 SEC. In the disclosure, the Company admitted that it had improperly booked revenue leading up

 to the purchase option agreement, and double booked revenue for some sales:

                 Prior to consolidation, revenue on sales to Philidor was recognized
                 by the Company on a sell-in basis (i.e., recorded when the
                 Company delivered product to Philidor). In connection with the
                 work of the Ad Hoc Committee, the Company has determined that
                 certain sales transactions for deliveries to Philidor in 2014 leading
                 up to the option agreement were not executed in the normal course
                 of business and included actions taken by the Company in
                 contemplation of the option agreement. As a result of these actions,
                 revenue for certain transactions should have been recognized on a
                 sell-through basis (i.e., record revenue when Philidor dispensed the
                 products to patients) prior to entry into the option agreement rather
                 than incorrectly recognized on the sell-in basis utilized by the
                 Company.

                                           *      *       *

                 The revenue that is being eliminated from 2014 does not result in
                 an increase to revenue in 2015 as a result of the Company having
                 previously also recognized that revenue in 2015. . . . Now that the
                 Company has determined that certain sales transactions for
                 deliveries to Philidor, leading up to the option agreement, were not
                 executed in the normal course of business and included actions

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                taken by the Company in contemplation of the option agreement,
                the revenue recorded in 2014, prior to the option agreement, is now
                being reversed. However, because that revenue was also recorded
                by Philidor subsequent to consolidation, upon dispensing of
                products to patients, the elimination of the revenue in 2014, prior
                to consolidation, does not result in additional revenue being
                recorded in 2015.

        192.    As described above, Valeant previously recognized revenue from the Philidor

 transactions on a “sell-in” basis. This basis of accounting enabled Valeant to recognize revenue

 and related profit on these transactions at the same time the product was purportedly sold to

 Philidor. This accounting violated ASC 605-15-25 (Revenue Recognition – Products). This

 standard required, among other things, that the price charged to Valeant was fixed or

 determinable, as well as that those fees were probable of collection. ASC 605-15-25-1.

        193.    Further, GAAP specifically identifies these types of transactions as problematic.

 That is, GAAP does not allow revenue to be recognized on a sell-in basis if the following

 condition exists: “The buyer acquiring the product for resale has economic substance apart from

 that provided by the seller. This condition relates primarily to buyers that exist on paper, that is,

 buyers that have little or no physical facilities or employees. It prevents entities from recognizing

 sales revenue on transactions with parties that the sellers have established primarily for the

 purpose of recognizing such sales revenue.” ASC 605-15-25-1.d.

        194.    Valeant, however, clearly failed to meet these criteria. As a result, GAAP required

 Valeant to defer revenue and related profit until Philidor subsequently sold the product to an

 actual customer.

        195.    The reported revenues were materially overstated as follows:




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 Financial Period                                 Reported Revenue Overstated By:

 3 months ended September 30, 2014                $12.9 million

 3 months ended December 31, 2014                 $44.6 million

 Year ended December 31, 2014                     $57.5 million

 3 months ended March 31, 2015                    $20.8 million

 6 months ended June 30, 2015                     $20.8 million

 9 months ended September 30, 2015                $20.8 million


        196.   The significance to Valeant’s growth and business model of the revenue and

 profits generated through Philidor cannot be overstated. On October 30, 2015, Morgan Stanley

 estimated that Philidor accounted 55% of Valeant’s U.S. year-over-year organic growth, and

 contributed 15 percentage points of Valeant’s 27% U.S. year-over-year organic growth (Morgan

 Stanley Research, October 30, 2015). In particular, though Valeant could expect to transfer some

 of the prescriptions filled through Philidor to other, non-captive pharmacies, it could not be

 expected to make these sales at the same unduly high price afforded by control over the

 pharmacy.

        197.   Moreover, Valeant would not have beaten analysts’ estimates for the fourth

 quarter of 2014 had it not improperly recognized revenue. Analysts polled by Thomson Reuters

 estimated earnings of $2.55 per share that quarter. Valeant reported cash earnings per share as

 $2.58, just beating analysts’ projections. The $2.58 cash earnings-per-share figure was based on

 adjusted net income of $880.7 million divided by 341.9 million shares. If Valeant had not

 improperly recognized revenue in the fourth quarter of 2014, it would have missed analysts’

 estimates. Valeant presented this metric as important; in the fourth quarter 2014 earnings call,


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 and the accompanying presentation, the Company explicitly focused on beating its guidance,

 which was in line with analyst estimates.

        198.    In addition, Morningstar commented that “a significant portion of this revenue

 will evaporate as CVS and Express Scripts slash these specialty pharmacies from their networks”

 (Morningstar Equity Research, October 30, 2015). Morningstar added that it planned on reducing

 these sales, causing “a material, but not major, shift in [Morningstar’s] cash flow projections” Id.

 Morningstar added that “the lack of aggressive specialty pharmacy fulfillment practices will slow

 growth even more than [its] initial estimates,” which it already considered “conservative.” Id. As

 a result, Morningstar expected Valeant to only “maintain an organic growth rate in the low single

 digits over the next 5 years.” Id. If Valeant had reported the Philidor transactions in accordance

 with GAAP, these lower growth expectations would have emerged in earlier periods.

        199.    Valeant’s revenues and profits generated through Philidor should be viewed in the

 context of the very significant debt on Valeant’s balance sheet and its prospects to generate

 sufficient cash flows to service it. Valeant’s acquisition-based business model under Pearson was

 fueled by this debt, causing Valeant to become very heavily leveraged. As of September 2015,

 exacerbated by its acquisition of Salix in early 2015, Valeant’s balance sheet was weighed down

 by $30.7 billion in debt against only $1.4 billion in cash and a net debt to EBITDA (earnings

 before interest, taxes, depreciation, and amortization) ratio “in the mid-5s.” As of year-end 2014,

 Valeant’s debt totaled $15.2 billion against only $323 million of cash (Morningstar Corporate

 Credit Research, October 30, 2015). As a result, the successful generation of cash flow from its

 acquisitions was paramount to Valeant’s financial health. Morningstar reported that Valeant was

 targeting a reduction in net debt to EBITDA to below 4, but that the “leverage target may be

 difficult to achieve” given the loss of its specialty pharmacy sales. Id. Morningstar concluded

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 that concerns over wrongdoing and weak internal controls resulting from Valeant’s relationship

 with Philidor, when combined with its high debt level, “have placed the company under severe

 pressure.” Id.

        200.      The disclosures also caused Morningstar to place “[its] credit rating for Valeant

 under review with negative implications” and to consider a “multinotch downgrade.” Id.

 Morningstar also noted that Valeant’s “cost of capital has clearly shifted due to the company’s

 rapid turn in market perception over internal controls and lingering specialty pharmacy concern,”

 and as result, it was raising the discount rate it used to value the company. Id. This change

 negatively impacted Morningstar’s newly established target price initiated at that time.

        201.      Investors would have drawn these conclusions had Valeant disclosed the

 characteristics of its sales through Philidor and its control of the captive pharmacy before or at

 year-end 2014.

                  4.     Valeant’s Compliance With GAAP

        202.      Throughout the relevant period, Defendants represented in public statements and

 in filings with the SEC that Valeant’s financial statements and public filings had been prepared

 in accordance with GAAP.

        203.      In the 1Q2013 10-Q, Defendants represented that the financial statements

 reported therein “have been prepared by the Company in United States (‘U.S.’) dollars and in

 accordance with U.S. GAAP for interim financial reporting.” Defendants made identical

 representations in the 2Q2013, 3Q2013, 2013 10-K, 1Q2014, 2Q2014, 3Q2014 10-Q, and the

 2014 10-K’s.

        204.      On May 21, 2015, Pearson attended an RBC Investor Meeting on behalf of the

 Company. During the presentation Pearson reassured Valeant investors that “our accounting


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 practices are fine” and added “[w]e get audited all the time, by the SEC . . . and we have

 absolutely no issue from a government standpoint” and that “we never had financial

 irregularities.”

        205.    On October 26, 2015, Valeant’s executives and directors hosted a conference call

 to address the allegations surrounding Philidor. In his opening remarks, Pearson stated that, “We

 operate our business based on the highest standards of ethics and we are committed to

 transparency. We follow the law, and we comply with accounting and disclosure rules. These

 values are the core of our business model, and if I find examples of violations, I will not

 hesitate to take action.”

        206.    Following Pearson’s statements, Bob Ingram, a member of the Board of Directors

 stated on behalf of the Board that, “the Company stands by its accounting completely. The audit

 committee of the Board and the full Board have reviewed the Company’s accounting, the

 Philidor relationship, and have confirmed the appropriateness of the Company’s revenue

 recognition and accounting treatment.”

        207.    In that same call, Rosiello stated in reference to Valeant’s relationship with

 Philidor that, “The finance and transactions committee, audit and risk committee, and full

 Board, all reviewed the transaction. The appropriate accounting treatment was determined by

 management and reviewed with the Audit and Risk Committee.”

        208.    On October 26, 2015, Valeant filed its 3Q15 10-Q. In that filing, the Company

 repeated that “its Audit and Risk Committee and the full Board of Directors have reviewed the

 Company’s accounting for its Philidor arrangement and have confirmed the appropriateness

 of the Company’s related revenue recognition and accounting treatment.”




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        209.    The statements in ¶¶ 203–08 were materially false and misleading when made

 because Valeant committed multiple GAAP violations during the relevant period, including:

 (a) failing to report Philidor as a VIE entity both before and after the purchase option agreement;

 (b) failing to disclose Philidor in Valeant’s MD&A section; and (c) by booking revenues twice:

 first, when it sold to Philidor (i.e., itself), and then again when Philidor sold the same product.

                5.      Valeant’s Certifications Of Internal Controls

        210.    In Valeant’s filings with the SEC, Defendants Pearson, Schiller, and Rosiello

 attested to the effectiveness of Valeant’s internal controls and that the filings did not contain any

 untrue statement of material fact or omit to state a material fact. These statements were false and

 misleading because Valeant lacked adequate internal controls and compliance and training

 programs, and the Company’s SEC filings contained numerous untrue statements of material

 facts and omitted many material facts. These inadequacies in reporting and misleading filings

 were the direct result of an “improper tone at the top” of the organization that created a corporate

 culture of prioritizing short term revenue growth over compliance with applicable laws,

 regulations, and contracts.

        211.    On May 3, 2013, the Company filed its quarterly report on Form 10-Q for the

 period ended March 31, 2013 (“1Q13 10-Q”). The 1Q13 10-Q was signed by Pearson and

 Schiller and represented that management’s disclosure controls and procedures were effective:

 “Our management, with the participation of our CEO and Chief Financial Officer (‘CFO’), has

 evaluated the effectiveness of our disclosure controls and procedures as of March 31, 2013.

 Based on this evaluation, our CEO and CFO concluded that our disclosure controls and

 procedures were effective as of March 31, 2013” (hereafter, “Internal Controls Statement”).




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        212.    The 1Q13 10-Q included Sarbanes Oxley Certifications signed by both Pearson

 and Schiller pursuant to Rules 13a-14(a) of the Exchange Act, which stated, among other things,

 that the 1Q13 10-Q did not contain any untrue statement of material fact or omit to state a

 material fact (hereafter, the “SOX Certifications”). Specifically, the SOX Certifications stated:

       that the filing “does not contain any untrue statement of a material fact or omit
        to state a material fact necessary to make the statements made, in light of the
        circumstances under which such statements were made, not misleading with
        respect to the period covered by this report;”

       that “the financial statements, and other financial information included in this
        report, fairly present in all material respects the financial condition, results of
        operations and cash flows of the Company as of, and for, the periods presented
        in this report;” and

       that the certifying officers and Pearson had “[e]valuated the effectiveness of the
        Company’s disclosure controls and procedures” and had presented “our
        conclusions about the effectiveness of the disclosure controls and procedures” in
        the filing.

        213.    The 2013 10-K also stated that, “Based on our evaluation, our management,

 including the CEO and Chief Financial Officer (“CFO”), has concluded that our disclosure

 controls and procedures (as defined in Rules 13a-15(e) and 15d-15(e) of the Securities Exchange

 Act of 1934) as of December 31, 2013 are effective.”

        214.    The same Internal Controls Statement and SOX Certifications set forth at

 ¶¶ 211-12 appeared in the 2Q13 10-Q, signed by Pearson and Schiller; the 3Q13 10-Q, signed by

 Pearson and Schiller; the 1Q14 10-Q, signed by Pearson and Schiller; the 2Q14 10-Q, signed by

 Pearson and Schiller; the 3Q14 10-Q, signed by Pearson and Schiller; the 2014 10-K, signed by

 Pearson and Schiller; the 1Q15 10-Q, signed by Pearson and Schiller; the 2Q15 10-Q, signed by

 Rosiello and Pearson; and the 3Q15 10-Q, signed by Rosiello and Pearson.

        215.    The 3Q13 10-Q also stated that: “Our management, with the participation of our

 CEO and Chief Financial Officer (“CFO”), has evaluated the effectiveness of our disclosure

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 controls and procedures as of September 30, 2013. Based on this evaluation, our CEO and CFO

 concluded that our disclosure controls and procedures were effective as of September 30, 2013.”

 The Company made similar statements in the 10-Qs issued from 1Q13 through 3Q15.

        216.   Pearson’s, Schiller’s, and Rosiello’s representations in the foregoing certifications

 that Valeant’s filings with the SEC were free from material misrepresentations were themselves

 materially false and misleading when made because, as set forth above, each of those filings

 contained material misrepresentations.

        217.   Further, these Defendants’ certifications and representations that Valeant’s

 internal controls were effective were false and misleading when made. After the establishment of

 an Ad Hoc Committee to review Valeant’s internal controls, the new management team

 represented in the 2015 10-K that, based on that review:

               the Company’s Chief Executive Officer and the Company’s Chief
               Financial Officer have concluded that as of December 31, 2015,
               due to the existence of the material weaknesses in the Company’s
               internal control over financial reporting described below, the
               Company’s disclosure controls and procedures were not effective
               to provide reasonable assurance that the information required to be
               disclosed by the Company in the reports that it files or submits
               under the Exchange Act is recorded, processed, summarized and
               reported within the time periods specified in the SEC’s rules and
               forms, and that such information is accumulated and
               communicated to management as appropriate to allow timely
               decisions regarding required disclosure.

        218.   Similarly, as part of the AHC’s review of Valeant’s internal controls, the

 Company officially determined that the internal controls were not effective as of March 31,

 2015, June 30, 2015, September 30, 2015, and December 31, 2014. The 2015 10-K also stated:

               As a result of the restatement described above, management, with
               the participation of the Company’s Chief Executive Officer and the
               Company’s current Chief Financial Officer, has reassessed the
               effectiveness of the Company’s disclosure controls and procedures
               as of December 31, 2014, March 31, 2015, June 30, 2015 and
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                September 30, 2015 and, due to the existence of the material
                weaknesses in internal control over financial reporting described
                above (which had not been identified prior to the Ad Hoc
                Committee’s review), the Chief Executive Officer and the current
                Chief Financial Officer have determined that such disclosure
                controls and procedures were not effective as of such dates.
                Similarly, as a result of the restatement, management, with the
                participation of the Company’s Chief Executive Officer and the
                Company’s current Chief Financial Officer, has reassessed the
                effectiveness of the Company’s internal control over financial
                reporting as of December 31, 2014 and, due to the existence of the
                material weaknesses in internal control over financial reporting
                described above, management has determined that internal control
                over financial reporting was not effective as of such date.

                6.     Defendants’ Continued Misstatements and Omissions as the
                       Enterprise’s Criminal Scheme Begins to Unravel

        219.    Beginning in the fall of 2015, the truth about Valeant’s business emerged in a

 series of disclosures. As the truth leaked out, even as Defendants were forced to shut down

 Philidor and discontinue some of Valeant’s most egregious practices, Defendants continued to

 mislead investors with a series of misstatements and half-truths designed to conceal the true state

 of Valeant’s business and maintain the Company’s inflated securities prices. Eventually,

 however, investors learned just how much Valeant’s appearance of growth and profitability

 relied on price hikes, Philidor, and improper and unsustainable business practices.

        220.    September 28, 2015. The first hint that something was amiss at Valeant emerged

 on September 28, 2015, when Bloomberg reported that members of Congress were calling for an

 investigation of Valeant’s price gouging. Bloomberg reported that all Democratic members of

 the House Committee had directed Chairman Jason Chaffetz to subpoena Valeant for documents

 related to massive price increases for two heart medications, and that, according to the House

 Committee members, Valeant had failed to “adequately answer” questions and provide

 documents requested by House Committee staff members regarding the Company’s basis for


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 such “skyrocketing prices.” Also on September 29, 2015, numerous additional news reports were

 released detailing that Valeant was being targeted by Congress for the Company’s practice of

 purchasing older drugs and then dramatically raising their prices.

        221.    In response to this partial disclosure regarding the Company’s reliance on, and the

 associated risks of, price gouging, the price of Valeant stock dropped more than 16%, from a

 close of $199 per share on Friday, September 25, 2015, to a closing price of $166 per share on

 Monday, September 28, 2015, on unusually high trading volume, a decline of over 16%, or $32

 per share. The price of Valeant’s debt securities also fell. The 6.375% Notes declined 1.2%; the

 5.875% Notes declined 5%; the 6.125% Notes declined 5.6%; the 5.5% Notes declined 6.19%;

 the 7.5% Notes declined 3.1%; the 5.625% Notes declined 5.25%; and the 6.75% Notes declined

 .6%.

        222.    Defendants immediately denied the truth of these criticisms. On September 28,

 2015, Valeant filed a Form 8-K with the SEC that attached a letter from Pearson to the

 Company’s employees to respond to the “two main issues worrying investors,” that Valeant’s

 “business model and strategy is dependent upon large price increases in our U.S.

 pharmaceutical business” and “[c]oncern around our exposure to U.S. government drug price

 reimbursement.” In his letter:

                (a)    Pearson referred to these concerns as a “bear thesis,” claimed they were

 “incorrect on both accounts,” and dismissed the dependency on price increases, stating, “Valeant

 is well-positioned for strong organic growth, even assuming little to no price increases. As we

 have stated many times, Valeant’s core operating principles include a focus on volume growth

 and a concentration on private and cash pay markets that avoid government reimbursement in




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 the U.S.” and “the majority of our portfolio will continue to deliver strong volume-based

 organic growth and is not dependent on price increases”;

                 (b)    Pearson went on to “lay out the facts,” noting, in part, that: (i) growth in

 dermatology, ophthalmology, Rx, and dentistry was based on having “delivered over 30% script

 growth year to date,” and (ii) they expected “double-digit script growth and corresponding

 revenue growth trends to continue” in the “Salix business”; and

                 (c)    Pearson added: “we expect double-digit organic growth in 2016 and

 beyond as we prepare for the launch of Addyi and anticipate other potential product

 approvals[.]”

        223.     The statements in ¶ 222 that criticisms of Valeant were inaccurate and a “bear

 thesis,” that the “majority of [Valeant’s] portfolio” was “not dependent on price increases,” and

 the financial guidance issued to allay investor concerns were false and misleading when made for

 the reasons discussed in ¶¶ 127 and 132.

        224.     October 4, 2015. On Sunday, October 4, 2015, however, additional details

 regarding Valeant’s reliance on price gouging were revealed when The New York Times

 published a highly critical article concerning Pearson’s September 28, 2015 letter to employees

 and his claim that Valeant was well-positioned for growth even without any price increases. The

 article reported that extraordinary price increases on eight Valeant drugs accounted for

 approximately 7% of the Company’s revenue and 13% of its earnings before taxes and interest in

 the second quarter, and that Valeant raised the prices on its branded drugs nearly five times as

 much as its closest competitor. On this news, the price of Valeant securities fell. Valeant’s stock

 declined by more than 10%, falling from a close of $182 per share on Friday, October 2, 2015 to

 a close of $163 per share on Monday, October 5, 2015, on unusually high trading volume. The

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 price of Valeant’s debt securities also fell. The 6.375% Notes declined .49%; the 5.875% Notes

 declined 1.7%; the 5.5% Notes declined 1.69%; the 6.125% Notes declined 1.8%; and the 6.75%

 Notes declined .3%.

        225.    October 14, 2015. After the market closed on October 14, 2015, concerns about

 the legality of the Company’s financial assistance programs were revealed when Valeant issued a

 press release disclosing that it had received subpoenas from the U.S. Attorney’s Offices for the

 District of Massachusetts and the Southern District of New York requesting documents related

 to, among other things, Valeant’s PAPs, financial support provided by Valeant for patients,

 distribution of Valeant’s products, and pricing decisions. Even as Valeant disclosed the

 investigation, it sought to reassure investors, stating that, “All of us at Valeant firmly believe in

 maintaining strong regulatory and financial controls and believe we have operated our

 business in a fully compliant manner.” The press release also noted that the Company was

 beginning to reach out to hospitals impacted by above average price increases in response to

 Congressional inquiries. On October 15, 2015, additional information was revealed to the market

 as news reports detailed Valeant’s failure to be responsive to or transparent with Congress’s

 investigation, and that despite being served with a federal subpoena, Valeant was still refusing to

 provide adequate answers regarding its price gouging and improper practices. On this news, the

 price of Valeant stock dropped by 4.75%, from a close of $177 per share on October 14, 2015, to

 a close of $168 per share on October 15, 2015, on elevated trading volume. The 6.375% Notes

 declined 1.2%; the 5.875% Notes declined 1.5%; the 6.125% Notes declined 1.69%; the 5.5%

 Notes declined 2.1%; the 7.5% Notes declined 1.68%; the 5.625% Notes declined 1.55%; and

 the 6.75% Notes declined .4%.




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        226.    October 19, 2015. Further information about Valeant’s true business practices

 continued to emerge. On October 19, 2015, the market learned more about Valeant’s dependence

 on price increases, its controlling interest in Philidor, and a related secret network of specialty

 pharmacies, when the Company reported its third quarter 2015 (“3Q15”) financial results and

 hosted an earnings conference call (which started before the market opened). During the

 conference call, the Company revealed its direct relationship with and reliance on certain

 specialty pharmacies to increase the price of Valeant’s drugs and volume of Valeant’s sales,

 including Philidor, and Valeant’s option to purchase Philidor. In addition, the Company

 disclosed that pricing accounted for approximately 60% of its growth in 2014 and 2015, that it

 would be making drug pricing a smaller part of growth going forward, and that R&D would

 become an increased area of focus. After the market closed on October 19, 2015, The New York

 Times published an article that described Philidor as not a “typical” specialty pharmacy, noted

 that Philidor’s application for a license in California had been rejected for submitting false

 statements, and stated that Valeant was using Philidor as a tool to keep its drug prices high.

        227.    On this news, the price of Valeant stock declined by nearly 8%, falling from a

 close of $177 per share on Friday, October 16, 2015 to a close of $163 per share on Monday,

 October 19, 2015, on elevated trading volume. The following day, Valeant shares fell an

 additional 10% to close at $146 per share on October 20, 2015, also on unusually high trading

 volume. The total stock price decline over this two-day period was over 17%, or $30 per share.

 The price of Valeant’s debt securities also fell. The 6.75% Notes declined .09%.

        228.    During a conference call on October 19, 2015, hosted by Pearson, Rosiello, and

 Kellen, Defendants continued to mislead investors about Valeant’s business. In reference to

 media and government scrutiny of Valeant’s pricing practices, Pearson claimed that such

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 criticism was an industry-wide problem and told investors that Valeant’s forecast was

 appropriately discounted for such scrutiny, claiming, “it’s clear that the pharmaceutical industry

 is being aggressively attacked for past pricing actions. And that’s not just Valeant, but I think it’s

 all companies. I do think given that environment, the pricing that pharmaceutical companies

 will take in the future will be more modest, and we built that into our forecast for next year.”

            229.     In the slide deck presentation accompanying the earnings conference call,

 Valeant included a list of anticipated “Questions from Investors,” inspired by a report revealing

 Valeant’s ties to Philidor published by the Southern Investigative Reporting Foundation

 (“SIRF”). One of the “anticipated” questions was “How does Valeant work with specialty

 pharmacies and what is Valeant’s relationship with Philidor,” to which the presentation noted:

               We have viewed our relationship with Philidor and our other specialty
                pharmacies as proprietary and as one of our competitive advantages

               Similar to many pharmaceutical companies in the U.S., an increasing
                percentage of our revenue is coming from products dispensed through
                multiple specialty pharmacies

               We find specialty pharmacies improve patients’ access to medicines at an
                affordable price and help ensure physicians are able to prescribe the
                medications they believe most appropriate for their patients

                                         *       *        *

               We understand that Philidor:

                       Provides services under our programs for commercially insured and
                        cash-paying claims only. Any claim that would be reimbursed in
                        whole or in part by government insurance is not eligible for our co-pay
                        subsidy programs

                       Does not restrict prescriptions it fills to any particular manufacturers
                        (including Valeant)2




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     As Defendants knew, and as Philidor admitted on November 25, 2015, Valeant was Philidor’s only customer.
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                   Dispenses generic products as specified in patient’s prescription or
                    as requested by patient

        230.    During the conference call, Pearson repeated some of the same claims, saying that

 the relationship with Philidor had not been disclosed previously for “competitive reasons” and

 suggesting Valeant’s use of specialty pharmacies was similar to its competitors’ and resulted in

 more affordable prices, stating, in part:

                The topic of specialty pharmacies has not been a focus of ours on
                past calls because we believe this was a competitive advantage that
                we did not want to disclose to our competitors. But given all the
                incorrect assertions by some, we will provide an update to this call.

                Similar to many pharmaceutical companies in the US, an
                increasing percentage of our revenue is coming from products
                dispensed through multiple specialty pharmacies. We find
                specialty pharmacies improve patients’ access to medicines at an
                affordable price, and help ensure physicians are able to prescribe
                the medications they believe most appropriate for their patients. In
                almost all cases, our inventory with specialty pharmacies in this
                channel and the title to our medicine only transfers to the
                pharmacy when the actual prescription is filled.

        231.    Pearson also claimed that “[s]ince we do not recognize the revenue of our

 products [sold through Philidor] until the prescriptions are filled, this consolidation has the

 impact of delaying revenue recognition as compared to products that are sold through traditional

 distribution channels.”

        232.    With regard to a lawsuit that had been filed by one of the pharmacies in the

 Philidor network, R&O, which had claimed fraudulent practices were being employed, Pearson

 reassured investors that the business practices of Valeant and Philidor were proper by claiming:

                R&O is one of the specialty pharmacies in our network, and
                Valeant has shipped approximately $69 million at wholesale prices
                to them. This represents approximately $25 million at net prices.
                Any products R&O dispensed to patients were recognized as our
                revenues, and are reflected in our receivables. Any products still
                held by R&O are reflected in our inventory. R&O is currently

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                improperly holding significant amounts it receives from payers.
                We will refrain from comment on active litigation, and look
                forward to showing in court that we are owed the money.

        233.    Also during the conference call, Rosiello discussed the increased guidance the

 Company released that day, and added that “[w]e expect our gross margins to approach 80% in

 the fourth quarter, driven by continued growth in our dermatology and Salix businesses, the

 launch of Addyi, and decreased sales of Xenazine.” His statements were accompanied by the

 following chart in the slide presentation:


                         Previous             New               Previous            New
                         Q4 2015              Q42015            full year           full year
       Revenues          $3.2–$3.4B           $3.25–$3.45B       $10.7–$11.1B        $11.0–$11.2B

       Cash EPS          $3.98–$4.18           $4.00–$4.20       $11.50–$11.80       $11.67–$11.87
                         per share             per share         per share           per share
       Adj.    Cash      NA                    per
                                               NA share          >$3.2B              >$3.35B
       Flow From
       Operations


        234.    To further alleviate investor concern, and buoy the price of Valeant’s securities,

 the slide presentation also revealed that Valeant was “reaffirming our expectations to exceed

 $7.5 [billion] EBITDA in 2016.” When Pearson was asked during the conference call whether

 Valeant could still meet its EBITDA guidance in 2016 without “the benefit of price increases,”

 he said, “In terms of our EBITDA for 2016, I think we’re only going to say today that we feel

 very comfortable with the $7.5 billion and we expect our guidance next year will exceed that.”

        235.    The statements in ¶¶ 228–34, that Valeant was run in a “compliant manner,” that

 Valeant’s use of specialty pharmacies resembled that of other pharmaceutical companies, about

 Valeant’s relationship with Philidor, and that Philidor does “not restrict prescriptions it fills to

 any particular manufacturer,” were materially false and misleading when made because, as

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 described above, Valeant had created Philidor to exclusively serve Valeant and to circumvent

 cost controls put in place by payors, and had used Philidor and its network of secret pharmacies

 in ways that posed undisclosed regulatory and reimbursement risks.

        236.    October 21 and 22, 2015. On October 21 and 22, 2015, the market learned of

 additional problems regarding Valeant’s secret relationships with specialty and “affiliate”

 pharmacies, including Philidor and R&O, and related issues regarding Valeant’s accounting

 practices. On that day, Citron published a research report questioning the relationship between

 Valeant and Philidor and Valeant’s attendant accounting practices, and suggesting that Valeant

 had created a network of “phantom” specialty pharmacies for the purpose of inflating the

 Company’s revenues. The Citron report also provided further details of the lawsuit between

 R&O and Valeant, where R&O accused Valeant of “conspiring . . . to perpetuate a massive

 fraud.” After Citron’s report was published, trading in Valeant shares was temporarily halted

 because of the rapid decline in the price of Valeant shares. Specifically, as a result of the

 information provided to the market on October 21, the price of Valeant stock dropped more than

 19%, from a close of $146 per share on October 20, 2015, to a close of $118 per share on

 October 21, 2015, on extraordinary trading volume. The price of Valeant’s debt securities also

 fell. Specifically, as a result of the information provided to the market on October 21, the price of

 certain Valeant Notes fell. The 6.375% Notes declined 6%; the 5.875% Notes declined 7.8%; the

 6.125% Notes declined 7.9%; the 5.5% Notes declined 8.8%; the 7.5% Notes declined 8.67%;

 the 5.625% Notes declined 8.26%; and the 6.75% Notes declined 7.0%.

        237.    Moreover, after the market closed, Philidor issued a press release disclosing its

 contractual relationship with “affiliated pharmacies,” including R&O, and that it had a right to

 acquire such pharmacies now or in the future subject to regulatory approval. The following day,

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 analysts reacted to the troubling disclosures. For example, before the market opened on October

 22, 2015, BMO issued a report downgrading its rating of Valeant and concluding that Valeant’s

 arrangements with Philidor were “not just aggressive, but questionable.”

        238.   As analysts reacted to the disclosures and the market continued to digest the

 negative news, the price of Valeant stock continued to decline on October 22, falling an

 additional 7%, to close at $109 per share on unusually high trading volume. The total stock price

 decline over this two-day period was over 25%, or $36 per share. The price of Valeant’s debt

 securities also fell. The 6.375% Notes declined 4.8%; the 5.875% Notes declined 3.1%; the

 6.125% Notes declined 1.7%; the 5.5% Notes declined .4%; the 5.625% Notes declined 2.85%;

 and the 6.75% Notes declined 1.8%.

        239.   Despite these revelations, Defendants continued to insist that there was nothing

 wrong with Valeant’s accounting related to Philidor, and in an October 21, 2015 press release

 again claimed, falsely, that “sales are recorded only when the product is dispensed to the

 patient.”

        240.   October 25 and 26, 2015. On October 25 and October 26, 2015, the market

 learned of additional issues concerning Valeant’s improper relationship with and reliance on

 specialty pharmacies to increase the prices of Valeant products and to boost the volume of

 Valeant sales, and that the Company might be forced to terminate these clandestine relationships.

 On Sunday, October 25, 2015, The Wall Street Journal reported that former Philidor employees

 had revealed that Valeant employees worked directly at Philidor and were using fictitious names

 in order to conceal the companies’ relationship “so it didn’t appear Valeant was using the

 pharmacy to steer patients” to Valeant products. Before the market opened on October 26, 2015,

 Valeant filed its 3Q15 10-Q, which acknowledged that the Company had the “power to direct”

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 Philidor’s activities, and that the Company was conducting an investigation, through an ad hoc

 Board committee, into its relationship with Philidor.

        241.    Despite being forced to admit that Valeant could “direct Philidor’s activities,”

 Defendants still did not fully disclose the state of Valeant’s business and its relationship with

 Philidor, and Defendants continued to provide misinformation to the market. Though the 3Q15

 10-Q disclosed for the first time that Valeant had the “power to direct Philidor’s activities,” it

 also stated that Valeant’s entire board of directors had reviewed Valeant’s accounting for

 Philidor and had confirmed its appropriateness. Specifically, the 3Q15 10-Q stated:

                During the year ended December 31, 2014, the Company
                completed other smaller acquisitions, including the consolidation
                of variable interest entities, which were not material individually or
                in the aggregate. These acquisitions are included in the aggregated
                amounts presented below. Beginning in December 2014, the
                Company has consolidated Philidor Rx Services, LLC (“Philidor”)
                pharmacy network, which includes R&O Pharmacy, LLC. The
                Company determined that based on its rights, including its option
                to acquire Philidor, Philidor is a variable interest entity for which
                the Company is the primary beneficiary, given its power to direct
                Philidor’s activities and its obligation to absorb their losses and
                rights to receive their benefits. As a result, since December 2014,
                the Company has included the assets and liabilities and results of
                operations of Philidor in its consolidated financial statements. Net
                sales recognized through Philidor represent approximately 7% and
                6% of the Company’s total consolidated net revenue for the
                three-month and nine-month periods ended September 30, 2015,
                respectively, and the total assets of Philidor represent less than 1%
                of the Company’s total consolidated assets as of September 30,
                2015. The impact of Philidor as a consolidated entity on the
                Company’s net revenues for 2014 was nominal.

                                          *       *       *

                On October 26, 2015, the Company also announced that its Audit
                and Risk Committee and the full Board of Directors have
                reviewed the Company’s accounting for its Philidor arrangement
                and have confirmed the appropriateness of the Company’s
                related revenue recognition and accounting treatment.


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                                           *       *       *

                 As is customary in the pharmaceutical industry, our gross product
                 sales are subject to a variety of deductions in arriving at reported
                 net product sales. Provisions for these deductions are recorded
                 concurrently with the recognition of gross product sales revenue
                 and include cash discounts and allowances, chargebacks, and
                 distribution fees, which are paid to direct customers, as well as
                 rebates and returns, which can be paid to both direct and indirect
                 customers. . . . Gross product sales for products dispensed
                 through Philidor Rx Services, LLC (“Philidor”) pharmacy
                 network (which is consolidated as a variable interest entity within
                 our consolidated financial statements) are recognized when a
                 prescription is dispensed to a patient. Net sales recognized
                 through the Philidor pharmacy network represents 7% and 6% of
                 our total consolidated net revenue for the three months and nine
                 months ended September 30, 2015, respectively.

         242.    Also on October 26, 2015, the Company hosted a conference call with investors

 with an accompanying presentation. Pearson, Schiller, Rosiello, Ingram, Provencio,

 Melas-Kyriazi, Stevenson, Carro, and Kellen attended on behalf of the Company.

         243.    The presentation disclosed that “[o]ur specialty pharmacy strategy originated

 from the Medicis Alternate Fulfillment Program.” Among other things, the presentation also

 stated that:

                 (a)     “Prescriptions through Philidor are less profitable than traditional

 channels due to lower copay rates, lower cash pay rates and more cash pay scripts in Philidor

 than in retail and other channels”;

                 (b)     “We do not own or control Philidor . . .” and “Philidor employees do not

 report to Valeant . . .”;

                 (c)     “Philidor is independent . . .”; and

                 (d)     “Unless and until Valeant exercises the option to acquire Philidor,

 Philidor remains independent and Valeant has no rights to remove CEO or management.”


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               244.       Pearson assured investors there was no improper practices involving

     Philidor, stating:

                 (a)      “[T]he sensational claims made by the short seller Andrew Left, through

 his entity Citron, are completely untrue. His motivation is the same as someone who runs into a

 crowded theater to falsely yell fire. He wanted people to run”;

                 (b)      “after we saw the false report from Citron, we promptly coordinated with

 our outside regulatory counsel from Cahill to make a request that the SEC investigate Mr. Left

 and Citron”;

                 (c)      “We still believe that the strategy of working with specialty pharmacies is

 sound and it’s good for patients and physicians. There have been no issues with regards to the

 accounting or revenue recognition of the business”; and

                 (d)      “We have been working with outside counsel and we have found no

 evidence of illegal activity whatsoever at Philidor.”

        245.     Ingram, Valeant’s lead independent director, speaking on behalf of the entire

 board of directors, reaffirmed these statements saying:

                 Thank you, Mike [Pearson]. As Mike stated, the Company stands
                 by its accounting completely. The audit committee of the Board
                 and the full Board have reviewed the Company’s accounting, the
                 Philidor relationship, and have confirmed the appropriateness of
                 the Company’s revenue recognition and accounting treatment.

        246.     Rosiello reinforced the statements by Pearson and Ingram adding:

                 (a)      “Valeant consolidates financials with Philidor and the Philidor network,

 ensuring that revenue recognition and financial statement presentation is appropriate”;

                 (b)      “Valeant recognizes revenue only when products are dispensed to

 patients, and Valeant records this at net realized price”;


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                (c)     “There is simply no way to stuff the channel of consolidated variable

 interest entities, or VIEs, since all inventory remains on Valeant’s consolidated balance sheet

 until dispensed to patients”; and

                (d)     “Philidor was considered a VIE prior to the purchase option agreement,

 but since Valeant was not determined to be the primary beneficiary, consolidation was not

 appropriate. A purchase option agreement for Philidor was executed in December 2014. The

 finance and transactions committee, audit and risk committee, and full Board, all reviewed the

 transaction. The appropriate accounting treatment was determined by management and reviewed

 with the Audit and Risk Committee.”

        247.    Valeant’s corporate controller, Carro, also defended Valeant’s accounting and

 lack of prior disclosure regarding Philidor. Specifically:

                (a)     Carro claimed that, as of year-end 2014, “Philidor is not considered to be

 material to Valeant’s business for reporting purposes” because the “GAAP requirement for

 disclosing sales to large customers is 10% of revenue” and in December 2014 Philidor’s

 year-to-date net sales were $111 million; and

                (b)     Carro claimed that for the first two quarters of 2015 “Philidor was not

 specifically mentioned in our disclosures because it had not been material to the consolidated

 financial statements,” because “[i]t represented 1% or less of total assets and 7% or less of

 consolidated net revenues since the fourth quarter of 2014.”

        248.    Schiller reassured investors that there was no evidence of wrongdoing by Pearson,

 stating “if I had any concerns whatsoever about Valeant or Mike, I would not have stayed on

 the Board. It’s as simple as that. When we announced that I was leaving, and Mike and I had a




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 bit of our lovefest, I don’t want to repeat all the words but I meant them in terms of Mike is

 professional, his ethics, his work ethic, his commitment to doing the right thing.”

        249.    To mitigate the impact of the negative news, Pearson reaffirmed Valeant’s

 recently increased 2015 guidance, stating: “Given the continued healthy growth in dermatology,

 Salix, eye health, and the recent Addyi launch, we expect to meet or exceed our fourth-quarter

 projections, excluding the one-time expenses associated with recent events.” He added, “we

 continue to be very comfortable with our 2016 EBITDA expectation of greater than $7.5

 billion.”

        250.    The statements in ¶¶ 241–48 about Philidor’s compliance with laws, about the

 timing of revenue recognition, about Philidor’s status as a VIE, and about Philidor’s

 independence from Valeant were materially false and misleading when made. Indeed, as

 discussed above, Valeant created and controlled Philidor solely for Valeant’s benefit, as

 demonstrated by Valeant’s announcement, just a few days later that Philidor would be closing

 after Valeant cut ties. And as discussed further below, Valeant’s statements that it had properly

 recorded revenues were false when made, as demonstrated when Valeant was forced to restate its

 finances in March 2015 and to admit that it had been double-booking revenue on sales through

 Philidor. The statements in ¶ 249 about Valeant’s ability to still hit the Company’s guidance

 targets were false and misleading when made, as the Valeant Defendants were aware that

 Valeant relied heavily on Philidor and price gouging to drive revenues across its product

 portfolio, as discussed at ¶¶ 65-83.

        251.    Later that day, Bloomberg reported that the remarks on the call “left investors

 skeptical, failing to answer critical questions on Valeant’s continuing relationship with Philidor.”

 As a result of this news, the price of Valeant stock dropped more than 5%, from a close of $116

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 per share on Friday, October 23, 2015, to a close of $110 per share on Monday, October 26,

 2015, on unusually high trading volume. The price of Valeant’s debt securities also fell. The

 6.375% Notes declined 1.9%; the 5.875% Notes declined 4.2%; the 6.125% Notes declined

 2.5%; the 5.5% Notes declined 3.5%; the 7.5% Notes declined 1.07%; the 5.625% Notes

 declined 2.27%; and the 6.75% Notes declined 1.2%.

        252.    October 28 and 29, 2015. Still, information continued to leak out. On October 28

 and 29, 2015, further information was revealed to the market regarding Valeant’s secret

 relationship with and reliance on specialty pharmacies, including Philidor, to increase the prices

 of Valeant products and boost the volume of Valeant’s sales. On that day, Bloomberg reported

 that Philidor used “back door” tactics to increase payments and “instructed employees to submit

 claims under different pharmacy identification numbers if an insurer rejected Philidor’s claim—

 to essentially shop around for one that would be accepted.” Then, on October 29, 2015,

 Bloomberg Businessweek reported on additional improper business practices at Philidor,

 including that Philidor was falsifying prescriptions to boost Valeant sales, based on the accounts

 of former Philidor employees and internal company documents. Additionally, during market

 hours on October 29, 2015, reports surfaced that CVS Caremark had terminated its relationship

 with Philidor following an audit of Philidor’s practices.

        253.    On this news, the price of Valeant shares declined $5.50 a share, or 4.7%, from a

 close of $117 per share on October 28, 2015 to a close 111.50 per share on October 29, 2015.

 The price of Valeant debt securities also declined. The 6.375% Notes declined .5%; the 6.125%

 Notes declined .5%; the 5.5% Notes declined 1.9%; the 5.625% Notes declined 1.97%; and the

 5.875% Notes declined 1.5%.




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        254.      After the market closed on October 29, 2015, the nation’s other largest PBMs,

 Express Scripts and OptumRx, announced that they too had terminated their relationships with

 Philidor—highlighting to investors for the first time the payor risk posed by Valeant’s Philidor

 strategy, a risk that the Valeant Defendants knew of (or recklessly disregarded), but concealed,

 from the very beginning. Before the market opened on October 30, 2015, the Company issued a

 press release stating that it would be terminating its relationship with Philidor, which would be

 ceasing operations as soon as possible.

        255.      On this news, Valeant shares fell by nearly 16%, from a close of $111 per share

 on October 29, 2015, to a close of $93 per share on October 30, 2015, on unusually high trading

 volume. The price of Valeant debt securities also fell. The 5.5% Notes declined .44%; the

 5.875% Notes declined 2.8%; the 6.75% Notes declined 1%; the 7.5% Notes declined 2.7%; the

 6.375% Notes declined 1.93%; the 5.625% Notes declined 2.01%; and the 6.125% Notes

 declined 2.5%.

        256.      November 4, 2015. On November 4, 2015, before the market opened, the Senate

 Special Committee on Aging announced that it had formally launched a probe and requested

 documents and information from Valeant regarding its skyrocketing drug prices. That same day,

 also before the market opened, Bloomberg reported that just weeks prior to the Company’s

 announcement that it was cutting ties with Philidor, Valeant had planned to expand its use of

 Philidor, which further called into question the viability of the Company’s recently issued

 financial guidance. After the market closed on November 4, 2015, The Wall Street Journal

 reported that Valeant’s largest shareholder, Pershing Square, was considering liquidating its

 entire $3.8 billion stake in the Company and had demanded that Valeant management “come

 clean” about Philidor.

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        257.      On this news, the price of Valeant stock dropped by approximately 6%, from a

 close of $97 per share on November 3, 2015, to a close of $91 per share on November 4, 2015,

 on elevated trading volume. Valeant shares continued to decline the following day, falling by

 more than 14%, to close at $78 per share on November 5, 2015, on extraordinary trading volume.

 The total stock price decline over this two-day period was 19.5%, or $19 per share. The price of

 Valeant’s debt securities also fell. The 6.375% Notes declined 3.6%; the 5.875% Notes declined

 4.5%; the 6.125% Notes declined 3.5%; the 7.5% Notes declined 1.6%; and the 6.75% Notes

 declined 3.4%.

        258.      November 10, 2015. On November 10, 2015, before the market opened, Pearson,

 Rosiello, Carro, and Kellen hosted a business update call and disclosed the “significant” negative

 financial impact that Philidor’s closing and the Government’s spiraling probes into its pricing

 practices were having on the Company, including with respect to its financial guidance. In

 particular, Valeant disclosed that there would be a significant short-term disruption to the

 Company’s dermatology division, including its top-selling drugs, Jublia and Solodyn, that the

 Company was seeing short-term pressure in its neurology business, and that the Company was

 “working to quantify the potential short-term impact” on 4Q15 of the termination of its

 relationship with Philidor. The Company also acknowledged that filling prescriptions for free

 would “obviously” have an impact on the rest of the quarter and that if Valeant’s pricing is

 “viewed as aggressive, we are going to have to listen to that.”

        259.      Undoubtedly this disruption to the dermatology division was related to Valeant’s

 inability to continue employing the Philidor strategy to obtain reimbursement for Jublia and

 Solodyn.




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         260.    During the call, Pearson still attempted to portray Valeant’s relationship with

  Philidor as legitimate. Pearson stated, in relevant part:

                 We began working with Philidor because we believed a strong
                 relationship with one specialty pharmacy would deliver better,
                 faster customer service for doctors and patients. We were also
                 looking for a pharmacy which would be willing to process
                 prescriptions before adjudicating the claims, which would allow
                 us, rather than the patient, to assume the risk if the commercial
                 payer denied the claim.

         261.    In a question to Pearson, an analyst noted that there were “two kind[s] of major

  accusations aimed at the . . . Company,” one regarding pricing and the other regarding Philidor,

  and noted that Valeant “decided to limit your pricing going forward” and “cut operations with

  Philidor.” With regard to Philidor, Pearson responded in part:

                 Well Philidor was very specific. First, there was the Citron report
                 which claimed financial fraud and other things. They quickly came
                 out and there was no financial fraud in terms of Valeant had to
                 do. But then other allegations were made in terms of the practices
                 of Philidor. And we felt, both management and the Board felt that
                 given these allegations, given what was happening to our stock
                 price and given what many of our major shareholders were asking
                 us to do that the best thing to do was to sever.

         262.    The statements in ¶¶ 261–62 that Valeant worked with Philidor because Valeant

  believed it would help patients and doctors, that there was no financial fraud in its dealings with

  Philidor, and that Philidor was not mentioned because it was “not material” were materially false

  and misleading when made. As described in detail above, Valeant hid Philidor from investors

  because secrecy was central to the Enterprise’s scheme to artificially inflate prices and sales

  through Valeant’s secret pharmacy channel, a scheme which was designed to benefit Defendants,

  without regard for the consequences to patients or investors. On this news, Valeant stock

  dropped 2%, from a close of $85 per share on November 9, 2015, to a close of $83 per share on

  November 10, 2015, on unusually high trading volume.

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         263.    November 11, 2015. After the market closed on November 10, 2015, it was

  reported that the Sequoia Fund, Valeant’s biggest shareholder, had paid and was offering to pay

  former Philidor employees in order to obtain information regarding Valeant’s practices. The next

  day, before the market opened, Bloomberg reported that Valeant’s creditors were “[s]pooked” by

  a possible “[r]evenue [s]queeze” and concern was “growing that disruption to Valeant’s cash

  flow could heighten the risk of the company violating lender limits on its debt burden.” During

  market hours on November 11, 2015, analysts at Nomura cut their Valeant price target. On this

  news, the price of Valeant stock continued to decline, falling by over 5%, to close at $78 per

  share on November 11, 2015.

         264.    November 12, 2015. On November 12, 2015, before the market opened,

  Bloomberg published another article regarding Valeant’s relationship with Philidor, and multiple

  media outlets reported that analysts at several firms had lowered their price targets for Valeant.

  On this news, Valeant’s stock price dropped an additional 6.5%, to close at $73 per share. The

  total stock price decline from November 10 through November 12, 2015 was over 11%, or $9.91

  per share. The price of Valeant’s debt securities also fell. The 5.875% Notes declined 2.6%; the

  6.375% Notes declined 1.4%; and the 6.75% Notes declined 1.3%.

         265.    November 16, 2015. On November 16, 2015, during market hours, Bloomberg

  reported that Congressman Elijah Cummings wrote Pearson requesting that he make certain

  Valeant employees available for interviews. After the market closed that day, The Washington

  Post reported that the House Oversight Committee announced it would hold a hearing in early

  2016 on prescription drug pricing, and that it had contacted Valeant to gather information. The

  article also disclosed that members of the House Oversight Committee were urging Valeant’s

  executives to testify at the hearing and for Valeant to be subpoenaed. On this news, the price of

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  Valeant stock dropped by nearly 3%, from a close of $75 per share on November 13, 2015, to a

  close of $73 per share on November 16, 2015, on unusually high volume. The price of Valeant

  stock continued to decline on November 17, 2015, dropping an additional 4% to close at $70 on

  high trading volume. The price of Valeant’s debt securities also fell. The 6.75% Notes declined

  .5%; the 6.125% Notes declined .45%; the 5.5% Notes declined .61%; and the 7.5% Notes

  declined 1.1%.

         266.      Despite Defendants’ insistence that Valeant was well-positioned for growth

  without price increases, and their reaffirmance of guidance for 2016, Valeant admitted in

  December 2015 that its earlier projections were inflated. On December 16, 2015, its analyst day,

  Valeant issued a release formally withdrawing the inflated guidance it issued and defended on

  October 19, 2015. In an attempt to offset the disappointing revised 2016 guidance and

  notwithstanding the financial impact of its lost sales through Philidor and increased scrutiny by

  PBMs and private payors for its products, Valeant’s December 16, 2015 release projected robust

  2016 growth with revenue of $12.5–$12.7 billion, Cash EPS of $13.25–$13.75, and EBITDA of

  $6.9–$7.1 billion.

         267.      On that same day, the Company hosted a conference call. Pearson, Rosiello, Jorn,

  and Kellen participated on behalf of the Company. Rosiello repeated the 2016 guidance and

  Pearson stated the guidance was conservative, noting: “I feel very comfortable [with the]

  guidance. But each little pieces [sic], I feel little less comfortable this year just given—so we put

  an extra dose of conservatism in.”

         268.      The statement in ¶ 267, that the new guidance had an “extra dose of

  conservatism,” was false and misleading when made. At the time they issued increased guidance,

  Defendants were aware that the disclosure of Valeant’s relationship with Philidor and

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  investigations into Valeant and Philidor’s price-based business model would result in decreased

  sales, revenue, and earnings. Defendants therefore had no reasonable basis to believe and, in fact

  did not believe, that Valeant could achieve the financial forecasts that Defendants issued in

  October 2015, or the revised forecasts they issued in December 2015.

         269.    December 17, 2015. On December 17, 2015, before the market opened, Mizuho

  cut its rating on Valeant stock to “neutral” from “buy.” The Mizuho analyst cited a lack of clarity

  regarding Valeant’s agreement with Walgreens, and stated that Valeant management had “not

  done a good job in articulating the details” and that “[w]e still don’t understand how this

  partnership will improve filled prescriptions if payer restrictions persist.” During market hours

  that day, Bloomberg published an article reporting on the Mizuho downgrade. On this news, the

  price of Valeant stock declined nearly 6%, falling $7 from a closing price of $118 on December

  16, 2015 to close at $111 on December 17, 2015. In addition, the 6.125% Notes declined 0.8%.

         270.    February 19, 2016. On February 19, 2016, media outlets reported on a Wells

  Fargo analyst report issued the prior day that included an in-depth analysis on Valeant and

  questioned whether the Company had been truthful about Philidor. In particular, the report

  questioned whether the Company had been truthful regarding Philidor and Valeant’s

  relationship, including the adverse consequences to Valeant of terminating that relationship,

  management’s credibility, and irregularities with the Company’s accounting. The analysis noted

  that Valeant’s “new guidance is not compatible with the data presented by Valeant” and “the

  reduction in guidance does not match the impact [of Philidor], as described by Valeant.” The

  report stressed that “the slide in Valeant’s shares is directly related to decisions that the board

  and management have made” including “the board review and approval of a relationship with

  Philidor.” The report further noted that Valeant’s accounting was misaligned with its purported

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  performance, and suggested that the dramatic rise in Valeant’s accounts receivables could be an

  indication of Valeant’s “improperly timed recognition of revenue.” On this news, the price of

  Valeant stock dropped by nearly 10%, falling from a close of $94 per share on February 18, 2016

  to a close of $84 per share on February 19, 2016, on elevated trading volume. The price of

  Valeant debt securities also fell. The 6.375% Notes declined .57%; the 5.875% Notes declined

  1.36%; the 6.125% Notes declined .23%; the 5.625% Notes declined .97%; the 5.5% Notes

  declined 1.0%; the 7.5% Notes declined .89%; and the 6.75% Notes declined .32%.

         271.    February 22, 2016. On February 22, 2016, a Wells Fargo analyst released an

  updated note regarding Valeant that included two additional valuation models and a $62 price

  target. Also on February 22, 2016, CVS announced it would restrict the use of Jublia, one of

  Philidor’s most heavily distributed drugs, by requiring patients to first try a less expensive

  generic drug. After the market closed on February 22, 2016, The Wall Street Journal reported

  that Valeant was likely to restate its 2014 and 2015 earnings following an internal review of its

  financials. Later that evening, the Company confirmed in a release that it would be restating its

  2014 earnings by at least $58 million, which would reduce 2014 GAAP EPS by approximately

  $0.10. The Company disclosed that, contrary to Defendants earlier explicit representations, it had

  been improperly recognizing revenue upon the delivery of products to Philidor, instead of when

  the products were dispensed to patients. The Company also announced it would delay filing its

  2015 10-K pending completion of related accounting matters. Schiller commented that the

  Company would be “improving reporting procedures, internal controls and transparency for our

  investors.” On this news, the price of Valeant stock dropped by over 10%, from a close of $84

  per share on February 19, 2016 to a close of $75 per share on February 22, 2016, the next trading

  day, on unusually high trading volume. Valeant shares continued falling in after-hours trading on

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  February 22, 2016 as news of the impending restatement hit the market, dropping as low as $68

  per share. The price of Valeant Debt securities also fell. Specifically, the 5.875% Notes fell

  2.4%; the 6.125% Notes fell 7.8%; the 6.75% Notes fell 1.1%; the 6.375% Notes fell 1.27%; the

  5.625% Notes fell 3.29%; and the 7.5% Notes fell 1.2%.

         272.   On Sunday, February 28, 2016, Valeant issued a press release announcing

  Pearson’s immediate return as CEO, Ingram’s appointment as Chairman of the Board, and the

  cancellation of a conference call set for February 29, 2016 concerning preliminary 4Q15

  financial results and updated guidance for 2016. The press release also disclosed that the

  Company was withdrawing its prior financial guidance, and confirmed that it would delay filing

  its 2015 10-K pending completion of the review of accounting matters by the ad hoc committee

  “and the Company’s ongoing assessment of the impact on financial reporting and internal

  controls.” Numerous media outlets reported on these disclosures prior to the market’s opening on

  February 29, 2016. Also during market hours, Moody’s placed Valeant ratings on review for

  potential downgrade on concerns that the Company’s operating performance was weaker than

  expectations, potentially impeding deleveraging plans. As the day progressed, additional reports

  surfaced, and the Company ultimately confirmed that Valeant was under investigation by the

  SEC and had received a subpoena during 4Q15.

         273.   On this news, the price of Valeant stock dropped by more than 18%, from a close

  of $80 per share on February 26, 2016 to a close of $65 per share on February 29, 2016, the next

  trading day, on unusually high trading volume. The price of Valeant’s debt securities also fell.

  The 5.875% Notes fell 7.3%; the 6.125% Notes fell 6.8%; the 6.375% Notes fell 4.26%; the

  5.625% Notes fell 2.26%; the 6.75% Notes fell 3.6%; and the 7.5% Notes fell 6.7%.




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          274.    March 15, 2016. On March 15, 2016, before the market opened, Valeant issued

  its preliminary unaudited 4Q15 financial results and held a much anticipated conference call. The

  Company revealed that it was reducing its financial guidance for 2016, and provided certain

  unaudited financial information concerning its 4Q15 performance. In particular, the Company

  slashed its 2016 revenue guidance from $12.5–12.7 billion to $11–11.2 billion; reduced its Cash

  EPS guidance from $13.25–13.75 to $9.50–10.50; and cut its EBITDA guidance from $6.7–$7.1

  billion to $5.6–$5.8 billion. The Company cited as reasons for these substantial downward

  revisions “reduced revenue assumptions for certain businesses, new managed care contracts and

  increased investment in key functions, such as financial reporting, public and government

  relations and compliance, as well as the impact of the weak first quarter of 2016.” The Company

  also reported $51.3 million in “wind down costs” for Philidor, including “write-downs of fixed

  assets and bad debt expenses,” and a $79 million impairment charge related to Philidor. As to

  price increases, Pearson stated that all increases going forward “will be more modest and in line

  with industry practices and managed-care contracts.” During the conference call, Defendants

  disclosed that even the Company’s release from earlier that morning was inaccurate because its

  reporting forecasted adjusted EBITDA for the next four quarters of $6.2 to $6.6 billion, when the

  figure should have been only $6.0 billion. That same day, Moody’s further downgraded

  Valeant’s credit ratings, as well as those of its subsidiaries.

          275.    On this news, the price of Valeant stock plummeted by more than 50%, from a

  close of $69 per share on March 14, 2016 to a close of $33 per share on March 15, 2016, on

  extremely high trading volume. The price of Valeant debt securities also fell. The 5.875% Notes

  declined 11.8%; the 6.125% Notes declined 12.27%; the 6.75% Notes declined 7.5%; the




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  6.375% Notes declined 11.17%; the 5.625% Notes declined 11.93%; and the 7.5% Notes

  declined 12.1%.

         276.    March 28, 2016. During trading hours on March 28, 2016, news sources reported

  that Valeant CEO Pearson was called to testify in front of a senate panel investigating the cost of

  prescription drugs. On this news, the price of Valeant common stock fell 7.17%, or $2.23 a

  share, from a close of $31.09 on Friday, March 25, 2016 to a close of $28.86 on March 28, 2016,

  on high trading volume. The price of Valeant debt securities also fell. The 5.625% Notes

  declined .32%; the 7.5% Notes declined .15%; and the 6.75% Notes declined .28%.

         277.    April 27–29, 2016. After the markets closed on April 27, 2016, news sources

  reported that Valeant expected to name four new directors and five board members were

  stepping down. During trading hours on April 28, 2016, Defendant Pearson testified before the

  Senate Special Committee on Aging. Before the markets closed on April 29, 2016, Valeant filed

  its Form 10-K for the year ended December 31, 2015, and included restated statements.

         278.    On this news, Valeant’s common stock dropped $1.89 a share, or 5.36%, from a

  close of $35.25 on April 28, 2016 to a close of $33.36 on April 29, 2016, on heavy trading

  volume. The price of certain Valeant Notes also declined. The 6.375% Notes declined 1.27%; the

  5.875% Notes declined 2.06%; the 6.125% Notes declined 2.92%; the 5.625% Notes declined

  1.81%; the 5.5% Notes declined 3.34%; the 7.5% Notes declined 1.9%; and the 6.75% Notes

  declined 1.02%.

         279.    In the following months, more facts about Valeant’s use of Philidor and the

  source of revenue growth were publicly disclosed. On June 7, 2016, Valeant issued a press

  release and hosted a conference call regarding the Company’s long-delayed 1Q16 financial

  results. The Company reported a GAAP loss per share of $1.08 and significantly lowered its

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  2016 guidance, and revealed that the poor financial results and outlook were caused, in large

  part, by the loss of Philidor. For example, Rosiello stated that sales volume declines were

  “exacerbated by the loss of refills following the shutdown at the end of January of our previous

  specialty pharmacy relationship.”

          280.      On this news, the price of certain Valeant Notes declined. The 5.875% Notes

  declined 0.53%; the 5.625% Notes declined 0.15%; the 6.375% Notes declined 0.15%; the 5.5%

  Notes declined 0.68%; the 7.5% Notes declined 0.96%; the 6.75% Notes declined 0.77%; and

  the 6.125% Notes declined 1.2%.

          281.      Joseph Papa (“Papa”), the Company’s new CEO, added that with respect to

  dermatology, “a significant portion of our Walgreens prescriptions have profitability

  significantly below our internal projections and meaningfully below non-Walgreen

  prescriptions” and that “[i]n some instances, these prescriptions actually have a negative average

  selling price.”

  VI.     THE SCHEME’S CONNECTIONS TO NEW JERSEY

          282.      As set forth herein, the Enterprise’s scheme had substantial contacts with the state

  of New Jersey, where Valeant’s U.S. headquarters is located.

          283.      Numerous Defendants and Enterprise members were employed by or regularly

  conducted business out of Valeant’s offices in New Jersey.

          284.      Substantial elements of the illegal scheme, including deliberation and

  implementation of growth-by-acquisition model, price gouging strategies, and Valeant’s AF

  program, were orchestrated from Valeant’s New Jersey offices where many of Valeant’s senior

  executives were located.




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         285.     Moreover, conduct undertaken to conceal the fraudulent scheme, including

  preparation of false and misleading financial statements and other misrepresentations on investor

  and earnings calls, originated from Valeant’s New Jersey offices.

         286.     Finally, the scheme had numerous, significant, foreseeable, and intended adverse

  effects in New Jersey.

  VII.   SUMMARY OF DEFENDANTS’ SCIENTER

         287.     Plaintiff repeats and realleges each and every paragraph contained above as if set

  forth herein.

         288.     The Individual Defendants acted with scienter with respect to the materially false

  and misleading statements and omissions of material fact set forth above because they knew, or

  at the very least recklessly disregarded, that those statements were materially false or misleading

  when made. As senior executives of Valeant during the relevant time period, their scienter is

  imputable to Valeant.

         289.     As discussed above, the Enterprise engaged in a multi-year scheme to defraud

  investors by issuing false and misleading statements about Valeant’s business strategy, practices,

  and prospects while secretly pursuing a wrongful course of business to artificially inflate sales

  that required defrauding PBMs and payors in the prescription drug market. The Individual

  Defendants were personally aware of, designed, implemented, and/or approved the deceptive

  practices detailed in this Complaint. Because of their de facto control over Philidor, their right to

  review its records and policies, and their close monitoring of the pharmacy, the Individual

  Defendants were personally aware of, or were severely reckless in disregarding, Philidor’s

  improper and deceptive practices.




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         A.      The Individual Defendants’ Role in Valeant’s Unsustainable Business Model

         290.    Pearson first developed Valeant’s non-traditional business strategy as a consultant

  at McKinsey, and brought that template to Valeant—acquire companies, slash R&D, and jack up

  prices—and he hand-picked executives who would help him pursue that strategy. Together, the

  Individual Defendants orchestrated Valeant’s many acquisitions and dramatic price increases and

  other deceptive practices. Pearson and the Individual Defendants understood the role that price

  increases played in Valeant’s growth from their design and close monitoring of budgets within

  each business unit—Pearson even personally set and approved the price increases of individual

  drugs to meet budget targets.

         291.    Pearson’s presence at Valeant loomed large. His intimate knowledge of Valeant’s

  operations flowed from a reported practice of “micromanaging” the business, an attention to

  detail that was expected of all of the Individual Defendants. Former employees told Bloomberg

  Businessweek that Pearson “had his fingers in everything, from operations to making decisions

  about the salaries of individual employees.” Other former employees told Forbes that he

  “micromanaged things he deemed important.” Pearson himself confirmed during a hearing

  before the Senate that was involved in minute details of Valeant’s drug price program, even

  reading individual reports of patient complaints related to drug pricing, stating that “we do track

  every patient that calls and make sure that it’s run to ground,” and “I read the reports.”

         292.    But Pearson also worked closely with the other Individual Defendants. Pearson

  held weekly calls with the leaders of Valeant’s business groups on Tuesdays at 11:00 am, during

  which Valeant senior management would assess the business, address developing issues, and

  ensure that there were no surprises facing the Company at each quarter end. A Forbes article also

  described the executives around Pearson as “cronies,” and according to a former Valeant


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  executive, Pearson “wanted to win at all costs and surrounded himself with people who would

  basically do whatever he told them to do.” These close associates included his former McKinsey

  partner Robert Rosiello, his brother-in-law Robert Brabandt, and Ryan Weldon, the son of

  Pearson’s former client, Johnson & Johnson CEO Bill Weldon.

         293.    Valeant documents uncovered by news reports and a Senate investigation confirm

  that Pearson and the Individual Defendants were directly involved in the Company’s strategy to

  grow through price increases. The Senate Report on Drug Pricing details how, when Valeant’s

  Neurology and Other business unit was not meeting budget targets, Valeant’s senior leadership

  determined to implement an “Orphan Drug Pricing Strategy” to turn the business around. The

  plan, which leadership began developing in late 2012, called for transforming the unit into

  Valeant’s number one revenue generator by implementing steep price increases. The Senate

  Report includes documents from an April 20, 2013 presentation to Pearson and Schiller outlining

  this approach. Pearson admitted in a deposition that a slide from the presentation “captures the

  unit’s plan of making up for declining revenue by implementing major price increases.” The

  documents also show that Pearson drove this transformation. The Senate Report also details how

  the plan was reviewed by Kornwasser and other executives, and how, as the unit implemented

  repeated and steep price increases, the unit’s leadership presented new forecasts reflecting these

  changes to Pearson, Schiller, and Kornwasser. An April 25, 2013 email from Jeff Strauss to

  Kornwasser presented an orphan pricing model intended to “get to the projected number this year

  that Mike [Pearson] had in his head.” According to the Senate Report, the attached model

  proposed a series of price hikes in the second half of 2013 that would cumulatively raise the

  price of Syprine 500% and Cuprimine 100%. Pearson and the Individual Defendants went

  further: In a July 2015 meeting, Pearson met with Rosiello, Carro, and others and decided to

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  raise the price of Cuprimine by 400%, from approximately $6,500 for 100 capsules to over

  $26,000.

         294.    Similarly, the Senate Report provides details, based on internal Valeant

  documents and testimony from Valeant’s executives, about how, in late 2014, the acquisition of

  Isuprel and Nitropress was internally justified by Valeant’s ability to raise the drugs’ prices

  dramatically. This price-focused acquisition model for Marathon was developed by Pearson,

  Schiller, Davis, and other executives, and was presented to Valeant’s auditors at Deloitte. Indeed,

  the Wall Street Journal reported that at a meeting to discuss pricing attended by Pearson,

  Schiller, Kornwasser, Andrew Davis, Steve Sembler, and Sandeep Lalilt, the group

  recommended smaller price increases over time, but Pearson pushed to dramatically increase

  price. At the Senate hearing, Schiller confirmed that “Mr. Pearson made a decision to go with the

  higher price.” Thus, while Pearson and the Individual Defendants publicly insisted that Valeant’s

  growth was based on volume, not price, that Valeant did not “plan” for price increases; that

  Valeant had a sustainable business model, and that contractually, Valeant could not raise prices

  more than single-digit percentages, they were intimately involved in a price-based business

  strategy that was contrary to everything they had represented to investors.

         295.    Further, throughout the relevant period, the Individual Defendants held

  themselves out to investors as the persons most knowledgeable about Valeant’s business,

  operating model, strategies, acquisitions, organic growth, internal controls, compliance

  programs, and the sales volume, pricing, and performance of Valeant’s products. For example,

  with regards to Valeant’s many acquisitions, Schiller stated in a May 2014 conference call with

  investors that he and Pearson “religiously track each deal on a quarterly basis. Our Board of

  Directors get a report every quarter on each deal. We go back every quarter and ask how are we

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  doing, we are our own biggest critics.” Later that day, at a Sanford C. Bernstein Strategic

  Decisions Conference, Pearson stated, “we’re tracking every product around the world.”

         296.    Further confirming these statements and examples, the Individual Defendants’

  roles at Valeant and the nature of the fraud itself also support a strong inference of scienter. As

  described in part above, as senior executive officers during the relevant period, the Individual

  Defendants were privy to confidential and proprietary, non-public information concerning

  Valeant’s operations, finances, financial condition, and present and future business prospects.

  And the ongoing fraud required not only the interplay of management and individual business

  units, but also acquisitions of and relationships with other business entities—including decisions

  requiring board-level approval, such as approving budgets and budget-based compensation

  targets and entering the purchase option agreement with Philidor. This complex, carefully

  designed fraud could not have been perpetrated without the knowledge or recklessness and

  complicity of employees at the highest levels of Valeant, including the Individual Defendants.

         297.    Indeed, Kornwasser refused to execute the Philidor Option for the following

  reasons: (i) concern over the relationship between Tanner and Philidor; (ii) concern there was

  information related to the Philidor Option that he was not made aware of; (iii) and concerns of

  the payor risks that the Philidor Option created for Valeant. When Kornwasser raised these

  concerns with Pearson, Pearson was unhappy with Kornwasser, removed him from his role

  overseeing Philidor and Tanner, and pushed the deal through without him. Following

  Kornwasser’s refusal, Pearson personally oversaw Valeant’s relationship with Philidor.

         298.    Moreover, Pearson, Schiller, and Rosiello undertook the affirmative obligation to

  obtain the requisite knowledge to ensure the Company’s disclosures to the market were true by

  executing SOX certifications. Pearson, Schiller, Rosiello, and Carro participated in the drafting,

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  preparation, and/or approval of the various SEC filings, releases, and other public statements that

  appear herein and because of their positions had control over the information that was disclosed.

         B.      Individual Defendants’ Control of Philidor

         299.    The Individual Defendants were personally aware of Valeant’s use of and control

  over Philidor and its network of pharmacies, from Valeant’s creation of Philidor in 2013 through

  the Individual Defendants’ decision to cut ties with the pharmacy in October 2015. The

  Individual Defendants were involved in the acquisition of Medicis, and chose to adopt Medicis’

  AF strategy and hire former Medicis employee Tanner to join Valeant for the sole purpose of

  running the AF program, which entailed creating Philidor on January 2, 2013. The next day

  Valeant announced that it had hired Kornwasser, who would supervise Tanner and report directly

  to Pearson. Kornwasser’s position and compensation—$8.8 million total in 2013—demonstrate

  Philidor’s importance to Valeant.

         300.    Pearson, Schiller, Rosiello and senior management signed Valeant’s agreements

  with Philidor, and Pearson and other executive officers often touted Valeant’s new “alternative

  fulfillment program.” The Individual Defendants knew that several Valeant employees helped to

  create Philidor, and that many worked at Philidor as Valeant employees before being transferred

  there to oversee Valeant’s plan to use deceptive practices to artificially boost sales of Valeant’s

  overpriced drugs. Two high-level Valeant employees—Tanner and Kornwasser—were

  intimately aware of Philidor’s operations, and other Valeant employees, such as Bijal Patel and

  Alison Pritchett, helped to set up and run Philidor.

         301.    Pearson and the Individual Defendants received regular updates on Valeant’s

  business with Philidor, including, but not limited to, weekly meetings to discuss Philidor that

  began in 2013, and were attended by Kornwasser, Schiller, Tanner, and Pearson. For example,


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  Gary Tanner sent an email to Ari Kellen and Laizer Kornwasser on January 17, 2014, discussing

  alternative arrangements he was pursuing in case “Philidor could not be scaled quickly enough,”

  to which Kellen replied, “Fully understand and agree[.]” The close monitoring continued

  throughout the relevant period. For instance, on March 9, 2015, Kellen sent Pearson an email

  following up on an earlier conversation stating, “Met with Deb [Jorn] . . . . Suggested we get all

  the DMs [District Managers] in for a day . . . goal to go over the practices in each district where

  Philidor is working well and identify next 10 practices where we should push harder to build it

  out that will help fuel growth.” Pearson responded, “Good stuff.” Philidor’s managers were

  invited to meet with Valeant’s board in July 2015.

         302.    Well before the purchase option agreement, Philidor was providing monthly data

  to Valeant, and Valeant had a contractual right to inspect Philidor’s books, records, and facilities

  for compliance—though such formal access was hardly necessary with their own employee,

  Tanner, effectively managing its operations. And prior to entering into the purchase option

  agreement, Pearson, Schiller, and Valeant’s Board of Directors performed due diligence,

  including multiple site visits. In fact, the entire Audit and Risk Committee toured Philidor’s

  facility in Pennsylvania prior to the transaction. Valeant included Philidor in its internal control

  testing and internal audit program for 2015.

         303.    Defendants also monitored the secret network of pharmacies Philidor used to

  route prescriptions. For example, Valeant made approximately 75 shipments to R&O between

  January and August 2015 and received millions of dollars in payments directly from R&O in

  return. On September 4, 2015, after R&O became suspicious of the fraud and began withholding

  payments from Valeant, Valeant’s general counsel sent a letter to R&O seeking “immediate

  payment” to Valeant, further highlighting the lack of separation between the companies. In the

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  October 19, 2015 conference call, Pearson told investors that R&O was part of Valeant’s

  specialty pharmacy program.

         304.    With this level of access, contact, and scrutiny, Defendants knew, or were

  reckless in not knowing, about Philidor’s deceptive practices. As Philidor employees have

  confirmed, the deceptive practices were widely known, discussed, and even documented in

  Philidor’s training manuals.

         305.    As the truth about Philidor began to emerge, in October 2015 Defendants

  continued to actively misrepresent the relationship between Valeant and Philidor, and to claim to

  be investigating the relationship and describing the investigation in terms that suggested that,

  rather than Philidor being the creation of Valeant management, they were learning things for the

  first time. On October 19, 2015, Defendants presented investors with a list of facts that Valeant

  purportedly “understood” about Philidor, and Pearson, at a conference attended by Rosiello and

  Kellen, defended Philidor and the decision to conceal the relationship as “a competitive

  advantage that we did not want to disclose to our competitors.”

         306.    On October 26, 2015, at a conference attended by Schiller, Rosiello, Ingram,

  Provencio, Melas-Kyriazi, Stevenson, Carro, and Kellen, Pearson continued to claim that

  Philidor was “independent” and repeated that Philidor was concealed for “competitive” reasons.

  Pearson also assured investors that Valeant had been “working with outside counsel” and have

  found “no evidence of illegal activity whatsoever at Philidor.” At that same conference,

  Defendants presented investors with another presentation that claimed, among other things, that

  Philidor was independent and Valeant had no control over management. Then, on October 30,

  2015, just a few days later and a little over a week since Philidor became public, Valeant

  announced that it would be closing Philidor. That Defendants’ decision to shutter Philidor so

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  quickly, rather than investigate the serious allegations involved, further confirms that they were

  already well aware of Philidor’s deceptive practices. It also highlights the control over Philidor

  that Valeant forcefully denied having just four days earlier.

         307.    Further, when Citron’s report questioned Valeant’s accounting through Philidor,

  Defendants all publicly defended the accounting. In the October 26, 2015 presentation to

  investors, Rosiello—flanked by the Board of Directors—represented that they had determined

  “the appropriate accounting treatment” for Philidor. Ingram also reiterated that the entire Board

  and the audit committee had reviewed and signed off on the accounting treatment.

         308.    In doing so, Defendants knowingly or recklessly disregarded the requirements of

  ASC 810 and SAB Topic 13, which required them to disclose the “nature, purpose, size and

  activities” of Philidor, how Philidor was financed, significant judgments and assumptions made

  in determining whether Valeant needed to consolidate Philidor and/or disclose information about

  its involvement with Philidor, the “nature of, and changes in, the risks associated with” Valeant’s

  involvement with Philidor, and how Valeant’s involvement with Philidor affected Valeant’s

  “financial position, financial performance and cash flows.” See ASC 810-10-50-5A; ASC

  810-10-50-8. Valeant was also required to disclose Philidor as a distinct sales channel in the

  MD&A in Valeant’s periodic filings with the SEC. See SAB Topic 13.B.

         309.    Rosiello’s assertion in the October 26, 2015 presentation that they were not

  required to disclose Philidor because Valeant’s sales to Philidor did not account for more than

  10% of its revenues was a cover for their reckless disregard of the accounting rules. Philidor was

  not a customer of Valeant; it was effectively operating as a division of Valeant. Once Philidor’s

  financials were consolidated with Valeant, the notion that Philidor had to meet the 10% customer




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  sales threshold for disclosure is rendered even more absurd because at that point even Valeant

  considered Philidor to be a part of Valeant and not a customer.

         310.    Defendants knew that the illegitimate sales channel they created was highly

  material to Valeant’s business. Indeed, their claim that Philidor was not material to Valeant is

  belied by the adverse financial impact that Philidor’s closure had on Valeant and by the market’s

  negative reaction to the several disclosures about Philidor from October 19, 2015 and into the

  middle of 2016.

         311.    The reason that Defendants intentionally concealed Philidor is apparent. The

  concealment of Valeant’s relationship with Philidor was essential to the Enterprise being able to

  channel sales through Philidor. So long as the PBMs had no idea about the connection between

  Philidor and Valeant, they had no reason to know about the improper relationship between

  Valeant and Philidor. Of course, when they eventually found out about Valeant’s deceptive use

  of Philidor to move Valeant products, the three major PBMs—which account for 80% of the

  market—immediately cut ties with Philidor.

         312.    Defendants knew, or at the very least recklessly disregarded, that Valeant’s

  revenue recognition was being manipulated by the recording of fictitious sales where Valeant’s

  ability to collect was not reasonably assured because the transactions occurred outside the

  normal course of business, that Valeant double-booked this revenue in 2015, and that Valeant did

  not have effective disclosure controls over financial reporting or effective disclosure controls or

  procedures in place in 2014 and 2015.

         313.    When the ad hoc committee revealed the results of their review of Philidor and

  Valeant’s accounting, they blamed Pearson, Schiller, and Carro. In announcing the restatement

  of Valeant’s financials, the ad hoc committee accused Schiller and Carro of “improper

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  conduct” that “resulted in the provision of incorrect information to [the board’s Audit and

  Risk Committee] and the company’s auditors.” The ad hoc committee also found that “the tone

  at the top of the organization and the performance-based environment at the company, where

  challenging targets were set and achieving those targets was a key performance expectation, may

  have been contributing factors resulting in the company’s improper revenue recognition[.]”

  Thus, Pearson encouraged the manipulation of revenue recognition by requiring his employees to

  meet aggressive revenue targets. In doing so, he recklessly disregarded that he had established a

  corporate culture that facilitated channel stuffing.

         C.      Valeant’s Refusal to Pursue Remedies Against Wrongdoers

         314.    Valeant’s failure to pursue remedies against Pearson, Schiller, Rosiello, Philidor,

  and Philidor executives supports an inference that the deceptive business practices alleged herein

  were fully approved. Valeant could not pursue such remedies for the wrongdoing it condoned,

  and thus was limited to firing the wrongdoers and shutting down Philidor.

         315.    In 2014, Valeant instituted a clawback policy, allowing the Company to recover

  incentive compensation from management if a restatement is required within three years of the

  relevant period and an executive is found to have participated in fraudulent or illegal conduct.

  However, as Ingram noted, the Board approved the accounting for Philidor and thus,

  notwithstanding Valeant’s right to a clawback, Valeant’s Board has taken no public action to

  recover payments to Pearson, Schiller, or the other executives.

         316.    To the contrary, a month after announcing that Pearson would be replaced as the

  CEO, the Company retroactively modified his employment agreement to provide him with a $2

  million salary for 2016, along with other financial benefits, although Pearson was supposed to




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  receive a performance bonus but no salary for 2016. Valeant has since provided him a $9 million

  severance.

         317.    Similarly, Valeant’s purchase option agreement with Philidor provides broad

  indemnification rights to the Company, including that Philidor “shall indemnify, defend, and

  hold harmless” Valeant “from and against any and all Losses” to Valeant “as a result of the

  operation of the Pharmacy or the performance by the Pharmacy of its duties.” However, the

  purchase option agreement further provides that such liability “shall be reduced by the extent . . .

  that such Losses are caused by or arise out of (a) the negligence or intentional misconduct of

  Manufacturer . . . .” Rather than pursue its claims against Philidor, Valeant entered into a mutual

  release with Philidor, effective as of November 1, 2015.

         318.    The allegations above make clear why Valeant has been unwilling to pursue

  claims against its executives or Philidor—the improper actions that they engaged in were central

  to Valeant’s improper and unsustainable business strategy, and were designed and implemented

  at the highest levels of the Company.

         D.      Executive Departures

         319.    Widespread executive and director departures, including the Individual

  Defendants and many Enterprise members, in close temporal proximity to revelations regarding

  the deceptive practices by Valeant and Philidor, further support an inference of scienter.

         320.    On April 29, 2015, just a few months before the scandal would reach the public

  and just after the false 2014 financial statements were issued, Valeant announced that Schiller

  would be leaving his position as CFO once a successor was appointed.

         321.    Kornwasser left the Company in July 2015. CNBC subsequently attempted to

  contact Kornwasser, but received a call from Valeant’s crisis management department who said


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  Kornwasser was not interested in discussing Valeant or Philidor. Representative Cummings

  noted Kornwasser was never made available when the House Oversight Committee asked

  Valeant to produce him for an interview.

         322.    On or about March 2, 2016, it was reported that Jorn, head of the U.S.

  Gastrointestinal and Dermatology divisions, was leaving the company “effective immediately.”

  Jorn was responsible for some of Valeant’s top selling drugs, including Jublia, a dermatology

  drug that was sold in massive quantities through Philidor.

         323.    On March 21, 2016, Valeant issued a press release regarding the restatement and

  material weaknesses of its internal controls. It also confirmed Pearson would be leaving the

  Company. Moreover, the Company admitted that Schiller and Carro engaged in “improper

  conduct” and provided inaccurate information to the Ad Hoc Committee investigating the false

  revenues. Schiller was asked to resign from the Board. Carro was replaced as controller. Thus,

  the Ad Hoc Committee review resulted in Pearson, Schiller, and Carro being forced out of

  Valeant.

         324.    On April 29, 2016, Valeant announced that seven of its board members would not

  be standing for re-election. This included Pearson and Schiller, as well as Mason Morfit (of

  ValueAct), Provencio (chair of the Audit Committee), Goggins, Farmer, and Melas-Kyriazi

  (member of the Audit Committee). Notably, Provencio, Goggins, and Morfit were also members

  of the Ad Hoc Committee.

         325.    On May 20, 2016, Valeant stated in a filing with the SEC that Stolz had resigned

  as Senior Vice President of Neurology, Dentistry and Generics. Stolz had been involved in both

  the price increases and the pricing discounts Pearson promised Congress but failed to deliver.




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         E.      Executive Compensation

         326.    Valeant’s unusual compensation structure provided incredibly rich compensation

  packages based on achieving increasingly challenging performance goals, backed by the threat of

  termination. This emphasis on results over ethics led to a culture of, and motive to engage in,

  fraudulent practices.

         327.    For example, at a May 28, 2014 conference, Pearson stated “there’s been a lot of

  turnover at the senior ranks; but that has been, by and large, our decision, not their decisions, as

  we continue to upgrade talent.” Pearson bluntly acknowledged “[t]here’s no tenure at Valeant.

  It’s up and out. . . . It’s more like a professional services firm than a sort of traditional

  pharmaceutical company.” Pearson also admitted that the compensation system at Valeant was

  entirely dependent on increasing the stock price, stating: “So, our Company senior management

  and the Board—we—there’s only one metric that really counts, and it’s total return to

  shareholders. That’s how we’re paid. We have a unique pay model, that at least we—at least—if

  we don’t at least achieve a 15% total return to shareholders each year, compounded annual

  growth rate, that basically the equity we receive in terms of our stock grabs is worth nothing.”

         328.    A December 12, 2013 Board of Directors presentation regarding Valeant’s 2014

  budget reflected these aggressive targets. The presentation noted that “[b]udget reflects stretched

  targets for all business units,” and there would be “[n]o bonuses to be paid for performance

  <90% of base budget.”

         329.    While executives who missed budgets were punished with forfeiture of bonuses

  or worse, Valeant’s highest ranking executives received millions of dollars for achieving the

  increasingly aggressive financial targets. For example, in 2014, Pearson’s base compensation

  was $2 million and Schiller’s was $1 million. However, under the bonus program they could


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  earn multiples of their base salary. That year, Pearson received an $8 million bonus, four times

  his base compensation, and Schiller received a $2.4 million bonus, 2.4 times his base

  compensation.

          330.    The lavish salaries and bonuses paled in comparison to the rewards for inflating

  Valeant’s stock price as high as possible until 2017. Industry observers noted that Valeant’s

  compensation scheme paid Pearson “like a hedge fund manager.” For example, on April 22,

  2014, the Company filed a proxy statement with the SEC disclosing that the value of Pearson’s

  shares on March 31, 2014 was approximately $1.3 billion.

          331.    The compensation program provided Pearson the opportunity to become a

  billionaire and obtain wealth far beyond even a typical highly paid CEO. It also incentivized

  Pearson and other Valeant executives to use any means necessary to increase the stock price

  through 2017 at the expense of the long-term health of the Company and shareholder interests.

          332.    Moreover, Pearson was allowed to effectively cash out a portion of his stock,

  pledging it as collateral for $100 million loaned to him by Goldman Sachs in 2014.

          333.    With such powerful incentives, Pearson made statements to drive up the stock

  price, including in an October 27, 2014 letter Pearson wrote to Allergan’s Board of Directors,

  which was publicly disclosed by the Company. In it, Pearson stated: “We believe our stock is

  trading at artificially low levels.”

          334.    On January 13, 2015, the Company filed a Form 8-K with the SEC announcing it

  had entered into an amended and restated employment agreement with Pearson. Pearson stopped

  earning an annual base salary, but his “target bonus opportunity” was increased from $6 million

  to $10 million. Again, as large as it was, the cash bonus paled in comparison to the hundreds of




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  millions of dollars in compensation Pearson would receive if he successfully drove Valeant’s

  share price higher.

         335.    During the relevant period, millions of dollars of Schiller’s executive

  compensation hinged on meeting challenging share price increases. On top of their extreme

  compensation, Pearson and Schiller were permitted personal use of Valeant’s $60 million fleet of

  private jets, which they used to fly friends and family for vacations.

         336.    On March 21, 2016, the Company admitted that its aggressive compensation and

  performance goal practices contributed to the wrongdoing stating: “the Company has determined

  that the tone at the top of the organization and the performance-based environment at the

  Company, where challenging targets were set and achieving those targets was a key performance

  expectation, may have been contributing factors resulting in the Company’s improper revenue

  recognition” and other misconduct detailed in the press release. This “tone” was created by

  Pearson, among others, who recklessly disregarded that by imposing aggressive revenue targets,

  he had created a corporate culture that encouraged manipulation of revenue recognition and

  facilitated channel stuffing.

         337.    The “tone at the top” material weakness further supports an inference of scienter

  as accounting and internal control guidance makes clear the importance “top management” has

  in setting an appropriate tone. See SEC Staff Accounting Bulletin No. 99. As CEO during the

  relevant period, Pearson had ultimate responsibility for Valeant’s internal control system and

  setting the “tone at the top” to prioritize ethical business and accounting practices and

  compliance over personal financial compensation, which he recklessly failed to do. As the

  COSO Framework states, “[t]he influence of the CEO on an entire organization cannot be

  overstated.” COSO Framework at 84.

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         F.      Inflating Valeant’s Stock Price To Facilitate Acquisitions

         338.    In addition to personal compensation, the Individual Defendants had motive to

  conceal their fraudulent business practices described herein to artificially inflate Valeant’s stock

  price to more cheaply acquire other companies and continue its acquisition strategy.

         339.    For example, in May 2014, Valeant offered cash and shares of Valeant stock in

  exchange for Allergan shares of stock. Thus, Defendants had an incentive to increase the price of

  Valeant shares to hit or exceed their $46 billion offer to Allergan, which was to be substantially

  funded with Valeant shares.

         340.    Valeant also took advantage of the artificially inflated price of its securities to

  conduct numerous debt and equity offerings during the relevant period, including one of the

  largest high-yield debt offerings in history, which generated in the aggregate nearly $15 billion

  of cash for the Company from the investing public at artificially inflated prices. Valeant also

  used proceeds from an approximately $10.1 billion offering of senior notes in March 2015 to

  acquire Salix, and proceeds from a $3.2 billion offering of senior notes in July 2013 to acquire

  Bausch & Lomb.

         G.      Internal Valeant Communications and Congressional Testimony

         341.    Pearson and Schiller knew, or at the very least recklessly disregarded, that

  between January 1, 2013 and September 30, 2015, Valeant’s steep revenue growth was driven

  not by organic volume increases, but rather primarily by Valeant’s unsustainable practice of

  acquiring medications and drastically increasing their prices. Indeed both Pearson and Schiller

  have since admitted that Valeant’s growth was the result of price increases, and not what was

  previously represented to the market.




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         342.    In reaction to Allergan’s public challenges to Valeant’s business model, Pearson

  repeatedly led investors to believe that Valeant did not rely heavily on price increases to drive

  revenue growth. After one instance, when Pearson told investors on May 21, 2015 that “organic

  growth is more volume than price and will continue to be,” Schiller sent him an email with the

  subject line “price/volume” in which he corrected Pearson: “Last night, one of the investors

  asked about price versus volume for Q1. Excluding [M]arathon, price represented about 60% of

  our growth. If you include [M]arathon, price represents about 80%.” Despite this clear internal

  awareness that price was the dominant driver of revenue, Pearson never retracted his statement.

  Indeed, he continued to make misleading statements about the role of price in revenue growth.

  For example, on July 23, 2015, he claimed that Valeant’s “base strategy is, how do we grow

  organically through volume[.]”

         343.    On April 27, 2016, Pearson appeared before Congress. In his prepared remarks,

  Pearson confessed that Valeant had “made mistakes” and that he was too aggressive in seeking

  price increases to drive revenue: “[T]he company was too aggressive—and I, as its leader, was

  too aggressive—in pursuing price increases on certain drugs. Let me state plainly that it was a

  mistake to pursue, and in hindsight I regret pursuing, transactions where a central premise was

  planned increase in the prices of the medicines . . . .”

         344.    Schiller later confirmed that 80% of Valeant’s growth in the first quarter of 2015

  was the result of price increases in his February 4, 2016 testimony before Congress.

         345.    During that hearing, Pearson was questioned by Senator Claire McCaskill about

  whether growth was driven by price rather than volume between the first quarter of 2013 and the

  third quarter of 2015 for all but one quarter. In response, Pearson admitted that, “Yes, pricing has

  driven more growth than volume.”

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         346.    Indeed, as discussed in ¶¶ 65–74, Valeant’s practice of driving revenue growth

  through price increases was devised in late 2012 by Pearson, Schiller, and other top executives,

  and formed the core of its operations. Rather than follow the traditional model of developing new

  drugs by investing in R&D, Pearson and Schiller implemented a strategy of acquiring already

  developed drugs and increasing revenues through price hikes. Pearson and Schiller were thus

  well aware that organic volume increases were not the primary driver of Valeant’s revenue

  growth.

  VIII. RELIANCE

         347.    During the relevant period, Plaintiff reasonably relied on the material

  misstatements alleged herein when purchasing Valeant securities.

         348.    There is a presumption of reliance established by the fraud-on-the-market doctrine

  because, among other things:

                 (a)     The Defendants made public misrepresentations or failed to disclose

  material facts during the relevant period;

                 (b)     The misrepresentations and omissions were material;

                 (c)     The Company’s securities traded in efficient markets;

                 (d)     The misrepresentations and omissions alleged would induce a reasonable

  investor to misjudge the value of the Company’s securities; and

                 (e)     Plaintiff purchased Valeant securities between the time Defendants

  misrepresented or failed to disclose material facts, and the time the true facts were disclosed

  without knowledge of the misrepresented or omitted facts.

         349.    At all relevant times, the market for Valeant’s securities was efficient for the

  following reasons, among others:


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                 (a)     Valeant’s common stock met the requirements for listing, and was listed

  and actively traded on the NYSE and the TSX, highly efficient and automated markets;

                 (b)     As a regulated issuer, Valeant filed periodic reports with the SEC and the

  NYSE;

                 (c)     Valeant regularly communicated with public investors via established

  market communication mechanisms, including through regular disseminations of press releases

  on the national circuits of major newswire services and through other wide-ranging public

  disclosures, such as communications with the financial press and other similar reporting services;

  and

                 (d)     Valeant was covered by the following analysts during the relevant period:

  Piper Jaffray; Deutsche Bank Markets Research; Wells Fargo Securities; J.P. Morgan; RBC

  Capital Markets; TD Securities Inc.; Scotiabank Equity Research; Morgan Stanley; Canaccord

  Genuity; BMO Capital Markets; Sadif Analytics; BTIG LLC; Morningstar Equity Research;

  Guggenheim; Evercore ISI; CIBC World Markets; Minkabu; Rodman & Renshaw; Moody’s

  Investor Services; and Wright Investor Services.

          350.   As a result of the foregoing, the market for Valeant’s securities promptly digested

  current information regarding Valeant from all publicly available sources and reflected such

  information in the price of Valeant securities. Under these circumstances, all purchasers of

  Valeant securities during the relevant period suffered similar injury through their purchase of

  Valeant securities at artificially inflated prices, and a presumption of reliance applies.

          351.   Plaintiff is also entitled to a presumption of reliance under Affiliated Ute Citizens

  of Utah v. United States, 406 U.S. 128 (1972), because the claims asserted herein against




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  Defendants are primarily predicated upon omissions of material fact for which there was a duty

  to disclose.

          352.   In addition, Plaintiff directly relied on Defendants’ false and misleading

  statements alleged herein when deciding to purchase Valeant securities.

          353.   For example, during the relevant period, Plaintiff engaged certain investment

  managers (“Investment Managers”) to manage its investment portfolio and to make investment

  decisions on its behalf. Throughout the relevant period, on behalf of Plaintiff, the Investment

  Managers undertook rigorous, security-specific research to identify companies that have superior

  business models, strong cash flows and the opportunity to generate consistent, long-term growth

  of intrinsic business value.

          354.   The Investment Managers employed an analytical, research-based approach to

  determine whether to buy, sell, and/or hold securities on behalf of Plaintiff. Consistent with this

  approach, in making investment decisions regarding Valeant on behalf of Plaintiff, the

  Investment Managers relied on numerous sources of information, including: (a) Valeant’s public

  statements, plans, and press releases; (b) Valeant’s corporate website and materials posted on its

  website; (c) analyst reports and earnings conference calls involving Valeant; (d) Valeant’s

  periodic securities filings with the SEC and the NYSE, including its Forms 10-K; (e) other

  regulatory filings and reports regarding Valeant; and (f) industry conferences and conference

  transcripts involving Valeant.

          355.   The Investment Managers continually monitored these sources of information as

  they became available to the market, and incorporated any new relevant information into their

  valuation of the Company and its securities. The Investment Managers used this valuation as a




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  key consideration to determine whether to purchase, hold, or sell Valeant securities on behalf of

  Plaintiff.

          356.   For example, prior to making the decision to purchase Valeant securities on

  behalf of Plaintiff, the Investment Managers followed a process by which they read and reviewed

  Valeant’s prior SEC filings.

          357.   As part of this process, prior to purchasing Valeant securities on behalf of

  Plaintiff, the Investment Managers read, reviewed, and relied on Valeant’s 2013 Form 10-K,

  including, among other statements, Defendants’ statements that the financial statements therein

  were “prepared in accordance with U.S. generally accepted accounting principles” and that

  management had performed an evaluation of Valeant’s internal controls over financial reporting

  and of Valeant’s disclosure controls and procedures, and had concluded that such internal

  controls over financial reporting and disclosure controls and procedures were effective as of

  December 31, 2013.

          358.   The Investment Managers continued to read and review Valeant’s SEC filings

  throughout the period in which it purchased Valeant securities on behalf of Plaintiff, and relied

  on these filings in making its decisions to buy and hold Valeant securities on behalf of Plaintiff.

  For example, prior to making purchases of Valeant securities on behalf of Plaintiff, the

  Investment Managers read, reviewed, and reasonably relied upon Valeant’s 3Q2014 Form 10-Q

  and associated Form 8-K, including (a) that the financial statements therein were prepared in

  accordance with U.S. generally accepted accounting principles; (b) Valeant’s reported revenues;

  and (c) that there were no changes since the 2013 Form 10-K that would have materially affected

  Valeant’s internal controls over financial reporting.




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         359.    Similarly, the Investment Managers read, reviewed, and reasonably relied upon

  Valeant’s 2014 Form 10-K in making the decision to hold Valeant securities and buy additional

  Valeant securities on behalf of Plaintiff, including: (a) Defendants’ statements that the financial

  statements therein were “prepared in accordance with U.S. generally accepted accounting

  principles”; (b) Valeant’s reported revenues; and (c) statements that management had performed

  an evaluation of Valeant’s internal controls over financial reporting and of Valeant’s disclosure

  controls and procedures, and had concluded that such internal controls over financial reporting

  and disclosure controls and procedures were effective as of December 31, 2014.

         360.    Similarly, the Investment Managers read, reviewed, and reasonably relied upon

  Valeant’s 1Q2015 Form 10-Q, 2Q2015 Form 10-Q, 3Q2015 Form 10-Q, and associated Form 8-

  Ks including the financial statements contained therein and Defendants’ statements that

  management had conducted an evaluation of Valeant’s disclosure controls and procedures, that

  such disclosure controls and procedures were effective as of the end of the applicable period, and

  that there had been no changes in Valeant’s internal controls over financial reporting that

  occurred during the applicable period. The Investment Managers continued to purchase

  additional Valeant securities on behalf of Plaintiff in reliance upon these statements.

         361.    The above referenced statements were relevant to the Investment Managers’

  decisions to purchase Valeant securities on behalf of Plaintiff. For example, Defendants’

  statements concerning the preparation of Valeant’s financial statements in accordance with

  GAAP were relevant because the preparation of financial statements in accordance with GAAP

  ensures that those financial statements are accurate. Similarly, Defendants’ assurances that

  Valeant maintained effective internal controls, including over financial reporting, were relevant,

  as a lack of adequate internal controls would have been viewed as a red flag.

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  IX.      LOSS CAUSATION

           362.   During the relevant period, as detailed herein, Defendants engaged in a course of

  conduct that artificially inflated the price of Valeant securities and operated as a fraud or deceit

  on Plaintiff by making the materially false and misleading statements and omissions recited

  above.

           363.   Defendants’ false and misleading statements and material omissions caused, or

  were a substantial contributing factor, in causing Valeant securities to trade at artificially inflated

  prices between January 15, 2013 and April 15, 2016, when Plaintiff’s Investment Managers

  purchased the Valeant securities on its behalf. As a series of partial disclosures corrected

  Defendants’ statements, the artificial inflation was removed from the price of Valeant’s

  securities and the price of Valeant securities declined, causing substantial damage to Plaintiff.

           364.   Each of the declines discussed above in the price of the Valeant securities was

  statistically significant at a high level after taking into account changes on the same days in the

  overall securities market and in relevant industry indices. Furthermore, as set forth above, each

  of the price declines in Valeant’s securities is attributable to the disclosure of previously

  concealed information relating to the materially false and misleading statements and omissions

  alleged herein. The timing and magnitude of the price declines negate any inference that the

  losses suffered by Plaintiff were caused by other changed market conditions, macroeconomic or

  industry factors, or Company-specific facts unrelated to the alleged fraudulent conduct. As the

  truth about the fraud was revealed, the price of Valeant securities declined, the artificial inflation

  was removed, and Plaintiff suffered damages.




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  X.     NO SAFE HARBOR

         365.    The statutory safe harbor provided for forward-looking statements under certain

  circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

  The specific statements pleaded herein were not “forward-looking statements” nor were they

  identified as “forward-looking statements” when made. Nor was it stated with respect to any of

  the statements forming the basis of this Complaint that actual results “could differ materially

  from those projected.” To the extent there were any forward-looking statements, there were no

  meaningful cautionary statements identifying important factors that could cause actual results to

  differ materially from those in the purportedly forward-looking statements. Alternatively, to the

  extent that the statutory safe harbor does apply to any forward-looking statements pleaded

  herein, Defendants are liable for those false forward-looking statements because at the time each

  of those forward-looking statements was made, the particular speaker knew that the particular

  forward-looking statement was false, and/or the forward-looking statement was authorized

  and/or approved by an executive officer of Valeant who knew that those statements were false

  when made.

  XI.    DAMAGES

         366.    As described herein, Defendants engaged in the Enterprise to personally enrich

  individual members and to artificially inflate the price of Valeant securities. Pursuant to that

  scheme, Defendants made numerous false and misleading statements and omissions concerning

  material information about Valeant, Philidor, and other members of the Enterprise. This unlawful

  course of conduct, and specifically the Enterprise’s misinformation campaign, had the effect of

  artificially inflating the price of Valeant securities and causing Valeant Notes and common stock

  to trade at inflated values at all relevant times prior to exposure of the Enterprise and its scheme.


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         367.    Defendants’ materially false and misleading statements and omissions in

  furtherance of the Enterprise’s scheme were highly material to investors in Valeant securities.

         368.    Specifically, the Enterprise executed a misinformation campaign, which

  purposely concealed Valeant’s fundamental business model and falsely attributed Valeant

  performance to having a valuable portfolio of drugs, increased sales volume, and superior

  marketing capabilities rather than disclose Valeant’s true business model, which consisted of

  acquisitions of drugs, price gouging of those drugs, and then deceptive and illegal sales practices

  to ensure sales of those drugs. These matters were material to investors because Valeant’s true

  business model was in fact inherently flawed, unsustainable, and repugnant.

         369.    Defendants’ unlawful course of conduct under the Enterprise’s scheme, and

  specifically the misinformation campaign, are particularly egregious because Valeant investors

  necessarily experience an information deficit concerning the internal workings of Valeant, and

  they must therefore depend upon Valeant and its agents to fully and truthfully represent

  information about the company, its operations, and other factors that impact the value of its

  securities. Plaintiff placed substantial trust in Valeant and other members of the Enterprise to

  perform their roles in good faith, and Defendants’ breaches of Plaintiff’s trust through the

  Enterprise’s misinformation campaign and other unlawful conduct are thus highly material to

  investors.

         370.    The materiality of Defendants’ misinformation campaign is evidenced by the

  inflated price at which Valeant securities were trading during the misinformation campaign, as

  compared with the massively reduced prices that Valeant securities traded for after the Enterprise

  was exposed, and the market reacted to the revelation of Valeant’s true business model, its price

  gouging, and deceptive and illegal sales practices.

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         371.    As a result of the Defendants’ participation in the Enterprise’s fraudulent scheme,

  and the misinformation campaign executed in connection therewith, at all relevant times,

  Plaintiff, and all other Valeant investors, invested in Valeant securities at prices which were

  artificially inflated. Valeant securities would not have traded at the inflated prices that they did if

  Defendants had disclosed to investors the true nature of Valeant’s business model. Thus, in

  reliance on Defendants’ and the Enterprise’s materially misleading misinformation campaign,

  Plaintiff purchased Valeant securities at significantly higher prices than their actual value.

         372.    Had Plaintiff known the truth hidden by the Defendants’ and the Enterprise’s

  misinformation campaign, it would not have purchased Valeant securities at the prices it did.

  Indeed, Plaintiff may not have invested in Valeant at all in the face of the inherently

  unsustainable and risky business model on which Valeant was truly operating.

         373.    When the Enterprise’s fraudulent scheme was exposed, and the true nature of

  Valeant’s unsustainable and risky business model was exposed, the value of Valeant securities

  plummeted over 90%, wiping out tens of billions of dollars in value, and causing enormous

  losses to Plaintiff and other Valeant investors.

         374.    Accordingly, Defendants’ participation in the Enterprise’s fraudulent scheme, and

  the misinformation campaign, material misrepresentations, and omissions executed in connection

  therewith, were the proximate causes of the damages Plaintiff has sustained in connection with

  its investments in Valeant securities.

  XII.   CAUSES OF ACTION

                                               COUNT I

              RACKETEERING IN VIOLATION OF N.J. STAT. ANN. 2C:41-2(c)
                             (Against all Defendants)

         375.    Plaintiff restates each and every allegation of ¶¶ 1–374 as if fully set forth herein.

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         376.      Defendants are persons within the meaning of N.J. STAT. ANN. 2C:41-1(b).

         377.      Defendants comprise an association, associations and or/are associated-in-fact

  Enterprise as those terms are defined in N.J. STAT. ANN. 2C:41-1(c). The Enterprise has an

  existence beyond that which is merely necessary to commit predicate acts and, among other

  things, oversaw and coordinated the commission of numerous predicate acts on an on-going

  basis in furtherance of the scheme and efforts to conceal the scheme, each of which caused direct

  injury to Plaintiff. The Enterprise was operated, managed, and controlled by, among others,

  Valeant, Pearson, Schiller, Rosiello, Carro, Philidor, and Andrew Davenport.

         378.      During the relevant period, Defendants agreed to conduct and participate in, and

  conducted and participated in, the Enterprise’s scheme through a pattern of racketeering activity

  within the meaning of N.J. STAT. ANN. 2C:41-1(d). Defendants’ conduct involved more than two

  incidents of racketeering conduct, and therefore constituted a pattern of racketeering activity

  within the meaning of N.J. STAT. ANN. 2C:41-1(d)(1). This pattern consisted of repeated,

  continuous incidents of racketeering activity that had the same or similar purposes, results,

  participants, victims, or methods of commission, and are interrelated by distinguishing

  characteristics rather than isolated incidents within the meaning of N.J. STAT. ANN.

  2C:41-1(d)(2).

         379.      It was the purpose of the Enterprise to create and disseminate false and

  misleading statements and information concerning Valeant and its operations, with the objective

  of misleading investors, including Plaintiff, and profiting by that conduct through the sale of

  publicly-traded Valeant securities, which were inflated to unjustifiable prices. This extensive

  market-manipulation scheme was intended to, and did, provide substantial profits to the

  Enterprise’s members and caused enormous harm to Plaintiff. The Enterprise operated by the

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  Defendants achieved these objectives by the conduct of racketeering activity, including, among

  other conduct:

                    (a)    astronomical price gouging;

                    (b)    creating a nationwide network of secret captive pharmacies designed to

  conceal the Enterprise’s efforts to ensure sales of Valeant’s price-gouged drugs;

                    (c)    employing deceptive and illegal practices in the filling of prescriptions and

  seeking of reimbursements from insurers to ensure sales of, and reimbursements for, Valeant’s

  price-gouged drugs;

                    (d)    misleading patients, doctors, insurers and other end payors to ensure sales

  of Valeant’s price-gouged drugs;

                    (e)    misleading the investing public as to the nature of Valeant’s business

  model, its current operations, and its future prospects; and

                    (f)    committing accounting fraud and other violations of GAAP in furtherance

  of the Enterprise’s common goal of inflating the price of Valeant securities.

         380.       The Defendants knowingly and intentionally participated in the conduct of the

  Enterprise, and the entities and enterprises associated with the Enterprise, directly and indirectly

  through a pattern of racketeering activity, including by committing, among others, the following

  predicate acts:

                    (a)    fraud in the offering, sale, and purchase of securities in violation of

  N.J. STAT. ANN. 49:3-71 and 15 U.S.C. §§ 78j and 78ff, and 17 C.F.R. § 240.10b-5, which are

  incorporated as racketeering activity under N.J. STAT. ANN. 2C:41-1(a)(1)(p);




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                       (b)       use of the wires in the United States or foreign commerce to commit a

  fraud in violation of 18 U.S.C. § 1343, which is incorporated as “racketeering activity” under the

  NJ RICO statute pursuant to N.J. STAT. ANN. 2C:41-1(a)(2);

                       (c)       use of the mails in the United States to commit a fraud in violation of

  18 U.S.C.        §         1341,     which     is         incorporated        as        “racketeering     activity”      under

  N.J. STAT. ANN. 2C:41-1(a)(2);

                       (d)       fraudulent concealment of racketeering activity and other fraudulent

  practices, including numerous false and misleading statements and omissions for the purpose of

  promoting the sale of securities in violation of N.J. STAT. ANN. 2C:21-7(i), which is incorporated

  as racketeering activity under N.J. STAT. ANN. 2C:41-1(a)(1)(o);

                       (e)       use, control, and operation of Valeant and Philidor, among other corporate

  entities    in       furtherance      and      promotion           of      criminal       objectives     in     violation   of

  N.J. STAT. ANN. 2C:21-9(c),             which            is    incorporated         as    racketeering        activity   under

  N.J. STAT. ANN. 2C:41-1(a)(1)(o);

                       (f)       perpetration     of        an     illegal     kickback        scheme      in     violation   of

  N.J. STAT. ANN. 2C:21-10,              which         is       incorporated         as     racketeering        activity   under

  N.J. STAT. ANN. 2C:41-1(a)(1)(o);

                       (g)       money laundering in violation of N.J. STAT. ANN. 2C:21-25, which is

  incorporated as racketeering activity under N.J. STAT. ANN. 2C:41-1(a)(1)(o), and in violation of

  18    U.S.C.          §      1956,     which        is        incorporated         as     racketeering        activity   under

  N.J. STAT. ANN. 2C:41-1(a)(2);




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                 (h)     interstate travel or transportation in aid of the Enterprise in violation of

  18 U.S.C.A.    §     1952,   which     is   incorporated    as    racketeering    activity   under

  N.J. STAT. ANN. 2C:41-1(a)(2); and

                 (i)     illegal monetary transactions in violation of 18 U.S.C. § 1957, which is

  incorporated as racketeering activity under N.J. STAT. ANN. 2C:41-1(a)(2).

         381.    As set forth herein, beginning at least as early as January 2013, as part of their

  pattern of racketeering activities and in furtherance of and to assist their manipulative scheme,

  each of the Defendants knowingly, willfully, and unlawfully made misrepresentations or

  omissions of material fact for the purpose of improperly inflating the price of Valeant securities

  by misleading Plaintiff and the investing public concerning Valeant’s business model and

  sustainability, engaging in massive, improper price gouging and deceptive and illegal sales

  practices, misleading patients, doctors, and insurers and other end payors to ensure sales of and

  reimbursement for Valeant products, creating and disseminating false and misleading reports and

  information concerning Valeant’s performance, including by committing accounting fraud,

  among other fraudulent conduct, all for the unlawful purpose of inducing investors to buy and

  own Valeant securities at ever-rising prices. Such actions were intended to, and did, constitute

  false statements of material fact and/or omissions of material fact, on which Defendants intended

  for Plaintiff and the investing public to rely, and on which Plaintiff and the investing public

  reasonably relied in electing to purchase and own Valeant securities, which they would not have

  done but for Defendants’ fraudulent conduct. Such misrepresentations and omissions, constitute

  securities fraud in violation of N.J. STAT. ANN. 49:3-70 and N.J. STAT. ANN. 2C:2-6, which

  conduct independently constitutes violations of 15 U.S.C. §§ 78j and 78ff, and

  17 C.F.R. § 240.10b-5.

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         382.    As set forth herein, in furtherance of and for the purpose of executing and

  attempting to execute the Enterprise’s scheme, each of the Defendants, on numerous occasions,

  used and caused to be used wire communications in interstate and foreign commerce and the

  U.S. mails by both making and causing to be made wire communications and mailings. These

  wire communications and mailings were made, among other reasons, for the purposes of

  (i) communicating with one another to effectuate the dissemination of false and misleading

  statements and information necessary to perpetrate the Enterprise’s scheme to improperly inflate

  the price of Valeant securities, and harm Plaintiff, among other investors, (ii) disseminating false

  and misleading statements and information concerning the Valeant business model and the

  corresponding value of Valeant securities; and (iii) coordinating their manipulation of the market

  for Valeant securities. These false wire communications caused direct injury to Plaintiff’s

  businesses and property.

         383.    Each use of a wire communication and/or mailing as described herein in

  connection with the Enterprise’s scheme constitutes a separate and distinct violation of

  N.J. STAT. ANN. 2C:41-1(a)(2), by virtue of violating the incorporated federal predicate acts

  proscribed by 18 U.S.C. §§ 1341 and/or 1343. The Defendants used the wires and mails to

  perpetrate their fraudulent scheme and to disseminate the fraudulent statements and

  misinformation concerning Valeant’s business model and the value of Valeant securities, and

  each caused direct injury to Plaintiff’s business and property.

         384.    Defendants also spoke on the phone and used electronic mail and U.S. mail

  regularly to conduct the activities of the Enterprise, causing direct injury to Plaintiff. The total

  number of phone calls, e-mails, and mailings, is not yet known, nor are the identities of all




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  Enterprise members, but each such call, e-mail, and U.S. mailing as described herein constitutes

  a separate mail or wire communication in furtherance of the Enterprise’s fraudulent scheme.

         385.    As set forth herein, throughout the duration of the Enterprise’s fraudulent scheme,

  from receipt of the first ill-gotten proceeds of the Enterprise, Defendants have transported and/or

  possessed property they knew or reasonably should have believed to be derived from their

  criminal activity. In furtherance of the Enterprise, Defendants engaged in myriad transactions

  involving the proceeds of their fraudulent scheme, property that Defendants knew or reasonably

  should have believed to be derived from criminal activity, with the intent to facilitate and/or

  promote the criminal activity underlying the Enterprise and with knowledge that the transactions

  were designed in whole or in part to conceal or disguise the nature, location, source, ownership,

  or control of such proceeds, and/or to avoid reporting requirements under law. In addition to

  participating directly in this misconduct, Defendants directed, organized, financed, planned,

  managed, supervised, and/or controlled such conduct. This conduct constitutes money laundering

  in violation of N.J. STAT. ANN. 2C:21-25, which is incorporated as racketeering activity under

  N.J. STAT. ANN. 2C:41-1(a)(1)(o), and in violation of 18 U.S.C.A. § 1956, which is incorporated

  as racketeering activity under N.J. STAT. ANN. 2C:41-1(a)(2).

         386.    Defendants made numerous false and misleading written statements in the form of

  press releases, proxy statements, annual reports, and security filings with regulatory agencies, for

  the purpose of promoting the sale of securities, and omitted information required by law to be

  disclosed in written documents relating to those securities. This conduct constitutes fraudulent

  concealment of racketeering activity and other fraudulent practices, including the making of false

  and misleading statements and omissions for the purpose of promoting the sale of securities in




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  violation of N.J. STAT. ANN. 2C:21-7(i), which is incorporated as racketeering activity under

  N.J. STAT. ANN. 2C:41-1(a)(1)(o) and (p).

         387.    In furtherance of the Enterprise, Defendants traveled in interstate and/or foreign

  commerce and used the mail and other facilities in interstate or foreign commerce to promote,

  manage, establish, carry on, or facilitate the promotion, management, establishment, or carrying

  on, of the unlawful activities underlying the Enterprise, as set forth herein. Specifically, as set

  forth above, Defendants travelled between Valeant’s headquarters in New Jersey to Philidor’s

  offices in Pennsylvania, among other states in the United States, to facilitate acquisitions of

  pharmaceutical companies and/or pharmacies to facilitate and expand the Enterprise’s fraudulent

  scheme. Likewise, as set forth above, Defendants employed the mail in furtherance of the

  Enterprise’s fraudulent scheme. This conduct constitutes interstate travel or transportation in aid

  of the Enterprise in violation of 18 U.S.C.A. § 1952, which is incorporated as racketeering

  activity under N.J. STAT. ANN. 2C:41-1(a)(2).

         388.    Defendants have knowingly engaged and/or attempted to engage in monetary

  transactions in criminally derived property, including the proceeds of the Enterprise’s fraudulent

  scheme, of a value greater than $10,000 within the United States, which was derived from the

  unlawful activities set forth herein. This conduct constitutes illegal monetary transactions in

  violation of 18 U.S.C. § 1957, which is incorporated as racketeering activity under

  N.J. STAT. ANN. 2C:41-1(a)(2).

         389.    Each of the predicate acts referred to in the preceding paragraphs was for the

  purpose of executing the Enterprise’s fraudulent scheme, and Defendants and Enterprise

  members engaged in such acts with the specific intent of furthering that scheme, willfully and




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  with knowledge of its illegal and fraudulent nature. Each of the Defendants performed or

  participated in the performance of at least two of the predicate acts set forth herein.

         390.    The conduct and actions set forth herein were related to each other by virtue of

  common participants, common victims, common methods, and the common purpose and

  common result of a concerted campaign of misinformation concerning Valeant’s true business

  model, growth strategy, and sales practices to artificially inflate the value of Valeant securities

  and enrich the members of the Enterprise to the harm and detriment of Plaintiff, among other

  investors. The Defendants’ activities were interrelated, not isolated, and involved a calculated

  series of repeated violations of the law in order to conduct, conceal, and promote fraudulent

  activity. The Enterprise existed with the members identified herein and others yet unknown since

  at least 2008, and the conduct and activities continued through at least October 2015.

         391.    The Defendants’ willful and knowing direct and indirect participation in the

  Enterprise’s affairs through the pattern of racketeering and activity described herein constitutes a

  violation of N.J. STAT. ANN. 2C:41-2(c).

         392.    These violations of N.J. STAT. ANN. 2C:41-2(c) caused Plaintiff to suffer direct

  injury to its business and property through massive losses in investment opportunities and gains,

  and fees and expenses, caused by the Enterprise’s wrongful actions described herein. Plaintiff,

  therefore, is entitled to recover from the Defendants the amount in which it has been damaged, to

  be trebled in accordance with N.J. STAT. ANN. 2C:41-4(c), together with interest and the costs of

  this suit, including reasonable attorneys’ fees.

                                               COUNT II

              RACKETEERING IN VIOLATION OF N.J. STAT. ANN. 2C:41-2(d)
                              (Against all Defendants)

         393.    Plaintiff restates each and every allegation of ¶¶ 1–374 as if fully set forth herein.
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         394.    Beginning as early as January 2013, the Defendants and all members of the

  Enterprise agreed to facilitate the scheme described herein to manage, operate, conduct, and

  participate in the conduct of the affairs of the Enterprise and conspired to do the same within the

  meaning of N.J. STAT. ANN. 2C:5-2 through a pattern of racketeering activity within the meaning

  of N.J. STAT. ANN. 2C:41-2(d).

         395.    Each of the Defendants and enterprise members being persons intimately involved

  in the transactions carried on by and the affairs of the Enterprise—which was engaged in, and the

  activities of which affected, trade and commerce—unlawfully and willfully conspired,

  confederated, and agreed with each other to violate N.J. STAT. ANN. 2C:41-2(c), that is, to

  conduct and participate, directly and indirectly, in the conduct of the affairs of the Enterprise,

  through a pattern of racketeering activity, all in violation of N.J. STAT. ANN. 2C:41-2(d).

         396.    Part of the conspiracy was that each Defendant personally committed or agreed to

  commit two or more fraudulent and illegal racketeering acts and conducted and agreed to

  conduct the affairs of the Enterprise through the pattern of racketeering in violation of

  N.J. STAT. ANN. 2C:41-2(c) described above.

         397.    These violations of N.J. STAT. ANN. 2C:41-2(c) caused Plaintiff to suffer direct

  injury to its business and property through massive losses in investment opportunities and gains,

  and fees and expenses, caused by the Enterprise’s wrongful actions described herein. Plaintiff

  therefore, is entitled to recover from the Defendants the amount in which it has been damaged, to

  be trebled in accordance with N.J. STAT. ANN. 2C:41-4(c), together with interest and the costs of

  this suit, including reasonable attorneys’ fees.




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                                              COUNT III

                AIDING AND ABETTING RACKETEERING IN VIOLATION OF
                           N.J. STAT. ANN. 2C:41-2(c) AND (d)
                                  (Against all Defendants)

         398.    Plaintiff restates each and every allegation of ¶¶ 1–374 as if fully set forth herein.

         399.    Defendants aided and abetted the Enterprise in executing its fraudulent scheme

  and racketeering acts in violation of N.J. STAT. ANN. 2C:41-2(c) and (d) alleged herein.

  Defendants willingly, and substantially participated in the Enterprise’s fraudulent scheme with

  knowledge of the numerous violations of NJ RICO and the underlying pattern of racketeering

  activity perpetrated by the Enterprise.

         400.    Plaintiff was injured as a direct and proximate result of Defendant’s aiding and

  abetting the Enterprise’s violations of NJ RICO alleged herein.

                                              COUNT IV

   VIOLATIONS OF SECTION 10(b) OF THE SECURITIES EXCHANGE ACT OF 1934
                                AND RULE 10b-5
                (Against Defendants Valeant, Pearson, and Rosiello)

         401.    Plaintiff restates each and every allegation of ¶¶ 1–374 as if fully set forth herein.

         402.    This claim is brought by Plaintiff against Defendants Valeant, Pearson, and

  Rosiello violations of Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5

  promulgated thereunder for purchases of Valeant securities made before March 16, 2016.

         403.    During the relevant period, Defendants disseminated or approved the materially

  false and misleading statements specified above, which they knew or recklessly disregarded were

  misleading in that they misrepresented or omitted material facts necessary in order to make the

  statements made, in light of the circumstances under which they were made, not misleading.




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         404.    Defendants violated Section 10(b) of the Exchange Act and Rule 10b-5 in that

  they: (a) employed devices, schemes and artifices to defraud; (b) made untrue statements of

  material facts or omitted to state material facts necessary in order to make the statements made,

  in light of the circumstances under which they were made, not misleading; or (c) engaged in acts,

  practices and a course of business that operated as a fraud or deceit upon Plaintiff related to the

  purchase and/or acquisition of Valeant securities.

         405.    In addition to the duties of full disclosure imposed on the Defendants by their

  affirmative false and misleading statements to the public, Defendants had a duty under SEC

  Regulations S-X (17 C.F.R. §210.1, et seq.) and S-K (17 C.F.R. §229.10, et seq.) to promptly

  disseminate truthful information with respect to Valeant’s operations and performance that

  would be material to investors in compliance with the integrated disclosure provisions of the

  SEC, including with respect to the Company’s revenue and earnings trends, so that the market

  prices of the Company’s securities would be based on truthful, complete, and accurate

  information.

         406.    As a direct and proximate cause of Defendants’ wrongful conduct, Plaintiff

  suffered damages in connection with their purchases and acquisitions of Valeant securities in

  domestic transactions during the relevant period. In reliance on the integrity of the market,

  Plaintiff paid artificially inflated prices for Valeant securities and experienced losses when the

  artificial inflation was removed from the securities as a result of the revelations and price

  declines detailed herein. Plaintiff would not have purchased or acquired Valeant securities at the

  prices it paid, or at all, if it had been aware that those prices had been inflated by the Valeant

  Defendants’ misleading statements and omissions.




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         407.    By virtue of the conduct alleged herein, Defendants have each violated Section

  10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder, and are liable to Plaintiff.

                                             COUNT V

     VIOLATIONS OF SECTION 18 OF THE SECURITIES EXCHANGE ACT OF 1934
                 (Against Defendants Valeant, Pearson, and Rosiello)

         408.    Plaintiff repeats and realleges each and every allegation contained in ¶¶ 1–374

  above as if set forth herein. As to this Cause of Action, Plaintiff expressly disclaims any

  allegation of fraud or intentional misconduct.

         409.    This claim is brought by Plaintiff against Defendants Valeant, Pearson, and

  Rosiello violations of Section 18 of the Exchange Act, 15 U.S.C. § 78r, for purchases of Valeant

  securities made before March 16, 2016.

         410.    As alleged above, Defendants Valeant, Pearson, and Rosiello filed or caused to be

  filed with the SEC documents regarding Valeant that contained misrepresented material facts and

  omitted material facts necessary in order to make the statements made, in light of the

  circumstances under which they were made, not misleading.

         411.    As alleged herein, Defendants Valeant and Pearson caused (at least negligently)

  statements to be made in Valeant’s 2013 10-K, including statements concerning preparation of

  financial statements in accordance with GAAP, which statements were, at the time and in light of

  the circumstances under which they were made, false or misleading.

         412.    As alleged herein, Defendants Valeant and Pearson caused (at least negligently)

  statements to be made in Valeant’s 2014 10-K, including statements concerning preparation of

  financial statements in accordance with GAAP, the revenues reported for the quarter and year

  ended December 31, 2014, and the effectiveness of Valeant’s internal controls over financial



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  reporting and of Valeant’s disclosure controls and procedures, which statements were, at the time

  and in light of the circumstances under which they were made, false or misleading.

         413.      As alleged herein, Defendants named in this count caused (at least negligently)

  statements to be made in Valeant’s 3Q2014 10-Q, 1Q2015 10-Q, 2Q2015 10-Q, and/or 3Q2015

  10-Q, including statements concerning the lack of changes in Valeant’s internal controls over

  financial reporting and the effectiveness of Valeant’s disclosure controls and procedures, which

  statements were, at the time and in light of the circumstances under which they were made, false

  or misleading.

         414.      In purchasing Valeant’s securities, Plaintiff’s Investment Managers read,

  reviewed, and relied on Valeant’s 2013 10-K, 2014 10-K, 3Q2014 10-Q, 1Q2015 10-Q, 2Q2015

  10-Q, and 3Q2015 10-Q.

         415.      Specifically, Plaintiff’s Investment Managers read, reviewed, and relied upon

  information contained in Valeant’s 2013 10-K, 2014 10-K, 3Q2014 10-Q, 1Q2015 10-Q,

  2Q2015 10-Q, and 3Q2015 10-Q (to the extent each such document was on file with the SEC at

  the time) in making each purchase on behalf of Plaintiff, as described above in ¶¶ 347–61.

         416.      Had it known the true facts, Plaintiff would not have purchased the Valeant

  securities and/or would not have purchased them at the inflated prices it paid.

         417.      Upon disclosure of the true facts, the price of Valeant securities dropped, and

  Plaintiff suffered damages in an amount to be proven at trial.

         418.      By reason of the foregoing, Defendants Valeant, Pearson, and Rosiello are liable

  to Plaintiff for violations of Section 18 of the Exchange Act, 15 U.S.C. §78r.




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                                              COUNT VI

   VIOLATIONS OF SECTION 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
                   (Against Defendants Pearson and Rosiello)

          419.    Plaintiff repeats and realleges each and every allegation in ¶¶ 1–374 above as if

  fully set forth herein.

          420.    This claim is brought by Plaintiff against Defendants Pearson and Rosiello for

  violation of Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a) for purchases of Valeant

  securities made before March 16, 2016.

          421.    During their tenures as officers and/or directors of Valeant, Pearson, and Rosiello

  were controlling persons of Valeant within the meaning of Section 20(a) of the Exchange Act.

  By reason of their positions of control and authority as officers and/or directors of Valeant, these

  Defendants had the power and authority to cause Valeant to engage in the conduct complained of

  herein. These Defendants were able to, and did, control, directly and indirectly, the

  decision-making of Valeant, including the content and dissemination of Valeant’s public

  statements and filings described herein, thereby causing the dissemination of the materially false

  and misleading statements and omissions as alleged herein.

          422.    In their capacities as senior corporate officers and/or directors of Valeant, and as

  more fully described herein, Pearson and Rosiello participated in the misstatements and

  omissions set forth above. These Defendants had direct and supervisory involvement in the

  day-to-day operations of the Company, and had access to non-public information regarding

  Valeant’s deceptive and risky business practices. Pearson and Rosiello had the ability to

  influence and direct, and did so influence and direct, the activities of each of the Valeant

  Defendants in their violations of Section 10(b) of the Exchange Act and Rule 10b-5.



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         423.     As a result, Pearson and Rosiello individually and as a group, were control

  persons within the meaning of Section 20(a) of the Exchange Act.

         424.     As set forth above, Valeant violated Section 10(b) of the Exchange Act. By virtue

  of their positions as controlling persons, and as a result of their aforesaid conduct and culpable

  participation, Pearson and Rosiello are liable pursuant to Section 20(a) of the Exchange Act,

  jointly and severally with, and to the same extent as Valeant is liable to Plaintiff.

         425.     By reason of the foregoing, Valeant, Pearson, and Rosiello violated Section 20(a)

  of the Exchange Act, 15 U.S.C. §78t(a), and are liable to Plaintiff.

                                              COUNT VII

                  COMMON LAW FRAUD / FRAUDULENT INDUCEMENT
                             (Against all Defendants)

         426.     Plaintiff restates and realleges each allegation in ¶¶ 1–374 above as if fully set

  forth herein.

         427.     Each of the Defendants made, authorized, or caused the representations at issue,

  which are identified and summarized above.

         428.     The material representations set forth above were fraudulent, and Defendants’

  representations fraudulently omitted material statements of fact.

         429.     Each of the Defendants knew or recklessly disregarded that their representations

  and omissions were false and/or misleading at the time they were made. Each made the

  misleading statements with an intent to defraud Plaintiff.

         430.     The Defendants had reason to expect that Plaintiff was among the class of persons

  who would receive and rely on such representations, and intended that their misleading

  statements would induce Plaintiff to purchase Valeant securities.



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           431.   Plaintiff justifiably relied on the Defendants’ false representations and misleading

  omissions in purchasing Valeant securities.

           432.   Had Plaintiff known the true facts regarding Valeant’s business as set forth above,

  it would not have purchased Valeant securities at the prices it had.

                                             COUNT VIII

                              NEGLIGENT MISREPRESENTATION
                                   (Against all Defendants)

           433.   Plaintiff repeats and realleges each and every allegation contained in ¶¶ 1–374

  above as if set forth herein. As to this Cause of Action, Plaintiff expressly disclaims any

  allegation of fraud or intentional misconduct.

           434.   Defendants authorized or caused the representations and/or omissions set forth

  above.

           435.   Defendants supplied false information for use by Plaintiff in making an

  investment decision.

           436.   Defendants made misrepresentations that they knew, or should have known, to be

  false in order to induce Plaintiff to purchase Valeant securities.

           437.   Defendants breached their duty to exercise reasonable care in making these

  misrepresentations to Plaintiff.

           438.   Moreover, Defendants had a duty to disclose certain information concerning

  Philidor. Defendants breached that duty by failing to disclose such information.

           439.   Plaintiff reasonably relied on the information Defendants provided and was

  damaged as a result of these misrepresentations and omissions. Plaintiff would not have

  purchased Valeant securities at all, or at the inflated prices it paid, had it known the true facts



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  regarding, inter alia, Valeant’s reported revenues, and the effectiveness of Valeant’s internal

  controls over financial reporting and its disclosure controls and procedures.

          440.    By reason of the foregoing, Defendants are liable to Plaintiff for negligent

  misrepresentation.

          441.    As a direct and proximate result of Defendants’ negligent misrepresentations,

  Plaintiff has suffered damages in an amount to be proven at trial.

                                             COUNT IX

      CONNECTICUT UNIFORM SECURITIES ACT C.G.S.A. §§ 36b-4 and 36b-29(a)
                (Against Defendants Valeant, Pearson, and Rosiello)

          442.    Plaintiff repeats and realleges each and every allegation contained in ¶¶ 1–374

  above as if set forth herein.

          443.    This claim is brought under Section 36b-4 and 36b-29(a), C.G.S.A. §§ 36b-4 and

  36b-29(a), against Defendants Valeant, Pearson, and Rosiello for purchases of Valeant securities

  made before March 16, 2016.

          444.    During all relevant times, Valeant’s common stock and Notes were “securities”

  for the purposes of the Connecticut Uniform Securities Act (“CUSA”).

          445.    During the relevant period, Defendants Valeant, Pearson, and Rosiello

  disseminated or approved the materially false and misleading statements specified above, which

  they knew or recklessly disregarded were misleading in that they misrepresented or omitted

  material facts necessary in order to make the statements made, in light of the circumstances

  under which they were made, not misleading.

          446.    Defendants Valeant, Pearson, and Rosiello each had actual knowledge of the

  misrepresentations and omissions of material facts set forth herein; acted with reckless disregard

  for the truth by failing to ascertain and to disclose such facts even though such facts were

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  available to them; deliberately refrained from taking steps necessary to discover whether the

  material facts were false or misleading; and/or, in the exercise of reasonable care, should have

  known of the untrue statements and omissions.

         447.    Defendants Valeant, Pearson, and Rosiello violated Connecticut General Statutes

  §36b-4, in any of the following ways: (a) the Defendants employed a scheme to defraud the

  Plaintiff; (b) the Defendants made untrue statements of material facts and/or omitted material

  facts which otherwise misled the Plaintiff; and/or (c) the Defendants engaged in acts, practices

  and a course of business dealing which was fraudulent and deceitful to members of the public,

  including the Plaintiff; Defendants directly and indirectly engaged in dishonest and unethical

  practices in connection with their sale of Valeant securities.

         448.    Plaintiff acquired Valeant securities without knowledge that Defendants Valeant,

  Pearson, and Rosiello had misstated or omitted material facts. In acquiring Valeant securities,

  Plaintiff relied directly or indirectly on the false and misleading statements and omissions made

  by Defendants Valeant, Pearson, and Rosiello.

         449.    Plaintiff would not have acquired Valeant securities had it known the truth about

  the matters discussed above.

         450.    As a direct and proximate cause of Defendants Valeant, Pearson, and Rosiello’s

  wrongful conduct, Plaintiff suffered damages in connection with their purchases and acquisitions

  of Valeant securities transactions during the relevant period.




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                                            COUNT X

   CONNECTICUT UNIFORM SECURITIES ACT, “Officer,” “Director,” and “Control”
                        Liability C.G.S.A. § 36b-29(c)
                  (Against Defendants Pearson and Rosiello)

          451.    Plaintiff repeats and realleges each and every allegation contained in ¶¶ 1–374

  above as if set forth herein.

          452.    This claim is brought under Section 36b-29(c), C.G.S.A. § 36b-29(c), against

  Defendants Pearson and Rosiello for purchases of Valeant securities made before March 16,

  2016.

          453.    As set forth above, Valeant is liable under Section 36b-29(a) of CUSA, C.G.S.A.

  §36b-29(a).

          454.    During the relevant period, Defendants Pearson and Rosiello were officers or

  directors of Valeant. Each of Defendants Pearson and Rosiello, by virtue of his control,

  ownership, offices, directorship, and specific acts was, at the time of the wrongs alleged herein

  and as set forth herein, a control person of Valeant within the meaning of Section 36b-29(c) of

  the CUSA.

          455.    Defendants Pearson and Rosiello knew, or in the exercise of reasonable care

  should have known, of the existence of the misconduct giving rise to Valeant’s liability under

  Section 36b-29(a) of CUSA. Amongst other matters, by virtue of their positions as officers and

  directors, and/or control persons of Valeant, Defendants Rosiello and Pearson reviewed or had

  the opportunity to review the materials and information disseminated by Valeant to induce

  Plaintiff to purchase Valeant securities, and therefore knew or should have known that the

  materials and information contained misrepresentations and omissions.




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          456.    Accordingly, pursuant to Section 36b-29(c) of CUSA, C.G.S.A. § 36b-29(c),

  Defendants Pearson and Rosiello are liable jointly and severally with and to the same extent as

  Valeant.

                                            COUNT XI

  CONNECTICUT UNIFORM SECURITIES ACT, “Aiding” Liability, C.G.S.A. § 36b-29(c)
                  (Against Defendants Pearson and Rosiello)

          457.    Plaintiff repeats and realleges each and every allegation contained in ¶¶ 1–374

  above as if set forth herein.

          458.    This claim is brought under Section 36b-29(c), C.G.S.A. § 36b-29(c), against

  Defendants Pearson and Rosiello for purchases of Valeant securities made before March 16,

  2016.

          459.    During the relevant period, Defendants Pearson and Rosiello were employees of

  Defendant Valeant. Defendants Pearson and Rosiello materially aided in the misconduct giving

  rise to Valeant’s liability under Section 36b-29(a) of CUSA. Amongst other matters, by virtue of

  their positions at Valeant, Defendants Pearson and Rosiello reviewed or had the opportunity to

  review the materials and information disseminated by Valeant to induce Plaintiff to purchase

  Valeant securities. Defendants Pearson and Rosiello failed to prevent the issuance of the

  misleading materials and information and/or failed to cause them to be corrected.

          460.    By virtue of the above matters, Defendants Pearson and Rosiello knew or should

  have known that materials and information contained misrepresentations and omissions.

  Defendants Pearson and Rosiello knew, or in the exercise of reasonable care should have known,

  of the existence of the misconduct giving rise to Valeant’s liability under Section 36b-29(a) of

  the CUSA.



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         461.      Accordingly, pursuant to Section 36b-29(c) of the CUSA, C.G.S.A. § 36b-29(c),

  Defendants Pearson and Rosiello are liable jointly and severally with and to the same extent as

  Valeant.

  XIII. PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for relief and judgment as follows:

         A.        Awarding Plaintiff compensatory damages in an amount to be proven at trial for

  all injuries sustained as a result of Defendants’ wrongdoing, including pre-judgment and

  post-judgment interest, and trebled as allowed by law;

         B.        Awarding Plaintiff extraordinary, injunctive and/or equitable relief, including

  rescission, as appropriate, in addition to any other relief that is just and proper under the

  circumstances;

         C.        Awarding Plaintiff its reasonable costs and expenses incurred in this action,

  including counsel fees and expert fees; and

         D.        Awarding such other relief as this Court may deem just and proper.

  XIV. JURY DEMAND

         Plaintiff hereby demands a trial by jury for all issues so triable.




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  Dated: September 27, 2019          Respectfully submitted,

                                      LABATON SUCHAROW LLP

                                      s/ Margaret A. Schmidt
                                      Margaret A. Schmidt

                                      Serena P. Hallowell (pro hac vice forthcoming)
                                      Eric J. Belfi (pro hac vice forthcoming)
                                      Thomas W. Watson (pro hac vice forthcoming)
                                      140 Broadway
                                      New York, NY 10005
                                      Tel: (212) 907-0700
                                      Fax: (212) 818-0477
                                      mschmidt@labaton.com
                                      shallowell@labaton.com
                                      ebelfi@labaton.com
                                      twatson@labaton.com

                                      Counsel for Plaintiff




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